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              23-1005
        IN THE UNITED STATES COURT OF APPEALS
                FOR THE SECOND CIRCUIT

    BLOOMBERG L.P. AND DOW JONES & COMPANY, INC.
                  Plaintiffs-Appellants,

                                    v.

               UNITED STATES POSTAL SERVICE
                     Defendant-Appellee.


           On appeal from the United States District Court
               for the Southern District of New York


                         JOINT APPENDIX


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Counsel for Plaintiffs-Appellants
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                                                                                  CLOSED,APPEAL,ECF
                                   U.S. District Court
                      Southern District of New York (Foley Square)
                    CIVIL DOCKET FOR CASE #: 1:22−cv−06112−DLC

Bloomberg L.P. et al v. United States Postal Service            Date Filed: 07/18/2022
Assigned to: Judge Denise L. Cote                               Date Terminated: 06/14/2023
Cause: 05:552 Freedom of Information Act                        Jury Demand: None
                                                                Nature of Suit: 895 Freedom of
                                                                Information Act
                                                                Jurisdiction: U.S. Government Defendant
Plaintiff
Bloomberg L.P.                                    represented by Katielynn Boyd Townsend
                                                                 Reporters Committee For Freedom of The
                                                                 Press
                                                                 1156 15th Street NW Suite 1020
                                                                 Washington, DC 20005
                                                                 202−795−9300
                                                                 Fax: 202−795−9310
                                                                 Email: ktownsend@rcfp.org
                                                                 ATTORNEY TO BE NOTICED

Plaintiff
Dow Jones & Company, Inc.                         represented by Katielynn Boyd Townsend
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED


V.
Defendant
United States Postal Service                      represented by Tomoko Onozawa
                                                                 U.S. Attorney's Office, SDNY (Chambers
                                                                 Street)
                                                                 86 Chambers Street
                                                                 New York, NY 10007
                                                                 (212) 637−2721
                                                                 Fax: (212) 637− 2686
                                                                 Email: tomoko.onozawa@usdoj.gov
                                                                 ATTORNEY TO BE NOTICED


 Date Filed     #    Docket Text
 07/18/2022      1 COMPLAINT against United States Postal Service. (Filing Fee $ 402.00, Receipt
                   Number ANYSDC−26429788)Document filed by Bloomberg L.P., Dow Jones &
                   Company, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                   D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H).(Townsend, Katielynn)
                   (Entered: 07/18/2022)
 07/18/2022      2 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Other Affiliate
                   Bloomberg Inc. for Bloomberg L.P.; Corporate Parent Ruby Newco, LLC, Corporate
                   Parent News Corporation for Dow Jones & Company, Inc.. Document filed by
                   Bloomberg L.P., Dow Jones & Company, Inc...(Townsend, Katielynn) (Entered:
                   07/18/2022)
 07/18/2022      3 CIVIL COVER SHEET filed..(Townsend, Katielynn) (Entered: 07/18/2022)
 07/18/2022      4 REQUEST FOR ISSUANCE OF SUMMONS as to United States Postal Service, re: 1
                   Complaint,. Document filed by Bloomberg L.P., Dow Jones & Company,
                   Inc...(Townsend, Katielynn) (Entered: 07/18/2022)



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07/19/2022       CASE OPENING INITIAL ASSIGNMENT NOTICE: The above−entitled action is
                 assigned to Judge Denise L. Cote. Please download and review the Individual
                 Practices of the assigned District Judge, located at
                 https://nysd.uscourts.gov/judges/district−judges. Attorneys are responsible for
                 providing courtesy copies to judges where their Individual Practices require such.
                 Please download and review the ECF Rules and Instructions, located at
                 https://nysd.uscourts.gov/rules/ecf−related−instructions..(gp) (Entered: 07/19/2022)
07/19/2022       Magistrate Judge Jennifer Willis is so designated. Pursuant to 28 U.S.C. Section
                 636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to
                 proceed before a United States Magistrate Judge. Parties who wish to consent may
                 access the necessary form at the following link:
                 https://nysd.uscourts.gov/sites/default/files/2018−06/AO−3.pdf. (gp) (Entered:
                 07/19/2022)
07/19/2022       Case Designated ECF. (gp) (Entered: 07/19/2022)
07/19/2022    5 ELECTRONIC SUMMONS ISSUED as to United States Postal Service..(gp)
                (Entered: 07/19/2022)
07/27/2022    6 NOTICE OF INITIAL PRETRIAL CONFERENCE: Initial Conference set for
                9/30/2022 at 2:30 PM in Courtroom 18B, 500 Pearl Street, New York, NY 10007
                before Judge Denise L. Cote. (Signed by Judge Denise L. Cote on 7/27/2022) (vfr)
                (Entered: 07/27/2022)
08/02/2022    7 AFFIDAVIT OF SERVICE of Complaint served on United States Postal Service on
                7/27/22. Service was made by Mail. Document filed by Bloomberg L.P., Dow Jones &
                Company, Inc...(Townsend, Katielynn) (Entered: 08/02/2022)
08/05/2022    8 AFFIDAVIT OF SERVICE of Notice of Pretrial Conference served on United States
                Postal Service; U.S. Attorney's Office on Aug. 2, 2022; Aug. 4, 2022. Service was
                made by Mail. Document filed by Bloomberg L.P., Dow Jones & Company,
                Inc...(Townsend, Katielynn) (Entered: 08/05/2022)
08/26/2022    9 ANSWER to 1 Complaint,. Document filed by United States Postal
                Service..(Onozawa, Tomoko) (Entered: 08/26/2022)
08/31/2022   10 CONSENT LETTER MOTION to Adjourn Conference addressed to Judge Denise L.
                Cote from Katie Townsend, Counsel for Plaintiffs dated Aug. 31, 2022. Document
                filed by Bloomberg L.P., Dow Jones & Company, Inc...(Townsend, Katielynn)
                (Entered: 08/31/2022)
08/31/2022   11 ORDER granting 10 Letter Motion to Adjourn Conference. Having received on
                August 31, 2022 the parties' consent letter motion requesting an adjournment, it is
                hereby ORDERED that the initial pretrial conference is adjourned until October 21,
                2022 at 9:30 A.M. Initial Conference set for 10/21/2022 at 09:30 AM before Judge
                Denise L. Cote.. (Signed by Judge Denise L. Cote on 8/31/2022) (tg) (Entered:
                08/31/2022)
10/06/2022   12 STATUS REPORT. Document filed by Bloomberg L.P., Dow Jones & Company,
                Inc...(Townsend, Katielynn) (Entered: 10/06/2022)
10/18/2022   13 MEMO ENDORSEMENT on re: 12 Status Report filed by Dow Jones & Company,
                Inc., Bloomberg L.P. ENDORSEMENT: The October 21 conference is cancelled. The
                parties' proposed schedule is adopted. ( Cross Motions due by 12/23/2022., Motions
                due by 11/18/2022., Responses due by 1/13/2023, Replies due by 2/3/2023.) (Signed
                by Judge Denise L. Cote on 10/18/2022) (vfr) (Entered: 10/18/2022)
11/16/2022   14 LETTER MOTION for Extension of Time to File Motion for Summary Judgment
                addressed to Judge Denise L. Cote from AUSA Tomoko Onozawa dated Nov. 16,
                2022. Document filed by United States Postal Service..(Onozawa, Tomoko) (Entered:
                11/16/2022)
11/16/2022   15 ORDER: granting 14 Letter Motion for Extension of Time to File. Granted. (Signed by
                Judge Denise L. Cote on 11/16/2022) (ama) (Entered: 11/16/2022)
11/16/2022       Set/Reset Deadlines: Cross Motions due by 1/20/2023. Motions due by 12/9/2022.
                 Responses due by 2/17/2023 Replies due by 3/10/2023. (ama) (Entered: 11/16/2022)



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12/09/2022   16 MOTION for Summary Judgment . Document filed by United States Postal
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12/09/2022   17 MEMORANDUM OF LAW in Support re: 16 MOTION for Summary Judgment . .
                Document filed by United States Postal Service..(Onozawa, Tomoko) (Entered:
                12/09/2022)
12/09/2022   18 DECLARATION of Jeffrey Tackes in Support re: 16 MOTION for Summary
                Judgment .. Document filed by United States Postal Service. (Attachments: # 1 Exhibit
                A (Dow Jones FOIA Request), # 2 Exhibit B (September 2021 USPS Decision), # 3
                Exhibit C (November 2021 Dow Jones Appeal), # 4 Exhibit D (December 2021 USPS
                Decision & Order), # 5 Exhibit E (Bloomberg FOIA Request), # 6 Exhibit F (April
                2021 USPS Decision), # 7 Exhibit G (June 2021 Bloomberg Appeal), # 8 Exhibit H
                (July 2021 USPS Opinion & Order)).(Onozawa, Tomoko) (Entered: 12/09/2022)
01/20/2023   19 CROSS MOTION for Summary Judgment . Document filed by Bloomberg L.P., Dow
                Jones & Company, Inc.. (Attachments: # 1 Text of Proposed Order Proposed Order in
                Supp. of Plaintiffs' Mot. for Summary Judgment).(Townsend, Katielynn) (Entered:
                01/20/2023)
01/20/2023   20 MEMORANDUM OF LAW in Support re: 19 CROSS MOTION for Summary
                Judgment . . Document filed by Bloomberg L.P., Dow Jones & Company,
                Inc...(Townsend, Katielynn) (Entered: 01/20/2023)
01/20/2023   21 DECLARATION of Katie Townsend in Support re: 19 CROSS MOTION for
                Summary Judgment .. Document filed by Bloomberg L.P., Dow Jones & Company,
                Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                Exhibit E, # 6 Exhibit F).(Townsend, Katielynn) (Entered: 01/20/2023)
01/20/2023   22 DECLARATION of Marie Patino in Support re: 19 CROSS MOTION for Summary
                Judgment .. Document filed by Bloomberg L.P., Dow Jones & Company, Inc..
                (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3).(Townsend, Katielynn)
                (Entered: 01/20/2023)
01/20/2023   23 DECLARATION of Paul Overberg in Support re: 19 CROSS MOTION for Summary
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                (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3).(Townsend, Katielynn)
                (Entered: 01/20/2023)
01/20/2023   24 MEMORANDUM OF LAW in Opposition re: 16 MOTION for Summary Judgment . .
                Document filed by Bloomberg L.P., Dow Jones & Company, Inc...(Townsend,
                Katielynn) (Entered: 01/20/2023)
01/20/2023   25 DECLARATION of Katie Townsend in Opposition re: 16 MOTION for Summary
                Judgment .. Document filed by Bloomberg L.P., Dow Jones & Company, Inc..
                (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                E, # 6 Exhibit F).(Townsend, Katielynn) (Entered: 01/20/2023)
01/20/2023   26 DECLARATION of Marie Patino in Opposition re: 16 MOTION for Summary
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                (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3).(Townsend, Katielynn)
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01/20/2023   27 DECLARATION of Paul Overberg in Opposition re: 16 MOTION for Summary
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                (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3).(Townsend, Katielynn)
                (Entered: 01/20/2023)
02/17/2023   28 REPLY MEMORANDUM OF LAW in Support re: 16 MOTION for Summary
                Judgment . . Document filed by United States Postal Service..(Onozawa, Tomoko)
                (Entered: 02/17/2023)
02/17/2023   29 MEMORANDUM OF LAW in Opposition re: 19 CROSS MOTION for Summary
                Judgment . . Document filed by United States Postal Service..(Onozawa, Tomoko)
                (Entered: 02/17/2023)
02/17/2023   30 DECLARATION of Jeffrey Tackes (Supplemental Declaration) in Support re: 16
                MOTION for Summary Judgment .. Document filed by United States Postal
                Service..(Onozawa, Tomoko) (Entered: 02/17/2023)


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                Inc...(Townsend, Katielynn) (Entered: 03/10/2023)
03/14/2023   32 LETTER MOTION for Oral Argument addressed to Judge Denise L. Cote from
                Plaintiffs Bloomberg L.P. and Dow Jones & Company, Inc. dated March 14, 2023.
                Document filed by Bloomberg L.P., Dow Jones & Company, Inc...(Townsend,
                Katielynn) (Entered: 03/14/2023)
05/16/2023   33 LETTER addressed to Judge Denise L. Cote from AUSA Tomoko Onozawa dated
                May 16, 2023 re: Launch of USPS Population Mobility Trends product. Document
                filed by United States Postal Service..(Onozawa, Tomoko) (Entered: 05/16/2023)
05/22/2023   34 LETTER addressed to Judge Denise L. Cote from Plaintiffs Bloomberg L.P. and Dow
                Jones & Company, Inc. dated 5/22/23 re: Response to Defendant's launch of
                Population Mobility Trends. Document filed by Bloomberg L.P., Dow Jones &
                Company, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C).(Townsend,
                Katielynn) (Entered: 05/22/2023)
06/13/2023   35 OPINION AND ORDER re: 16 MOTION for Summary Judgment . filed by United
                States Postal Service, 19 CROSS MOTION for Summary Judgment . filed by Dow
                Jones & Company, Inc., Bloomberg L.P.. The Defendant's December 9, 2022 motion
                for summary judgment is granted. The Plaintiffs' January 20, 2023 motion for
                summary judgment is denied. The Clerk of Court shall enter judgment for the
                Defendant and close the case. (Signed by Judge Denise L. Cote on 6/13/2023) (tg)
                Transmission to Orders and Judgments Clerk for processing. (Entered: 06/13/2023)
06/14/2023   36 CLERK'S JUDGMENT re: 35 Memorandum & Opinion in favor of United States
                Postal Service against Bloomberg L.P., Dow Jones & Company, Inc. It is hereby
                ORDERED, ADJUDGED AND DECREED: That for the reasons stated in the Court's
                Opinion and Order dated June 13, 2023, Defendant's December 9, 2022 motion for
                summary judgment is granted. The Plaintiffs' January 20, 2023 motion for summary
                judgment is denied; accordingly, the case is closed. (Signed by Judge Denise L. Cote
                on 6/14/2023) (Attachments: # 1 Appeal Package) (tp) (Entered: 06/14/2023)
07/07/2023   37 FILING ERROR − NO ORDER SELECTED FOR APPEAL − NOTICE OF
                APPEAL. Document filed by Bloomberg L.P., Dow Jones & Company, Inc.. Filing fee
                $ 505.00, receipt number ANYSDC−27968822. Form C and Form D are due within 14
                days to the Court of Appeals, Second Circuit..(Townsend, Katielynn) Modified on
                7/7/2023 (km). (Entered: 07/07/2023)
07/07/2023       ***NOTICE TO ATTORNEY REGARDING DEFICIENT APPEAL. Notice to
                 attorney Katielynn Townsend to RE−FILE Document No. 37 Notice of Appeal.
                 The filing is deficient for the following reason(s): the order/judgment being
                 appealed was not selected. Re−file the appeal using the event type Notice of
                 Appeal found under the event list Appeal Documents − attach the correct signed
                 PDF − select the correct named filer/filers − select the correct order/judgment
                 being appealed. (km) (Entered: 07/07/2023)
07/07/2023   38 NOTICE OF APPEAL from 36 Clerk's Judgment,, 35 Memorandum & Opinion,,.
                Document filed by Bloomberg L.P., Dow Jones & Company, Inc.. Form C and Form
                D are due within 14 days to the Court of Appeals, Second Circuit..(Townsend,
                Katielynn) Modified on 7/7/2023 (nd). (Entered: 07/07/2023)
07/07/2023       Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                 Appeals re: 38 Notice of Appeal,..(nd) (Entered: 07/07/2023)
07/07/2023       Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                 Electronic Files for 38 Notice of Appeal, filed by Dow Jones & Company, Inc.,
                 Bloomberg L.P. were transmitted to the U.S. Court of Appeals..(nd) (Entered:
                 07/07/2023)
07/07/2023       Appeal Fee Paid electronically via Pay.gov: for 38 Notice of Appeal,. Filing fee $
                 505.00. Pay.gov receipt number ANYSDC−27968822., paid on 7/7/2023..(nd)
                 (Entered: 07/07/2023)




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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 BLOOMBERG L.P.

 and

 DOW JONES & COMPANY, INC.,

                 Plaintiffs,                          Civil Action No. _____________________
        v.

 UNITED STATES
 POSTAL SERVICE,

                 Defendant.


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Bloomberg L.P. (“Bloomberg”) and Dow Jones & Company, Inc. (“Dow Jones”)

(collectively, “Plaintiffs”), by and through undersigned counsel, hereby allege as follows:

       1.       This is an action under the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”

or the “Act”), for declaratory, injunctive, and other appropriate relief brought by Bloomberg and

Dow Jones.

       2.       By this action, Plaintiffs seek to compel the United States Postal Service (“USPS”)

to comply with its obligations under FOIA to release records that Plaintiffs requested from USPS.

Plaintiffs are statutorily entitled to disclosure of the requested records, which Defendant has

withheld in violation of the Act.

                                            PARTIES

       3.       Plaintiff Bloomberg is the owner and operator of Bloomberg News. Bloomberg’s

newsroom of more than 2,700 journalists and analysts delivers thousands of stories a day,

producing content that is featured across multiple platforms, including digital, TV, radio, print and


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live    events.           Bloomberg’s       publications      include       Bloomberg      CityLab

(https://www.bloomberg.com/citylab), which reports on the world’s cities and neighborhoods.

Bloomberg is a limited partnership; its general partner is Bloomberg Inc., which is privately held.

Bloomberg’s headquarters are located at 731 Lexington Avenue, New York, NY 10022.

       4.      Plaintiff Dow Jones is a leading provider of news and business information through

The Wall Street Journal, Barron’s, MarketWatch, Dow Jones Newswires and its other

publications. The Wall Street Journal engages readers across print, digital, mobile, social, podcast

and video. Building on its heritage as the preeminent source of global business and financial news,

the Journal includes coverage of U.S. & world news, politics, arts, culture, lifestyle, sports, and

health. Dow Jones is an indirect subsidiary of News Corporation, a publicly held company. Dow

Jones’s headquarters are located at 1211 Avenue of the Americas, New York, NY 10036.

       5.      Defendant United States Postal Service is an agency of the federal government

within the meaning of 5 U.S.C. § 551 and 5 U.S.C. § 552(f) that has possession, custody, and/or

control of the records Plaintiffs seek. USPS’s headquarters are located at 475 L’Enfant Plaza,

Washington, DC 20590.

                                JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction over this action and personal jurisdiction

over Defendant pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331.

       7.      Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

                                             FACTS

                                           Background

       8.      When individuals, families, or businesses in the United States move, they can file

change-of-address (“COA”) requests with USPS.




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       9.       USPS maintains data from COA requests for individuals, families, and businesses

(the “COA Data”). USPS’s COA Data includes, inter alia, an origin county and ZIP code,

destination county and ZIP code, and whether a COA request is temporary or permanent.

       10.      USPS has previously released, in response to FOIA requests from Dow Jones and

Bloomberg, COA Data showing how many permanent and temporary COA requests were

submitted by individuals, households, and businesses, along with the origin county or ZIP code

and destination county or ZIP code, for particular months, so long as the number of COA requests

was greater than 10.

       11.      Using COA Data previously provided by USPS, Dow Jones and Bloomberg have

been able to analyze and report on the flow of individuals, families, and businesses between

specific geographic areas.

       12.      For example, COA Data previously provided by USPS to Dow Jones in response

to a prior FOIA request shows 36 households filed requests in May, 2020, to permanently change

their address from the District of Columbia to Philadelphia County, PA. Likewise, COA Data

provided by USPS to Dow Jones in response to a prior FOIA request shows 48 households filed

requests in May, 2020, to permanently change their address from Philadelphia County, PA, to the

District of Columbia. Combined, the data provided by USPS can be used to show a permanent net

flow of +12 household COA requests from Philadelphia County, PA, to the District of Columbia

in May, 2020.

       13.      Bloomberg CityLab has used USPS COA Data obtained through prior FOIA

requests for a groundbreaking story showing the movement of Americans during the COVID-19

pandemic. See Marie Patino et al., More Americans Are Leaving Cities, But Don’t Call It an

Urban Exodus, BLOOMBERG (Apr. 26, 2021), https://bloom.bg/3M7fu05.




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       14.      Using USPS COA data provided in response to a prior FOIA request, The Wall

Street Journal has reported that more than seven million households moved to a different county

between the start of the COVID-19 pandemic and May 11, 2021. See Yan Wu & Luis Melgar,

Americans Up and Moved During the Pandemic. Here’s Where They Went., WALL ST. J. (May 11,

2021), https://on.wsj.com/3NgWCx2. COA Data allowed the Journal to examine how New York

County, which covers Manhattan, lost considerable residents to neighboring New Jersey; how the

net loss of residents from Washington, DC had doubled from the previous calendar year; and how

Californian cities like Los Angeles and San Francisco lost substantial residents for mountain states

and the Southwest. See id.

       15.      In or about August, 2021, USPS posted a letter regarding the publication of certain

COA “stats” in its online FOIA library. RE: Change-of-Address Stats on USPS FOIA Website,

USPS (Aug. 4, 2021), https://perma.cc/WT4Y-6DA7.

       16.      The COA “stats” provided by USPS on its website (the “COA Stats”) are separated

into one file per year. See FOIA Library, USPS, https://perma.cc/CZ9R-8LL3 (last accessed May

19, 2022).

       17.      The COA Stats do not show how many businesses, individuals, or families moved

from specific ZIP codes or counties to other specific ZIP codes or counties.

       18.      The COA Stats also do not include data showing how many COA requests were

permanent or temporary by individuals, families, or businesses.

       19.      For example, the COA Stats published for 2020 show that in May, 2020, ZIP Code

20036 had a total of 219 “from” (i.e., outbound) COA requests, and a total of 112 “to” (i.e.,

inbound) COA requests. The COA Stats published for 2020 do not include geographic data

showing where the COA requests “from” ZIP Code 20036 went “to,” nor do they include




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geographic data showing where the COA requests “to” ZIP Code 20036 came “from,” nor do they

identify how many individual, family, or business COA requests were permanent or temporary.

                                           Plaintiffs’ FOIA Requests

                                             The Dow Jones Request

          20.      On September 15, 2021, Dow Jones, through its Wall Street Journal reporter Paul

Overberg, submitted a FOIA request to USPS via FOIA portal (the “Dow Jones Request”). A true

and correct copy of the Dow Jones Request is attached hereto as Exhibit A1 and is incorporated

by reference herein.

          21.      The Dow Jones Request sought records of COA requests submitted between

January and June 2021, including origin and destination data. See Ex. A.

          22.      Specifically, the Dow Jones Request sought “monthly summary data showing the

number of residential postal customers who filed change-of-address requests” containing columns

for year and month, “Old County,” “Old State,” “New County,” “New State,” “Total Perm,” and

“Total Temp” for January to June, 2021. Id.

          23.      The Dow Jones Request asked that the responsive records be produced in Excel

format.

          24.      The Dow Jones Request identified its publication The Wall Street Journal and its

reporter Mr. Overberg as representatives of the news media for fee category purposes per 5 U.S.C

§ 552(a)(4)(A)(ii)(II). See Ex. A.

          25.      By letter dated September 17, 2021, USPS denied the Dow Jones Request. A true

and correct copy of USPS’s denial letter is attached hereto as Exhibit B (the “September 17




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          The full text of Plaintiff Dow Jones’s request is cut off due to technical limitations in the USPS FOIA portal.


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Denial”). USPS’s denial of the Dow Jones Request noted that the Dow Jones Request had been

assigned tracking number 2021-FPRO-03224.

          26.      In the September 17 Denial, USPS cited FOIA Exemption 3, 5 U.S.C. § 552(b)(3),

in conjunction with 39 U.S.C. §410(c)(2). See Ex. B.

          27.      In the September 17 Denial, USPS provided a link to the COA Stats in its online

FOIA Library. See id.

          28.      The COA Stats in the USPS’s online FOIA Library do not satisfy the Dow Jones

Request.

          29.      On November 24, 2021, Dow Jones administratively appealed USPS’s denial of

the Dow Jones Request. A true and correct copy of Dow Jones’s administrative appeal is attached

hereto as Exhibit C (the “Dow Jones Administrative Appeal”) and is incorporated by reference

herein.

          30.      The Dow Jones Administrative Appeal noted that USPS had previously granted

FOIA requests for the same COA data sought by the Dow Jones Request for other time periods,

see Ex. C, and argued that USPS’s invocation of 39 U.S.C. §410(c)(2) to withhold the requested

data was improper, see id.

          31.      On or about December 9, 2021, USPS’s Office of the General Counsel denied the

Dow Jones Administrative Appeal, which it had assigned tracking number 2022-APP-00041. A

true and correct copy of USPS’s “Opinion and Order” pertaining to the Dow Jones Administrative

Appeal is attached hereto as Exhibit D.

                                       The Bloomberg Request

          32.      On March 30, 2021, Bloomberg, through its Bloomberg CityLab reporter, Marie

Patino, submitted a FOIA request to USPS via FOIA portal (the “Bloomberg Request”). A true




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and correct copy of the Bloomberg Request is attached hereto as Exhibit E2 and is incorporated

by reference herein.

       33.      The Bloomberg Request sought change of address data, per ZIP code, for the month

of December 2020, including origin/destination information. See Exs. E, F.

       34.      The Bloomberg Request identified Bloomberg and its Bloomberg CityLab reporter,

Ms. Patino, as representatives of the news media for fee category purposes per 5 U.S.C §

552(a)(4)(A)(ii)(II). See Ex. E.

       35.      On March 30, 2021, USPS acknowledged receipt of the Bloomberg Request,

assigning it tracking number 2021-FPRO-01469.

       36.      By letter dated April 19, 2021, USPS denied the Bloomberg Request. A true and

correct copy of USPS’s denial letter is attached hereto as Exhibit F (the “April 19 Denial”).

       37.      In the April 19 Denial, USPS cited FOIA Exemption 3, 5 U.S.C. § 552(b)(3), in

conjunction with 39 U.S.C. §410(c)(2). See Ex. F.

       38.      On June 29, 2021, Bloomberg administratively appealed USPS’s denial of the

Bloomberg Request. A true and correct copy of Bloomberg’s administrative appeal, excluding

attachments A–B, is attached hereto as Exhibit G (the “Bloomberg Administrative Appeal”) and

is incorporated by reference herein.

       39.      The Bloomberg Administrative Appeal noted that USPS had previously granted

requests for the same COA data sought by the Bloomberg Request for other time periods, see Ex.

G, and argued that USPS’s invocation of 39 U.S.C. §410(c)(2) to withhold the requested data was

improper, see id.




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       The full text of Plaintiff Bloomberg’s request is cut off due to technical limitations in the USPS FOIA portal.


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       40.      By letter dated July 29, 2021, USPS’s Office of the General Counsel denied the

Bloomberg Administrative Appeal, which it had assigned tracking number 2021-APP-00141. A

true and correct copy of USPS’s denial of the Bloomberg Administrative Appeal is attached hereto

as Exhibit H.

                  Current Status of the Dow Jones and Bloomberg Requests

       41.      As of the filing of this Complaint, Plaintiffs have received no further

communication from USPS with respect to either the Dow Jones Request or the Bloomberg

Request.

       42.      As of the filing of this Complaint, USPS has not provided all the records requested

by Dow Jones and Bloomberg.

                                       CAUSE OF ACTION

                                      COUNT I
                          VIOLATION OF FOIA FOR UNLAWFUL
                          WITHHOLDING OF AGENCY RECORDS

       43.      Plaintiffs repeat, reallege, and incorporate the allegations set forth in the foregoing

Paragraphs 1 through 42 as though fully set forth herein.

       44.      Defendant is an agency subject to FOIA. 5 U.S.C. §§ 552(f), 551.

       45.      The Dow Jones Request and Bloomberg Request properly seek records within the

possession, custody, and/or control of Defendant under FOIA.

       46.      The Dow Jones Request and Bloomberg Request complied with all applicable

regulations regarding the submission of FOIA requests.

       47.      Defendant has not released all records or portions thereof that are responsive to the

Dow Jones Request or the Bloomberg Request.

       48.      The records sought by the Dow Jones Request and Bloomberg Request are not

“information of a commercial nature,” as set forth in 39 U.S.C. § 410(c)(2).

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       49.      Defendant has not identified whether or how release of the records sought by the

Dow Jones Request and Bloomberg Request would foreseeably harm an interest protected by a

FOIA exemption and/or why disclosure is prohibited by law. 5 U.S.C. § 552(a)(8).

       50.      Defendant has improperly withheld records responsive to the Dow Jones Request

and Bloomberg Request in violation of FOIA. 5 U.S.C. § 552(a)(3)(A).

       51.      Plaintiffs have and/or are deemed to have exhausted applicable administrative

remedies with respect to the Dow Jones Request and Bloomberg Request.                    5 U.S.C. §§

552(a)(6)(A)(ii); id. § 552(a)(6)(C)(i).

                                    REQUEST FOR RELIEF

WHEREFORE, Plaintiffs respectfully request this Court:

    (1) Order Defendant to conduct a search reasonably calculated to identify all records

       responsive to the Dow Jones Request and Bloomberg Request;

    (2) Order Defendant to immediately disclose, in their entirety, all records responsive to the

       Dow Jones Request and Bloomberg Request;

    (3) Issue a declaration that Plaintiffs are entitled to disclosure of the requested records;

    (4) Enjoin Defendant from continuing to withhold any and all records responsive to the Dow

       Jones Request and Bloomberg Request;

    (5) Award Plaintiffs reasonable attorney’s fees and costs reasonably incurred in this action

       pursuant to 5 U.S.C. § 552(a)(4)(E); and

    (6) Grant such other relief as the Court may deem just and proper.


Dated: July 18, 2022

                                               Respectfully submitted,

                                               /s/ Katie Townsend
                                                  Katie Townsend


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                             Facsimile: 202.795.9310

                             Counsel for Plaintiffs




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW Y ORK
 BLOOMBERG L.P. and DOW JONES &
 COMPANY, INC.,
                                                               22 Civ. 6112 (DLC)
                                 Plaintiffs,
                                                               ANSWER OF DEFENDANT UNITED
                         v.                                    STATES POSTAL SERVICE
 UNITED STATES POSTAL SERVICE,

                                 Defendant.


       Defendant United States Postal Service (“USPS” or “Defendant”), by its attorney,

Damian Williams, United States Attorney for the Southern District of New York, hereby answers

the complaint of plaintiffs Bloomberg L.P. (“Bloomberg”) and Dow Jones & Company, Inc.

(“Dow Jones”) (jointly, “Plaintiffs”) upon information and belief as follows:

       1.       Paragraph 1 constitutes Plaintiffs’ characterization of their claims in this lawsuit,

to which no response is required. To the extent Paragraph 1 contains factual allegations to which

a response is required, denies the allegations in Paragraph 1.

       2.       Paragraph 2 constitutes Plaintiffs’ characterization of their claims in this lawsuit,

to which no response is required. To the extent Paragraph 2 contains factual allegations to which

a response is required, denies the allegations in Paragraph 2.




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                                            PARTIES1

       3.       Denies knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 3.

       4.       Denies knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 4.

       5.       Admits that USPS is an independent establishment of the executive branch, that it

is an agency subject to FOIA, that its headquarters is located at 475 L’Enfant Plaza, Washington,

DC, and that some records sought by Plaintiffs are within its possession, custody and control,

and denies the remainder of the allegations in Paragraph 5.

                                 JURISDICTION AND VENUE

       6.       Paragraph 6 constitutes conclusions of law, to which no response is required.

       7.       Paragraph 7 constitutes conclusions of law, to which no response is required.

                                              FACTS

       8.       Paragraph 8 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, to which no response is

required. To the extent Paragraph 8 contains factual allegations to which a response is required,

avers that individuals, families, or businesses in the United States who are moving may submit

change-of-address (“COA”) requests to USPS, and denies the remainder of the allegations in

Paragraph 8.

       9.       Paragraph 9 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, to which no response is




       For convenience, section headings of the complaint are included, but they are not part of
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Defendant’s response to the complaint.


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required. To the extent Paragraph 9 contains factual allegations to which a response is required,

admits that USPS maintains some data related to the COA request, which can include the data set

forth in Paragraph 9.

       10.      Paragraph 10 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, to which no response is

required. To the extent Paragraph 10 contains factual allegations to which a response is required,

admits that USPS has previously released certain COA data in response to prior FOIA requests,

avers that those releases were made prior to the development of a specific paid-for service

relating to COA data, and denies the remainder of the allegations in Paragraph 10.

       11.      Paragraph 11 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, to which no response is

required. To the extent Paragraph 11 contains factual allegations to which a response is required,

denies knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 11.

       12.      Paragraph 12 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, to which no response is

required. To the extent Paragraph 12 contains factual allegations to which a response is required,

denies knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 12.

       13.      Paragraph 13 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, and Plaintiffs’

characterization of an online article, to which no response is required. To the extent a response

is required, Defendant respectfully refers the Court to the webpage cited in Paragraph 13 for a




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true and complete statement of its contents, and denies the allegations to the extent they fail to

reflect or accurately characterize its true contents.

        14.     Paragraph 14 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, and Plaintiffs’

characterization of a news article, to which no response is required. To the extent a response is

required, Defendant respectfully refers the Court to the article cited in Paragraph 14 for a true

and complete statement of its contents, and denies the allegations to the extent they fail to reflect

or accurately characterize its true contents.

        15.     Paragraph 15 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, and Plaintiffs’

characterization of a USPS letter, to which no response is required. To the extent a response is

required, Defendant respectfully refers the Court to the letter cited in Paragraph 15 for a true and

complete statement of its contents and denies the allegations to the extent they fail to reflect or

accurately characterize its true contents.

        16.     Paragraph 16 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, and Plaintiffs’

characterization of information available on a USPS website, to which no response is required.

To the extent a response is required, Defendant respectfully refers the Court to the website cited

in Paragraph 16 for a true and complete statement of its contents, and denies the allegations to

the extent they fail to reflect or accurately characterize its true contents.

        17.     Paragraph 17 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, and Plaintiffs’

characterization of information available on a USPS website, to which no response is required.




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To the extent a response is required, Defendant respectfully refers the Court to the website cited

in Paragraph 17 for a true and complete statement of its contents, and denies the allegations to

the extent they fail to reflect or accurately characterize its true contents.

        18.     Paragraph 18 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, and Plaintiffs’

characterization of information available on a USPS website, to which no response is required.

To the extent a response is required, Defendant respectfully refers the Court to the website cited

in Paragraph 18 for a true and complete statement of its contents, and denies the allegations to

the extent they fail to reflect or accurately characterize its true contents.

        19.     Paragraph 19 constitutes alleged background information, not allegations of fact

pertinent to the resolution of the claims at issue in this FOIA action, and Plaintiffs’

characterization of information available on a USPS website, to which no response is required.

To the extent a response is required, Defendant respectfully refers the Court to the website cited

in Paragraph 19 for a true and complete statement of its contents, and denies the allegations to

the extent they fail to reflect or accurately characterize its true contents.

                                     Plaintiffs’ FOIA Requests

                                      The Dow Jones Request

        20.     Admits that Dow Jones submitted a FOIA request to USPS on September 15,

2021 (“Dow Jones FOIA Request”), respectfully refers the Court to the Dow Jones FOIA

Request for a true and complete statement of its contents, and denies the allegations to the extent

they fail to reflect or accurately characterize the Request’s true contents.

        21.     Paragraph 21 constitutes Plaintiffs’ characterization of the Dow Jones FOIA

Request, to which no response is required. To the extent Paragraph 21 contains factual




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allegations to which a response is required, respectfully refers the Court to the Dow Jones FOIA

Request described therein for a true and complete statement of its contents, and denies the

allegations to the extent they fail to reflect or accurately characterize the Request’s full contents.

        22.     Paragraph 22 constitutes Plaintiffs’ characterization of the Dow Jones FOIA

Request, to which no response is required. To the extent Paragraph 22 contains factual

allegations to which a response is required, respectfully refers the Court to the Dow Jones FOIA

Request described therein for a true and complete statement of its contents, and denies the

allegations to the extent they fail to reflect or accurately characterize the Request’s full contents.

        23.     Paragraph 23 constitutes Plaintiffs’ characterization of the Dow Jones FOIA

Request, to which no response is required. To the extent Paragraph 23 contains factual

allegations to which a response is required, respectfully refers the Court to the Dow Jones FOIA

Request described therein for a true and complete statement of its contents, and denies the

allegations to the extent they fail to reflect or accurately characterize the Request’s full contents.

        24.     Paragraph 24 constitutes Plaintiffs’ characterization of the Dow Jones FOIA

Request, to which no response is required. To the extent Paragraph 24 contains factual

allegations to which a response is required, respectfully refers the Court to the Dow Jones FOIA

Request described therein for a true and complete statement of its contents, and denies the

allegations to the extent they fail to reflect or accurately characterize the Request’s full contents.

        25.     Admits that by letter dated September 17, 2021, USPS responded to the Dow

Jones FOIA Request, respectfully refers the Court to the letter for a true and complete statement

of its contents, and denies the allegations to the extent they fail to reflect or accurately

characterize the letter’s full contents.

        26.     Paragraph 26 constitutes Plaintiffs’ characterization of USPS’s September 17,




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2021, response to the Dow Jones FOIA Request, respectfully refers the Court to the letter for a

true and complete statement of its contents, and denies the allegations to the extent they fail to

reflect or accurately characterize the letter’s full contents.

        27.     Paragraph 27 constitutes Plaintiffs’ characterization of USPS’s September 17,

2021, response to the Dow Jones FOIA Request, respectfully refers the Court to the letter for a

true and complete statement of its contents, and denies the allegations to the extent they fail to

reflect or accurately characterize the letter’s full contents.

        28.     Denies the allegations in Paragraph 28.

        29.     Admits that by letter dated November 24, 2021, Dow Jones submitted an

administrative appeal of USPS’s September 17, 2021, letter response, respectfully refers the

Court to the letter for a true and complete statement of its contents and denies the allegations to

the extent they fail to reflect or accurately characterize the letter’s full contents.

        30.     Paragraph 30 constitutes Plaintiffs’ characterization of Dow Jones’s November

24, 2021, administrative appeal, respectfully refers the Court to the letter for a true and complete

statement of its contents and denies the allegations to the extent they fail to reflect or accurately

characterize the letter’s full contents.

        31.     Admits that on December 9, 2021, USPS issued an Opinion and Order relating to

Dow Jones’s administrative appeal dated November 24, 2021, respectfully refers the Court to the

Opinion and Order for a true and complete statement of its contents and denies the allegations to

the extent they fail to reflect or accurately characterize the Opinion and Order’s full contents.

                                       The Bloomberg Request

        32.     Admits that Bloomberg submitted a FOIA request to USPS on March 30. 2021

(“Bloomberg FOIA Request”), respectfully refers the Court to the Bloomberg FOIA Request for




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a true and complete statement of its contents, and denies the allegations to the extent they fail to

reflect or accurately characterize the Request’s true contents.

        33.     Paragraph 33 constitutes Plaintiffs’ characterization of the Bloomberg FOIA

Request, to which no response is required. To the extent Paragraph 33 contains factual

allegations to which a response is required, respectfully refers the Court to the Dow Jones FOIA

Request described therein for a true and complete statement of its contents, and denies the

allegations to the extent they fail to reflect or accurately characterize the Request’s full contents.

        34.     Paragraph 34 constitutes Plaintiffs’ characterization of the Bloomberg FOIA

Request, to which no response is required. To the extent Paragraph 34 contains factual

allegations to which a response is required, respectfully refers the Court to the Bloomberg FOIA

Request described therein for a true and complete statement of its contents, and denies the

allegations to the extent they fail to reflect or accurately characterize the Request’s full contents.

        35.     Admits the allegations in Paragraph 35.

        36.     Admits that by letter dated April 19, 2021, USPS responded to the Bloomberg

FOIA Request, respectfully refers the Court to the letter for a true and complete statement of its

contents, and denies the allegations to the extent they fail to reflect or accurately characterize the

letter’s full contents.

        37.     Paragraph 37 constitutes Plaintiffs’ characterization of USPS’s April 19, 2021,

letter response, respectfully refers the Court to the letter for a true and complete statement of its

contents and denies the allegations to the extent they fail to reflect or accurately characterize the

letter’s full contents.

        38.     Admits that by letter dated June 29, 2021, Bloomberg submitted an administrative

appeal of USPS’s April 19, 2021, letter response, respectfully refers the Court to the letter for a




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true and complete statement of its contents and denies the allegations to the extent they fail to

reflect or accurately characterize the letter’s full contents.

        39.     Paragraph 39 constitutes Plaintiffs’ characterization of Bloomberg’s April 19,

2021, administrative appeal, respectfully refers the Court to the letter for a true and complete

statement of its contents and denies the allegations to the extent they fail to reflect or accurately

characterize the letter’s full contents.

        40.     Admits that on July 29, 2021, USPS issued an Opinion and Order relating to

Bloomberg’s administrative appeal dated April 19, 2021, respectfully refers the Court to the

Opinion and Order for a true and complete statement of its contents and denies the allegations to

the extent they fail to reflect or accurately characterize the Opinion and Order’s full contents.

        41.     Admits the allegations in Paragraph 41.

        42.     Admits the allegations in Paragraph 42. Defendant avers that it has provided all

the records that Plaintiffs are entitled to under FOIA.

                                           CAUSE OF ACTION

                                                Count I

        43.     Defendant repeats each and every response set forth herein to the allegations in

Paragraphs 1–42 of the Complaint.

        44.     Admits the allegations in Paragraph 44.

        45.     Paragraph 45 contains conclusions of law to which no response is required. To

the extent Paragraph 45 contains factual allegations to which a response is required, denies the

allegations in Paragraph 45.




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       46.     Paragraph 46 contains conclusions of law to which no response is required. To

the extent Paragraph 46 contains factual allegations to which a response is required, denies the

allegations in Paragraph 46.

       47.     Admits the allegations in Paragraph 47. Defendant avers that it has produced all

records Plaintiffs are entitled to under FOIA.

       48.     Paragraph 48 contains conclusions of law to which no response is required. To

the extent Paragraph 48 contains factual allegations to which a response is required, denies the

allegations in Paragraph 48.

       49.     Paragraph 49 contains conclusions of law to which no response is required. To

the extent Paragraph 49 contains factual allegations to which a response is required, denies the

allegations in Paragraph 49.

       50.     Paragraph 50 contains conclusions of law to which no response is required. To

the extent Paragraph 50 contains factual allegations to which a response is required, denies the

allegations in Paragraph 50.

       51.     Paragraph 51 contains conclusions of law to which no response is required. To

the extent Paragraph 51 contains factual allegations to which a response is required, denies the

allegations in Paragraph 51.

                                    REQUEST FOR RELIEF

       The paragraphs following Paragraph 51 contain Plaintiffs’ prayer for relief, to which no

response is required. To the extent a response is required, deny that Plaintiffs are entitled to the

requested relief, or to any relief whatsoever.

                          AFFIRMATIVE AND OTHER DEFENSES

       Any allegations not specifically admitted, denied, or otherwise answered are hereby




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denied. For further defenses, Defendant alleges as follows:

                                        FIRST DEFENSE

       The information requested in Plaintiffs’ FOIA Requests are exempt in whole or in part

under the FOIA. See 5 U.S.C. § 552(b).

                                       SECOND DEFENSE

       The Court lacks subject matter jurisdiction over Plaintiffs’ requests for relief that exceed

the relief authorized by statute under FOIA, 5 U.S.C. § 552.

                                        THIRD DEFENSE

       The Court lacks subject matter jurisdiction over Plaintiffs’ requests for any relief beyond

the scope of Plaintiffs’ FOIA request at issue in this lawsuit.

                                      FOURTH DEFENSE

       Plaintiffs are not entitled to attorneys’ fees or costs under 5 U.S.C. § 552(a)(4)(E).

                                        FIFTH DEFENSE

       Plaintiffs’ complaint should be dismissed in whole or in part for failure to state a claim on

which relief may be granted, as Defendant has not unlawfully withheld any records or

information within the meaning of FOIA.

                                             *    *    *

       Defendant may have additional defenses that are presently unknown but may be

ascertained at a later time. Defendant reserves the right to assert each and every affirmative or

other defense that may be available, including any defenses pursuant to Federal Rules of Civil

Procedure 8 and 12.




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Dated: New York, New York
       August 26, 2022
                                    Respectfully submitted,

                                    DAMIAN WILLIAMS
                                    United States Attorney
                                    Southern District of New York

                              By:   /s/ Tomoko Onozawa
                                    TOMOKO ONOZAWA
                                    Assistant United States Attorney
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 BLOOMBERG L.P. and DOW JONES & COMPANY,
 INC.,

                                     Plaintiffs,
                                                                   22 Civ. 6112 (DLC)
                               -v-
UNITED STATES POSTAL SERVICE,

                                     Defendant.



                           DECLARATION OF JEFFREY TACKES

       I, Jeffrey Tackes, make the following Declaration in lieu of an affidavit in accordance

with the provisions of 28 U.S.C. § 1746. I understand that my declaration may be introduced

into the record of the above captioned action.

       1.      I am over the age of 18, am competent to testify, and have personal knowledge of

the facts and information set forth in this declaration.

       2.      I hold a Bachelor of Science degree in Industrial Engineering from the University

of Wisconsin, Madison.

       3.       I currently hold the position of Director, Digital Business Services in the United

States Postal Service (“USPS” or the “Postal Service”). I have been in this position since

January 2020. Prior to my return to USPS in 2014, I spent seven years at Dun & Bradstreet as a

senior data consultant advising federal government agencies on commercial data use and value.

My responsibilities in that position included assessing the data needs of commercial and

government clients and providing input on the value these clients could extract from the

commercial data services available. A large part of my role as a data consultant was assessing


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the data elements, pricing, delivery options and terms best suited for each client engagement.

The highest value data elements typically contain summary insights built upon a broad base of

source data. The USPS’s nationwide network of daily acceptance, processing, and delivery

generates a broad base of source data, refreshed at an unparalleled rate, and communicated in

near real time, establishing the foundation for high market-value data offerings.

       4.      In my current official capacity as Director, Digital Business Services, I report to

the Vice President, Innovative Business Technology within the Chief Technology Office of the

USPS. The Digital Business Services team is responsible for developing new revenue

opportunities to support USPS operations, including services that fall under our authority to

license intellectual property. I oversee development of new services that generate additional

non-postal revenue in support of USPS operations.

       5.      Congress has repeatedly instructed that the Postal Service be run more like a

private business, including through passage of several pieces of legislation. In 1970, Congress

enacted the Postal Reorganization Act of 1970, Pub. L. No. 91–375, 84 Stat. 719–768, 84 Stat.

769–787 (1970), codified at 39 U.S.C. § 101 et seq., which abolished the United States Post

Office Department and reorganized the Postal Service to operate more like a private enterprise.

See Franchise Tax Bd. v. USPS, 467 U.S. 512, 519–520 (1984) (“In passing the Postal

Reorganization Act of 1970 . . . Congress [] indicated that it wished the Postal Service to be run

more like a business than had its predecessor, the Post Office Department.”). In 2006, Congress

enacted the Postal Accountability and Enhancement Act of 2006, Pub. L. No. 109–435, 120 Stat.

3198 (2006), which granted the Postal Service significantly more flexibility with respect to the

development of competitive products to give the agency the ability to compete fairly within the

marketplace.



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       6.       Pursuant to Congress’ intent, as set forth in federal statutes, USPS operates akin

to a private sector business when licensing intellectual property and therefore must explore all

avenues to ensure a sustainable future for USPS. Like any business, new revenue sources are a

vital part of future growth in USPS revenue. The Postal Service works to create new revenue

sources by implementing solutions based on customer and marketplace needs that correspond

with existing USPS capabilities and data. These new revenue sources allow USPS to compete

more effectively and further sustain universal service and access.

       7.       The USPS operates one of the nation’s largest physical and digital networks, and

in 2021 generated terabytes of data while adding 1.7 million new delivery points and processing

36 million address changes. In so doing, the USPS generates intellectual property in the form of

data that competes directly with data assets and services offered by other data creators and data

brokers in the marketplace. Private businesses commonly monetize data assets, particularly

those that generate unique value in the marketplace.

       8.       Individuals, families, and businesses can notify the USPS of a temporary or

permanent change to their mailing address by either filing an online change of address (“COA”)

request at https://usps.com/move, or by filling out a PS Form 3575 (Mail Forwarding Change of

Address Order) and either submitting the form to a local post office or mailing it to a designated

USPS address.

       9.       USPS maintains data from COA filings for individuals, families, and business,

and publishes generalized data on COA filings on its FOIA website. See Change of Address

Stats, USPS FOIA LIBRARY, available at https://about.usps.com/who/legal/foia/library.htm. The

COA data on USPS’s FOIA website is separated into one .csv file per calendar year and is

updated every month. Each annual .csv file contains: a list of every ZIP code in the United



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States; the total numbers of COA filings into and out of a given ZIP code; the total numbers of

individuals, families, and businesses submitting COA filings into and out of a given ZIP code;

and the total numbers of temporary and permanent COA requests.

       10.     The COA data in the public domain only shows the total number of COA filings

into and out of a specific ZIP code, but does not show how many individuals, families, and

business moved from specific ZIP codes to other specific ZIP codes, and also does not show how

many COA requests were permanent or temporary by individuals, families, or businesses.

                                      The FOIA Requests

                                    The Dow Jones Request

       11.     By correspondence dated September 15, 2021 and received by USPS on

September 16, 2021, plaintiff Dow Jones & Company, Inc. (“Dow Jones”), through its Wall

Street Journal reporter Paul Overberg, submitted a Freedom of Information Act (“FOIA”)

request under 5 U.S.C. § 552 (the “Dow Jones FOIA Request”) through the USPS FOIA portal.

Attached as Exhibit A is a true and correct copy of the Dow Jones FOIA Request.

       12.     The Dow Jones FOIA Request sought “monthly summary data showing the

number of residential postal customers who filed change-of-address requests” between January

2021 and June 2021, and specifically sought “separate tallies for temporary and permanent

requests.” The Dow Jones FOIA Request asked USPS to send its response as an Excel file with

columns named: (a) YYYYMM (b) Old County; (c) Old State; (d) New County; (e) New State;

(f) Total Perm[anent]; and (g) Total Temp[orary].

       13.     USPS assigned the Dow Jones FOIA Request an internal tracking number, 2021-

FPRO-03224.




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         14.   On September 17, 2021, Tai Thompson, a USPS Government Information

Specialist, issued an initial decision in response to the Dow Jones FOIA Request (“September

2021 USPS Decision”). Attached as Exhibit B is a true and correct copy of the September 2021

USPS Decision.

         15.   In this decision, Ms. Thompson advised Mr. Overberg that some of the requested

records had been made publicly available in public and/or in electronic reading rooms, and

referred him to USPS’s FOIA Library website. As explained above, the publicly available data

shows aggregated COA filings out of and into each ZIP code but does not show the relationship

between old and new filing counts. Ms. Thompson advised that the publicly-available portions

of the records requested in the Dow Jones FOIA Request would not be processed, pursuant to 5

U.S.C. § 552(a)(3).

         16.   The Dow Jones FOIA Request, however, also sought information showing the

association between filers’ “Old County”/“Old State” and their “New County”/”New State” by

ZIP code. In other words, the Dow Jones FOIA Request sought data that makes associations

between counties and filers’ ZIP codes, cities, and states, thereby showing the associated

movement of COA filers and filings between ZIP codes and old/new counties, and between ZIP

codes and old/new states. The correlated data sought by the Dow Jones FOIA request allows the

public to obtain more granular demographic and socioeconomic information that has market

value.

         17.   As a result, Ms. Thompson stated that these records are exempt from disclosure

under FOIA Exemption 3, 5 U.S.C. § 552(b)(3), in conjunction with 39 U.S.C. § 410(c)(2). Ms.

Thompson further informed Dow Jones that the additional portions of its FOIA Request that are

not publicly available “qualify as ‘information of a commercial nature’” under 39 U.S.C.



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§ 410(c)(2) “because it is related to COA counts by origin and destination which is information

that is now, at the moment, currently under development for a commercial product.” Ms.

Thompson therefore stated that “[r]equests for COA data that seek the originating and

destination location, at any level, is no longer releasable under the FOIA,” and informed Dow

Jones that it could file an administrative appeal of the September 2021 USPS Decision within 90

days.

        18.    On November 24, 2021, plaintiff Dow Jones appealed the September 2021 USPS

Decision (“November 2021 Dow Jones Appeal”). Attached as Exhibit C is a true and correct

copy of the November 2021 Dow Jones Appeal. The November 2021 Dow Jones Appeal

asserted that the documents withheld under Exemption 3, in conjunction with 39 U.S.C. §

410(c)(2), did not qualify as “information of a commercial nature” and that even if they did, the

Postal Service has not established that the information would not be disclosed under “good

business practice.”

        19.    On December 9, 2021, USPS’s Office of the General Counsel issued an Opinion

and Order affirming the agency’s September 2021 USPS Decision (“December 2021 USPS

Opinion & Order). Attached as Exhibit D is a true and correct copy of the December 2021

USPS Opinion & Order. The December 2021 USPS Opinion & Order reaffirmed that the data

sought by the Dow Jones FOIA Request which was not already publicly available through

USPS’s FOIA website was subject to withholding under FOIA Exemption 3 and 39 U.S.C.

§ 410(c)(2) because the request for “COA data aggregated by origin/destination was properly

classified as commercial information that would not be disclosed under good business practice.”




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                                    The Bloomberg Request

       20.     On or about March 30, 2021, plaintiff Bloomberg, L.P., through one of its

reporters, Marie Patino, submitted a FOIA request (the “Bloomberg FOIA Request”) through the

USPS FOIA portal. Ms. Patino sought change of address data, per ZIP code, for the month of

December 2020, including origin/destination information. Attached as Exhibit E is a true and

correct copy of the Bloomberg FOIA Request.

       21.     USPS assigned the Dow Jones FOIA Request an internal tracking number, 2021-

FPRO-01469.

       22.     On April 19, 2021, James D. Wilson, who at the time was the Director of

Addressing and Geospatial Technology at USPS, issued an initial decision in response to the

Bloomberg FOIA Request (“April 2021 USPS Decision.”). Attached as Exhibit F is a true and

correct copy of the April 2021 USPS Decision. In this decision, Mr. Wilson explained that these

records are exempt from disclosure under FOIA Exemption 3, 5 U.S.C. § 552(b)(3), in

conjunction with 39 U.S.C. § 410(c)(2), because “the information is related to change-of-address

counts which provides information that is under development for a commercial product.”

       23.     On June 29, 2021, plaintiff Bloomberg appealed the April 2021 USPS Decision

(the “June 2021 Bloomberg Appeal”). Attached as Exhibit G is a true and correct copy of the

June 2021 Bloomberg Appeal. The June 2021 Bloomberg Appeal asserted that the documents

withheld under Exemption 3, in conjunction with 39 U.S.C. § 410(c)(2), did not qualify as

“information of a commercial nature,” and that even if they did, the Postal Service had not

established that the information would not be disclosed under “good business practice.”




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       24.     On July 29, 2021, USPS’s Office of the General Counsel issued an Opinion and

Order affirming the agency’s June 2021 USPS Decision (“July 2021 USPS Opinion & Order).

Attached as Exhibit H is a true and correct copy of the July 2021 USPS Opinion & Order.

       25.     The July 2021 USPS Opinion & Order reaffirmed that the information sought by

the Bloomberg FOIA Request was subject to withholding under FOIA Exemption 3 and 39

U.S.C. § 410(c)(2) because the request for “records regarding the number of households that

changed their address from several ZIP codes to all other ZIP codes in the U.S.” was “properly

categorized as being commercial in nature.” The decision further stated that “[t]he information

sought is currently being used in the development of a future commercial product,” such that

disclosure “would benefit our competitors by providing them with specific details regarding the

components of the Postal ‘service’s new commercial product” and “could compromise the

product’s development process.”

                       Data Withheld in Response to the FOIA Requests

       26.     Section 552(b)(3) of the FOIA provides that the FOIA does not require the release

of matters that are specifically exempt from disclosure by statute, provided that such statutes: (A)

require that the matters be withheld from the public in such a manner as to leave no discretion on

the issue; or (B) establish particular criteria for withholding or refer to particular types of matter

to be withheld. 5 U.S.C. § 552(b)(3). USPS has determined that the COA data sought in the

Dow Jones FOIA Request and the Bloomberg FOIA Request (together, the “FOIA Requests”) is

information that falls squarely within the scope of a relevant withholding statute.

       27.     The Postal Reorganization Act of 1970 provides the Postal Service with a broad

exemption under FOIA to withhold business-sensitive information under best business practices.

39 U.S.C. § 410(c)(2). Specifically, section 410(c)(2) permits the Postal Service to withhold



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“information of a commercial nature, including trade secrets, whether or not obtained from a

person outside the Postal Service, which under good business practice would not be publicly

disclosed.” Id. Information of a commercial nature under Section 410(c)(2) is broadly defined

by Postal Service regulations to include all information that “relates to commerce, trade, profit,

or the Postal Service’s ability to conduct itself in a businesslike manner.” 39 C.F.R. §

265.14(b)(3).

       28.      The Postal Service has long understood the Postal Reorganizational Act to

constitute a withholding statute for purposes of Exemption 3 under FOIA. Courts have routinely

upheld the Postal Service’s right to withhold materials that fall within the scope of the Act under

FOIA. In determining whether particular information is commercial in nature and therefore not

subject to mandatory public disclosure under FOIA, the Postal Service considers six factors

relating to whether the information sought is more akin to its role as a business entity, a

competitor in the market, or a provider of basic public services. See 39 C.F.R. § 265.14(b)(3)(i).

The six factors are:

       (A) Relates to products or services subject to economic competition, including, but
       not limited to, “competitive” products or services as defined in 39 U.S.C. 3631, an
       inbound international service, or an outbound international service for which rates
       or service features are treated as nonpublic;

       (B) Relates to the Postal Service’s activities that are analogous to a private business
       in the marketplace;

       (C) Would be of potential benefit to individuals or entities in economic competition
       with the Postal Service, its customers, suppliers, affiliates, or business partners or
       could be used to cause harm to a commercial interest of the Postal Service, its
       customers, suppliers, affiliates, or business partners;

       (D) Is proprietary or includes conditions or protections on distribution and
       disclosure, is subject to a nondisclosure agreement, or a third party has otherwise
       expressed an interest in protecting such information from disclosure;

       (E) Is the result of negotiations, agreements, contracts or business deals between
       the Postal Service and a business entity; or

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       (F) Relates primarily to the Postal Service’s governmental functions or its activities
       as a provider of basic public services.

       29.     The Postal Service considered each factor and determined that the COA data

sought by the FOIA Requests relates to Postal Service activities that are analogous to those of a

private business in the marketplace. USPS also determined that disclosure would benefit the

Postal Service’s competitors and undermine its ability to monetize its data.

       30.     This data will be used in a planned licensed data offering called Population

Mobility Trends. At this time, USPS anticipates that the Population Mobility Trends product

will be released in the spring of 2023. Population Mobility Trends is a tabular data set updated

every 30 days under a renewable annual license subscription, and will be accessed through the

USPS electronic product fulfillment service. Population Mobility Trends includes granular data

on aggregated population moves from one geographic region to another. In addition to what is

available on USPS’s FOIA website, Population Mobility Trends will show population movement

from every ZIP code and includes the top three (where minimum thresholds are met) ZIP codes

that those populations are moving to locally, both in-state and out-of-state.

       31.     For example, for a specific ZIP Code, Population Mobility Trends will provide

the total COA filing counts from that ZIP code to: (1) the top three “to” ZIP counts within the

county (i.e. local moves); (2) the top three “to” ZIP codes within the state (i.e. in-state moves);

and (3) the top three “to” ZIPs outside the state (i.e. out-of-state moves). For each of these filing

counts for the old and new ZIP codes, Population Mobility Trends will include the three most

prevalent demographic attribute ranges (age, income, household size) identified for temporary,

permanent, individual, family, and business filings.

       32.     Each data file provided to a paying Population Mobility Trends licensee will be

refreshed with COA activity from the prior 30 days, and the licensee will have the option to


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license the prior 12-month or 48-month data sets when initiating its first annual license

subscription. This means that the first offering of Population Mobility Trends will contain

commercial data starting from the 2019–2020 calendar year.

       33.       In developing the Population Mobility Trends data offering, USPS needed to

complete several steps in the product development process to prepare this service as a market

offering. These steps included: valuating the other services in the market; determining how

those services are consumed, determining which licensing terms are applicable for this type of

data offering; executing the legally required notice to the public for this particular data use; and

defining the channels to be used for marketing, distribution, data governance, and audit. These

steps have been completed as planned and USPS now moving into the production stage of this

data offering.

       34.       Services and data that provide insights on the migration of people are currently

available in the competitive data marketplace. For example, location data intelligence is an

established subsegment of analytics and business intelligence (“ADI”) platforms, and location

data sources are critical inputs used for location data intelligence, and often within ADI

platforms, to process and/or visualize real world population movement trends. Location data

intelligence is leveraged in many markets and use cases, including placement or staging of

services (retail, real estate, construction, marketing, etc.) See, e.g., HERE TECHNOLOGIES,

https://here.com/ (last visited Dec. 9, 2022); SAFEGRAPH INC., https://safegraph.com (last visited

Dec. 9, 2022); What is Location Data?, UNACAST INC., https://www.unacast.com/what-is-

location-data (last visited Dec. 9, 2022). Based on my experience in advising federal

government agencies on commercial data use and value, and my knowledge and experience with

USPS’s competitors in commercial data services, other private businesses that gather and sell



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location data would not customarily release to the public information relating to population

movement patterns and trends.

       35.     USPS’s effort to monetize data such as Population Mobility Trends is consistent

with the commercial activities of leading companies in the marketplace. In looking to license

COA data, USPS is operating much like other private businesses. Data monetization is a

commonly understood practice and gaining traction as a revenue-generating asset. See, e.g.,

What is Data Monetization?, TIBCO SOFTWARE INC., https://www.tibco.com/reference-

center/what-is-data-monetization (last visited Dec. 9, 2022); Your Easy Guide to Data

Monetization, SISENSE INC., https://www.sisense.com/data-monetization/ (last visited Dec. 9,

2022). USPS will forgo valuable sustainable revenue if it does not develop and support a

commercial license offering such as Population Mobility Trends.

       36.     The value of data in a competitive marketplace is determined by its availability,

recency, completeness, and source accuracy. Publicly releasing the requested COA data sought

by the FOIA Requests will provide information and insights to marketplace data providers, data

aggregators and data solutions that will harm USPS’s ability to license this data for its full

commercial value. In addition, it is standard business practice when licensing data to include

restrictions on use, access, distribution, and retention. USPS data licenses include these

restrictions. Without these restrictions, USPS would have no control or recourse when

protecting its data from unauthorized sale, distribution, or disclosure.

       37.     At this time, USPS does not consider the publicly available COA data in its FOIA

library to pose a negative impact on the forthcoming Population Mobility Trends product. The

Population Mobility Trends product is different from the publicly-available COA data because

the product shows for each ZIP code, the top three ZIP codes that those populations are moving



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to locally, in-state and out-of-state";
                                 ,,
                                        The Population Mobility Trends product therefore provides

up to nine times more data than the publicly available data published monthly on USPS' s

website.

        38.     If USPS were compelled through FOIA to disclose the relationships between the

origins of a move and the destinations of a move (such as that represented in the Population

Mobility Trends data), those disclosures will negatively impact USPS's data licensing offerings,

including the annual subscription and the optional historical file subscriptions that will be made

available through Population Mobility Trends. Protecting sensitive commercial information is

critical to the Postal Service's ability to generate revenue in a highly competitive marketplace

and allows the Postal Service to operate more like a business, as Congress intended. Disclosure

of information that reveals specific aspects of data that USPS intends to license in the

commercial market will negatively impact the Postal Service's ability to monetize that data,

thereby disadvantaging the Postal Service and harming its business.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

declaration is true and correct.


Executed in Washington, D.C., on December 9, 2022.



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                       EXHIBIT A




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                                                 Submit New Request
Requester Details
To modify request details please update your requester profile or contact the our office for assistance.

Paul Overberg
Wall Street Journal
1025 Connecticut Ave NW
Suite 800
Washington, DC 20036
Phone 202-862-9261
paul.overberg@wsj.com

Requester Default Category: News Media
General Information
Requester Service Center         HQ Records Office
Action Office Instructions       for Postal Service Headquarters controlled records including contracts, building leases, and
                                 other real estate transactions or employee listings
Requester Category               News Media
Send Response Via                E-mail
Payment Mode                     Check


Shipping Address
Address                          1025 Connecticut Ave NW
Apartment/Suite Number           Suite 800
City                             Washington
State(US)                        District of Columbia
Country                          United States
Zip Code                         20036


Request Information
                                 This letter constitutes a request under the federal Freedom of Information Act (“FOIA”), 5 U.S.C.
                                 § 552.

                                 Thank you for quick fulfillment of two earlier requests, No. 2021-FPRO-00980 and No.
                                 2021-FPRO-01334. They included monthly summary data showing the number of residential
                                 postal customers who filed change-of-address requests in 2017-2020. They contained separate
                                 tallies for temporary and permanent requests. They were sent as an Excel file with columns
                                 named:

                                 YYYYMM
                                 Old County
                                 Old State
                                 New County
                                 New State
                                 Total Perm
                                 Total Temp
Description of Request
                                 This request seeks the same data for January-June 2021 in the same format.

                                 As a reporter for The Wall Street Journal, a news media organization, I request a waiver of fees.
                                 Release of this information is likely to contribute significantly to public understanding of
                                 pandemic effects, including on postal operations. (Please inform me if fees will exceed $100
                                 before proceeding.)

                                 Because I'm making this request as a journalist and this information has timely value, I would
                                 appreciate your communicating with me by telephone or email, rather than by postal mail, if you
                                 have questions. You may contact me at paul.overberg@wsj.com or 202-862-9261. I look
                                 forward to your response. Thank you in advance for your help.

                                 Paul Overberg
                                 The Wall Street Journal


                                                            JA041
Date Range for Record
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Search:From
Date Range for Record
Search:To
Description Document
Privacy Waiver & Authorization
Proof of Identity


Fee Information
Willing Amount                    $100
Fee Waiver Requested              Yes
                                  As a reporter for The Wall Street Journal, a news media organization, I request a waiver of fees.
Fee Waiver Request Reason         Release of this information is likely to contribute significantly to public understanding of
                                  pandemic effects, including on postal operations.
Willing to Pay All Fees           No


Expedite Information
Expedited Processing              No
Requested
Need for Expedited Processing




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                       EXHIBIT B




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      PRIVACY & RECORDS MANAGEMENT OFFICE

~ UNITED         ST/JTES
II.a POST/JL SERVICE
      September 17, 2021


      Via Email: paul.overberg@wsj.com


      Paul Overberg
      Wall Street Journal
      1025 Connecticut Ave NW, Suite 800
      Washington, DC 20036


      RE: FOIA Case No. 2021-FPRO-03224

      Dear Mr. Overberg:

      This responds to your Freedom of Information Act (FOIA) requests dated September 15, 2021 in which you
      seek access to Postal Service county-level change-of-address (COA) records between January and June
      2021, including origin/destination data.

      There is a longstanding practice of limiting the data reported for COA orders. During Hurricane Katrina, a
      policy was established that prohibits disclosure of COA volume where the count is less than ten (10). The
      purpose of this policy was to minimize the ability of a data recipient to identify where any specific
      individual(s) may have moved from or to, which would be a violation of our responsibility to safeguard the
      privacy interests of customers submitting COA orders.

      Please note that some of the records you have requested are records that the Postal Service has recently
      decided to make available for public inspection in accordance with the FOIA, 5 U.S.C. § 552(a)(2). The
      records you have requested consist of:

                Records that have been released to previous FOIA requesters and that the Postal Service has
                determined have become or are likely to become the subject of subsequent requests for
                substantially the same records; and

                Records that have been released to previous FOIA requesters and that have been requested three
                (3) or more times

      Because the Postal Service has made these records publicly available in its public and/or electronic reading
      rooms, we will not process these records in response to your FOIA request made under 5 U.S.C. §
      552(a)(3). Instead, please note that the records that you seek are available on our website under the FOIA
      Library – Change of Address Stats. Given the highly sought data of COA records, requests will no longer
      be processed under the FOIA as the information is available to the general public. It is available as an Excel
      spreadsheet which allows ease of customization by each individual data seeker after download. Any and all
      COA data to be released is available at the below-referenced FOIA Library website, which will be updated
      on a monthly basis:

                https://about.usps.com/who/legal/foia/welcome.htm.

      You may now obtain county level information by purchasing the Postal Service’s City State Product or from
      another source. For more information regarding our City State Product, please contact the National
      Customer Support Center at 1-800-238-3150 as this information is no longer being processed under the
      FOIA.



      475 L’Enfant Plaza SW, Rm. 1P830
      Washington DC 20260-1101
      (202) 268-2608
      FAX: (202) 268-5353


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In regard to the remaining portion of your request pertaining to origin/destination data, based on your
description of records sought, it has been determined that this portion of the records you seek are now
exempt from disclosure under FOIA Exemption 3, 39 U.S.C. §410(c)(2).

Exemption 3 allows an agency to withhold information that is “specifically exempted from disclosure by
statute.” 5 U.S.C. § 552(b)(3). Section 410(c)(2) of the Postal Reorganization Act qualifies as an
Exemption 3 statute. 39 U.S.C. § 410(c)(2). Section 410(c)(2) permits the Postal Service to withhold
“information of a commercial nature, including trade secrets, whether or not obtained from a person outside
the Postal Service, which under good business practice would not be publicly disclosed.” 39 U.S.C.
§410(c)(2). Information of a commercial nature under Section 410(c)(2) is broadly defined to include all
information that “relates to commerce, trade, profit, or the Postal Service’s ability to conduct itself in a
businesslike manner.” 39 C.F.R. § 265.14(b)(3). In determining whether particular information is
commercial in nature, the Postal Service considers six (6) factors relating to whether the information is more
akin to its role as a business entity, a competitor in the market or a provider of basic public services. See
39 C.F.R. § 265.14(b)(3)(i).

Here, we find that the records you requested qualify as “information of a commercial nature” under Section
410(c)(2) because it is related to COA counts by origin and destination which is information that is now, at
the moment, currently under development for a commercial product. Requests for COA data that seek the
originating and destination location, at any level, is no longer releasable under the FOIA. Accordingly, this
information is exempt from disclosure under Exemption 3 of the FOIA and Section 410(c)(2).

If you are not satisfied with the response to this request, you may file an administrative appeal within ninety
(90) days of the date of this response letter by writing to the General Counsel U.S. Postal Service 475
L’Enfant Plaza SW Washington, DC 20260 or via email at FOIAAppeal@usps.gov. Your appeal must be
postmarked or electronically transmitted within ninety (90) days of the date of the response to your request.
The letter of appeal should include, as applicable:

    (1) A copy of the request, of any notification of denial or other action, and of any other
       related correspondence;
    (2) The FOIA tracking number assigned to the request;
    (3) A statement of the action, or failure to act, from which the appeal is taken;
    (4) A statement identifying the specific redactions to responsive records that the requester
       is challenging;
    (5) A statement of the relief sought; and
    (6) A statement of the reasons why the requester believes the action or failure to act is
       erroneous.

For further assistance and to discuss any aspect of your request, you may contact any of the following:

        PRIVACY & RECORDS OFFICE
        US POSTAL SERVICE
        475 L'ENFANT PLAZA SW RM 1P830
        WASHINGTON DC 20260-1101
        Phone: (202) 268-2608
        Fax: (202) 268-5353
        FOIA Public Liaison: Nancy Chavannes-Battle

Additionally, you may contact the Office of Government Information Services (OGIS) at the National
Archives and Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National Archives and
Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769.


Sincerely,




Tai Thompson
Government Information Specialist

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                       EXHIBIT C




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D I DOW JONES
Jacob P. Goldstein
Vice President, Associate General Counsel
1211 Avenue of the Americas
New York, NY 10036
212.416.2162
jacob.goldstein@dowjones.com




November 24, 2021

VIA E-MAIL

Thomas J. Marshall
General Counsel
U.S. Postal Service
475 L’Enfant Plaza SW
Washington, DC 20260
FOIAAppeal@usps.gov

                   Re:       Freedom of Information Act Appeal
                             FOIA Request 2021-FPRO-03224

Dear Mr. Marshall:

       I write on behalf of Paul Overberg and The Wall Street Journal (jointly, the
“Journal”). Pursuant to 5 U.S.C. § 552(a)(6)(A) and 39 C.F.R. § 265.8, by this letter, we
hereby appeal the denial of the Journal’s September 15, 2021, request under the
Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.

                                            BACKGROUND

      On September 15, 2021, the Journal submitted to the U.S. Postal Service a FOIA
request for certain records. Specifically, the Journal requested “monthly summary data
showing the number of residential postal customers who filed change-of-address
requests” for January-June 2021 in an Excel format with “separate tallies for temporary
and permanent requests” and data for the following columns:

                   YYYYMM
                   Old County
                   Old State
                   New County
                   New State
                   Total Perm
                   Total Temp

(the “Request”). The Request noted that the Postal Service had recently granted
requests for the same change-of-address (“COA”) data for other time periods, citing




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FOIA requests No. 2021-FPRO-00980 and No. 2021-FPRO-01334. Copies of the
Postal Service’s letters granting those FOIA requests in February and March 2021 are
enclosed for your reference.

      On September 17, 2021, the Postal Service denied the Request (the “Denial”).
The Denial stated that the Postal Service is making some of the data available to the
general public because such COA records are “highly sought data,” citing 5 U.S.C. §
552(a)(2)(D).

       Recognizing that this alternative data source would not fully satisfy the Journal’s
Request because it does not include “origin/destination data,”1 the Denial went on to
say that “this portion of the records you seek are now exempt from disclosure under
FOIA Exemption 3, 39 U.S.C. § 410(c)(2)” (emphasis added). The Denial stated:

               [T]he records you requested qualify as “information of a
               commercial nature” under Section 410(c)(2) because it is related to
               COA counts by origin and destination which is information that is
               now, at the moment, currently under development for a
               commercial product. Requests for COA data that seek the
               originating and destination location, at any level, is no longer
               releasable under the FOIA. Accordingly, this information is exempt
               from disclosure under Exemption 3 of the FOIA and Section
               410(c)(2) (emphases added).

By this letter, the Journal hereby appeals the Denial. (A copy of the Denial is also
enclosed for reference.)

                                            ARGUMENT

       The Denial is contrary to law and should be swiftly reversed with the prompt
provision of the records requested in full.

       “FOIA’s purpose is to ensure an informed citizenry, vital to the functioning of a
democratic society, needed to check against corruption and to hold the governors
accountable to the governed. FOIA favors disclosure and any member of the public is
entitled to have access to any record maintained by a federal agency, unless that
record is exempt from disclosure under one of the Act’s nine exemptions. . . . [A]ll
statutory exemptions must be construed narrowly.” N.Y. Times Co. and Dow Jones v.

1
  The COA data proactively disclosed by the Postal Service on its FOIA website also fail to satisfy the
Request because they do not separate residential from business COAs by type of change (permanent vs
temporary).




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Dep't of Health & Hum. Servs., 513 F. Supp. 3d 337, 345 (S.D.N.Y.), aff'd 15 F.4th 216
(2d Cir. 2021) (citations and quotation marks omitted).

       The Postal Service’s invocation of Section 410(c)(2) to withhold the requested
origin/destination data defies law and logic. This provision exempts from disclosure
“information of a commercial nature, including trade secrets, whether or not obtained
from a person outside the Postal Service, which under good business practice would
not be publicly disclosed.” The exemption is narrowly construed. See Carlson v. U.S.
Postal Serv., 504 F.3d 1123, 1129 (9th Cir. 2007).

      The requested records do not qualify as “information of a commercial nature”
even under a broad interpretation of that phrase. And even if they did, the Postal
Service hasn’t established that such information would not be disclosed under “good
business practice.”

        The statute requires “that the information be of ‘a commercial nature’ in the first
instance.” Carlson, 504 F.3d at 1129 (emphasis added). Accordingly, in Carlson, the
Court of Appeals for the Ninth Circuit rejected the Postal Service’s arguments that
records of “the names, addresses, telephone numbers, regular business hours, and
final collection times for outgoing mail for every United States post office” were
exempt even though the Postal Service claimed the information “has commercial value
and attracts customers to the Post Office website.” Id. at 1125, 1127. Here, too, even if
the Postal Service could establish that COA records with origin/destination data might
attract customers willing to pay for such information, this would not satisfy the
statutory exemption for “information of commercial nature.”

       The Postal Service has not identified any of the regulatory factors leading it to
conclude the requested data is “information of a commercial nature.” None of them
supports that conclusion, as is demonstrated by the fact that the requested data is
unlike any of the examples of commercial information listed in 39 C.F.R. §
265.14(b)(3)(ii).

        A record related “primarily to the Postal Service’s governmental functions or its
activities as a provider of basic public services,” id. § 265.14(b)(3)(i)(F), “is subject to
public inspection.” CREW v. U.S. Postal Serv., 2021 WL 3662843, at *4 (D.D.C. Aug.
17, 2021). By contrast, cases upholding the Postal Service’s withholding of information
under § 410(c)(2) “have concerned proprietary information.” Carlson, 504 F.3d at 1129
(collecting cases regarding “quantity and pricing information in contract”, “figures and
data in a contract”, “clients, mailing agents, and charges”, “pricing and rates “ in
“delivery agreements”); see also CREW, 2021 WL 3662843, at *4 (citing cases
regarding “business information relating to employee compensation and decisions to
‘improve customer service, generate revenue, manage costs, and enhance a



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performance-based culture,’” and “the specifics of USPS's contract with another
shipping logistics company”).

       The COA data requested by the Journal, including origin/destination data, is not
proprietary information but rather is more akin to the records at issue in Carlson. As
noted, the Postal Service has previously, repeatedly released COA records, including
origin/destination data, in response to FOIA requests. In addition, the Postal Service
recognizes that COA data is a record subject to FOIA that has been or is likely to
become the subject of repeated requests, triggering its obligation to disclose the data
proactively via its FOIA Library website. The Postal Service’s August 4, 2021, letter
regarding the availability of this data on its FOIA website acknowledges “an increased
interest in COA data during the COVID-19 pandemic.” USPS Aug. 4, 2021, COA Stats
on USPS FOIA Website.

       Indeed, there is substantial, legitimate public interest in the COA data, as
demonstrated by articles in the Journal and other newspapers analyzing the records
that the Postal Service had until recently disclosed under FOIA. See,
                                                                    ---- e.g., How the
Pandemic Did, and Didn’t, Change Where Americans Move (N.Y. Times Apr. 19, 2021);
More Americans Are Leaving Cities, But Don’t Call It an Urban Exodus (Bloomberg Apr.
26, 2021); Only one US city saw a bigger pandemic exodus than San Francisco (S.F.
Chronicle June 22, 2021); The Pandemic Changed Where Americans Live (WSJ Apr.
27, 2021); Americans Up and Moved During the Pandemic. Here’s Where They Went.
(WSJ May 11, 2021); Full-Time Residents Flock to Jersey Shore (WSJ May 29, 2021);
and New Life and Work Choices Revitalize Exurbs, Bringing New Strains (WSJ Aug. 29,
2021); Californians Flee the Coast to Inland Cities in a Mass Pandemic-Era Exodus
(WSJ Nov. 21, 2021). And such reporting is only possible with the disclosure of COA
records with origin/destination data.

       The Postal Service’s Denial offers no explanation for how the inclusion of
origin/destination data magically transforms COA records from data that remain the
subject of ongoing, proactive disclosure pursuant to its obligations under FOIA Section
552(a)(2)(D) into “information of a commercial nature” that is exempt from disclosure.

       The only hint of a rationale is the Denial’s oddly phrased explanation that the
Postal Service “now, at the moment, currently” has “under development” a “commercial
product.” But a plan to develop in the future a commercial product based on
information that has historically been disclosed to the public under FOIA cannot
transform such records into information that is exempt from disclosure under Section
410(c)(2). If the Denial’s logic prevailed, the Postal Service would be able simply to
announce the contemplation of a prospect of turning records into items for sale and
thereby unilaterally evade its obligations under FOIA, all while charging prices for
“commercial products” that have been and should be disclosed to the public pursuant



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to FOIA’s fee regime. Neither the Carlson court nor the CREW court would
countenance this result; and neither should you.

       To be sure, under FOIA, agencies may decline to make certain categories of
records available for public inspection and copying if such “materials are promptly
published and copies offered for sale.” 5 U.S.C. § 552(a)(2). But the Denial’s
speculative, vague suggestion of a future ability to purchase detailed COA data does
not satisfy FOIA’s requirements.

                                    CONCLUSION

      For the foregoing reasons, the Journal respectfully submits that the Denial must
be vacated, the Request must be processed promptly under FOIA, and the Journal
must be provided access to the data files as requested, in the manner set forth in the
FOIA Request, with all fees waived.

       Because of the importance of the information the Journal seeks and the urgency
of the newsgathering process, we would appreciate your prompt consideration and
look forward to receiving your response by email as quickly as possible, and certainly
within 20 days, as the law requires. Please call me with any questions you may have
regarding the above. Thank you for your attention in this matter.

                                                 Respectfully submitted,


                                                 Jacob P. Goldstein


cc:   Paul Overberg




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      ETHICS & LEGAL COMPLIANCE
      LAW DEPARTMENT

.!!J!!J UNITED ST/JTES
~ POST/JL SERVICE
                                               OFFICE OF THE GENERAL COUNSEL
                                               HEADQUARTERS, WASHINGTON, D.C.

      IN RE, APPEAL OF CASE NO.
      2021-FPRO-03224                                                                  APPEAL NO. 2022-APP-00041

                                                                                  ATTORNEY CHRISTOPHER DOYLE
                                                              ON BEHALF OF GENERAL COUNSEL THOMAS J. MARSHALL



                                                     OPINION AND ORDER

      After careful consideration, this office is affirming in full the action of Government Information Specialist
      Tai Thompson, on Freedom of Information Act (“FOIA”) request 2021-FPRO-03224.

           I.          STATEMENT OF FACTS

                 1. On September 15, 2021, the requester submitted a FOIA request seeking the number of
                    residential postal customer who filed temporary and permanent Change of Address (“COA”)
                    requests from January 1, 2021 to June 30, 2021. The request sought the information
                    delineated by the customer’s former and new county and former and new state.

                 2. By correspondence dated September 17, 2021, Government Information Specialist Tai
                       Thompson responded to the request. Ms. Thompson informed the requester that some of the
                       information requested has been made publicly available pursuant to 5 U.S.C. § 552(a)(2),
                       due to the fact that the information is frequently requested under the FOIA. The requester
                       was further provided the URL address for the FOIA Library website where the requester
                       could access those records. In addition, Ms. Thompson informed the requester that county
                       level COA data could be purchased through the Postal Service’s City State Product. Finally,
                       the remainder of the requested information was withheld in full pursuant to Exemption 3 and
                       39 U.S.C. 410(c)(2), which permits the Postal Service to withhold information of a commercial
                       nature that would not be disclosed under good business practice.

                 3. By email dated November 24, 2021, the requester appealed the action of Ms. Thompson.
                    The requester challenged the application of Exemption 3 and 39 U.S.C. 410(c)(2). In the
                    appeal, the requester asserts that the origin/destination COA information is not “commercial
                    in nature,” and rather, should be classified as information related primarily to the Postal
                    Service’s governmental functions or its activities as a provider of basic public services.

           II.         APPLICABLE LAW

      Congress enacted the FOIA to “pierce the veil of administrative secrecy and to open agency action to the
      light of public scrutiny.” Dep’t of the Air Force v. Rose, 425 U.S. 352, 361 (1976) (quoting Rose v. Dep’t of
      the Air Force, 495 F.2d 261, 263 (2d Cir. 1974). Congress balanced this objective by recognizing that
      “legitimate governmental and private interests could be harmed by release of certain types of
      information.” Fed. Bureau of Investigation v. Abramson, 456 U.S. 615, 621 (1982). The FOIA “requires
      federal agencies to make Government records available to the public, subject to nine exemptions.” Milner
      v. Dep’t of the Navy, 562 U.S. 562, 564 (2011). In addition, other laws allow the Postal Service to withhold
      certain categories of records and information. See, e.g., 39 U.S.C. § 410(c).

      If information is “specifically exempted from disclosure by statute,” then it is also exempt from mandatory
      disclosure under the FOIA by incorporation. 5 U.S.C. § 552(b)(3) (“Exemption 3”). One statute that
      exempts information from disclosure is Section 410(c)(2) of the Postal Reorganization Act. 39 U.S.C. §
      475 L’ENFANT PLAZA SW
      WASHINGTON, DC 20260-4201


      https://about.usps.com/who/legal/foia/



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410(c)(2) (“Section 410(c)(2)”); see also Wickwire Gavin v. U.S. Postal Serv., 356 F.3d 588, 592 n.6 (4th
Cir. 2004); Carlson v. U.S. Postal Serv., No. 13-cv-06017-JSC, 2015 WL 9258072, at *4 (N.D. Cal. Dec.
18, 2015); Airline Pilots Ass’n v. U.S. Postal Serv., No. 03-2384 (ESH), 2004 WL 5050900, at *5 (D.D.C.
June 24, 2004). This statute operates independently of the FOIA to exempt certain information from
mandatory disclosure.

Section 410(c)(2) permits the Postal Service to withhold “information of a commercial nature, including
trade secrets, whether or not obtained from a person outside the Postal Service, which under good
business practice would not be publicly disclosed.” 39 U.S.C. § 410(c)(2). “Information is of a commercial
nature if it relates to commerce, trade, profit, or the Postal Service's ability to conduct itself in a
businesslike manner.” 39 C.F.R. § 265.14(b)(3); see also Carlson v. U.S. Postal Serv., 504 F.3d 1123,
1128-29 (9th Cir. 2007)(applying the common meaning of the term “commercial” to include all information
that relates to commerce, trade, or profit). Section 410(c)(2) permits the withholding of a broader range of
commercial information than similar FOIA exemptions. See Carlson, 504 F.3d at 1129 (applying the
“common meaning” of the term “commercial”). This broader scope exists because the Postal Service is
commissioned to operate like a private corporation and, therefore, must follow sound business principles.
Id. at 1127-28.

In determining whether particular information is “commercial” in nature, the Postal Service considers six
factors relating to whether the information is more akin to its role as a business entity competing in the
market or its role as a provider of public services. See 39 C.F.R. § 265.14(b)(3)(i). No single factor is
determinative, but all are considered to determine the overall character of the information. 39 C.F.R. §
265.14(b)(3)(ii). In addition, the Postal Service has identified an extensive, though not exhaustive, list of
types of information that are considered commercial and, thus, exempt from disclosure under Section
410(c)(2). See 39 C.F.R. § 265.14(b)(3)(ii).

If the information is commercial in nature and would not be disclosed “under good business practice,”
then the FOIA does not require the Postal Service to disclose the information. Wickwire Gavin, 356 F.3d
at 594-95. No separate analysis is necessary to consider whether disclosure would cause competitive
harm or to balance the commercial interest with the public’s interest in knowing the information. See Id.;
Carlson, 2015 WL 9258072 at *8-10. “[T]he contours of the good business practice exemption [are] to be
gleaned by looking to the commercial world, management techniques, and business law, as well as to the
standards of practice adhered to by large corporations.” Wickwire Gavin, 356 F.3d at 592.

    III.     LEGAL ANALYSIS

In order for the Postal Service to properly withhold the requested information under Exemption 3 and
Section 410(c)(2), it must be (1) commercial in nature and (2) information that would not be publicly
disclosed under good business practice. 39 U.S.C. § 410(c)(2). Here, the requester sought the total
number of COA requests made by customers from January 2021 to June 2021. Specifically, information
pertaining to origin/destination data was withheld pursuant to Section 410(c)(2). After reviewing the
actions taken in this matter by the records custodian, we have determined that COA data aggregated by
origin/destination was properly classified as commercial information that would not be disclosed under
good business practice.

As stated in the response letter dated September 17, 2021, the COA information sought is currently being
used in the development of a commercial product. Unlike other federal government agencies, the Postal
Service is not funded through taxpayer dollars. Instead, the Postal Service relies on the revenue it
generates through both services and products it provides to the public. As such, the information is
commercial in nature, as it pertains to the Postal Service’s ability to obtain a profit. See e.g., Carlson, 504
F.3d at 1129 (applying the common meaning of the term “commercial” to include all information that
relates to commerce, trade, or profit). Additionally, the fact that the product is still in the development
phase strengthens the argument that the requested information was properly withheld under Exemption 3
and 410(c)(2). One of the six (6) factors considered by the Postal Service when determining whether
information is commercial in nature is whether “the information would be of potential benefit to individuals
or entities in economic competition with the Postal Service, its customers, suppliers, affiliates, or business




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partners or could be used to cause harm to a commercial interest of the Postal Service, its customers,
suppliers, affiliates, or business partners.” 39 C.F.R. § 265.14(b)(3)(i)(C). Disclosing this information
would benefit our competitors by providing them with specific details regarding the components of the
new commercial product, and the information being used to develop the product. This information could
be used by competing individuals and entities to produce products similar in nature and in direct
competition to our product currently in development.

The requester asserts that the COA data is not proprietary and therefore is not protected by Section
410(c)(2). Because the information is being used to develop a commercial product for the Postal Service,
we note that the information may, indeed, be “proprietary.” Nevertheless, the language of Section
410(c)(2) does not require the information to be proprietary or a trade secret in order to be withheld from
disclosure. Instead, the statute protects “commercial information” from disclosure. “Commercial
information” could include trade secrets, but is not limited to trade secrets and proprietary information.
The requester further argues that the COA information is not comparable to the specific examples of
commercial information provided by the Postal Service in 39 C.F.R. § 265.14(b)(3)(ii). However, we note
that the list the requester references is not meant to be exhaustive. As noted above, when applying the
factors in the Postal Service’s regulations, this information qualifies as “commercial information.” Thus,
the requested information is commercial in nature and satisfies the first prong of Section 410(c)(2)’s test.

We also find that the requested information would not be publicly released as part of good business
practice. Because this information is currently being used to develop a commercial product, release of
these records would compromise the product’s development process. Additionally, private businesses do
not disclose the specific details of their commercial business initiatives or products as they are being
developed. See Wickwire Gavin, 356 F.3d at 594 (“In determining whether Exemption 3 applies, it is
uncontroverted that the statutory term ‘good business practice’ should be decided with reference to what
businesses normally do.”); Am. Postal Workers Union, AFL-CIO v. U.S. Postal Serv., 742 F. Supp. 2d 76,
82 (D.D.C. 2010) (“[I]n determining whether it would be good business practice to disclose requested
commercial information, the Postal Service should be expected to evaluate the information in the same
manner as a corporation in the commercial world.”). And, since the information would not be disclosed
under good business practice, we are not required to assess the public’s interest in the information or
whether disclosure would cause competitive harm. Wickwire Gavin, 356 F.3d at 594-95. The material
inquiry is whether it would be good business practice for the Postal Service to disclose the commercial
information sought. Accordingly, because the records satisfy both prongs of Section 410(c)(2)’s test, the
records were properly withheld from disclosure under Exemption 3 of the FOIA and Section 410(c)(2).

    IV.     CONCLUSION

For the reasons stated above, we conclude that the withheld records contain commercial information
which would not be disclosed under good business practice pursuant to Exemption 3 and Section
410(c)(2). Therefore, the action of Government Information Specialist Tai Thompson is affirmed in full.

For the General Counsel,



Christopher Doyle
Attorney
Ethics and Legal Compliance




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                                                  Submit New Request
Requester Details
To modify request details please update your requester profile or contact the our office for assistance.

Ms. Marie P Patino
Journalist
Bloomberg LP
1101 New York Avenue NW
Floor 9A - Bloomberg LP
Washington, D.C., DC 20005
Phone 202-807-2344
mpatino14@bloomberg.net

Requester Default Category: News Media
General Information
Requester Service Center         HQ Records Office
                                 for Postal Service Headquarters controlled records including contracts, building leases, and
Action Office Instructions       other real estate transactions or employee listings
Requester Category               News Media
Send Response Via                E-mail
Payment Mode


Shipping Address
Address                          1101 New York Avenue NW
Apartment/Suite Number           Floor 9A - Bloomberg LP
City                             Washington, D.C.
State(US)                        District of Columbia
Country                          United States
Zip Code                         20005


Request Information
                                 Hello,
                                 Sorry for yet another request of this dataset -- change of addresses data, per zip, but only for
                                 the month of December 2020. I realized too late this month was missing from a previous
Description of Request           request.
                                 Thanks so much,
                                 Marie
Date Range for Record            01/12/2020
Search:From
Date Range for Record            01/01/2021
Search:To
Description Document
Privacy Waiver & Authorization
Proof of Identity


Fee Information
Willing Amount                   $25
Fee Waiver Requested             Yes
Fee Waiver Request Reason        News media -- this is to inform the public of migration patterns during the pandemic.
Willing to Pay All Fees          No


Expedite Information
Expedited Processing             No
Requested
Need for Expedited Processing




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                        EXHIBIT F




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     ADDRESSING & GEOSPATIAL TECHNOLOGY
     NATIONAL CUSTOMER SUPPORT CENTER

~ UNITEDSTIJTES
11.iffi,
      POSTAL SERVICE



           April 19, 2021

           Ms. Marie P. Patino
           Journalist
           Bloomberg LP
           1101 New York Avenue Northwest Floor 9A
           Washington, DC 2005-4269
           VIA Email: mpatino14@bloomberg.net

           RE: FOIA Case No. 2021-FPRO-01469


           Dear Ms. Patino:

           Your Freedom of Information Act (FOIA) requests for information from the United States Postal
           Service® has been forwarded to my office for response. Your request sought the following:

                    Change-of-address (COA) data of December 2020, aggregated by ZIP Code. Data to
                    include origin/destination information.

           Information is maintained in the United States Postal Service change-of-address system for a
           maximum of four (4) years from the date a customer indicates on their change-of-address order to
           begin mail forwarding. After the four-year retention period, the change-of-address information is
           permanently deleted from the change-of-address system and no longer available for inquiry.

           Based on your description of records sought, it has been determined that the records you seek are
           exempt from disclosure under FOIA Exemption 3, 39 U.S.C. §410(c)(2).

           Exemption 3 allows an agency to withhold information that is “specifically exempted from disclosure by
           statute.” 5 U.S.C. § 552(b)(3). Section 410(c)(2) of the Postal Reorganization Act qualifies as an
           Exemption 3 statute. 39 U.S.C. § 410(c)(2). Section 410(c)(2) permits the Postal Service to withhold
           “information of a commercial nature, including trade secrets, whether or not obtained from a person
           outside the Postal Service, which under good business practice would not be publicly disclosed.” 39
           U.S.C. § 410(c)(2). Information of a commercial nature under Section 410(c)(2) is broadly defined to
           include all information that “relates to commerce, trade, profit, or the Postal Service’s ability to conduct
           itself in a businesslike manner.” 39 C.F.R. § 265.14(b)(3). In determining whether information is
           commercial in nature, the Postal Service considers six (6) factors relating to whether the information is
           more akin to its role as a business entity, a competitor in the market or a provider of basic public
           services. See 39 C.F.R. § 265.14(b)(3)(i). In addition, the Postal Service has identified an extensive,
           though not exhaustive, list of information that is commercial in nature and thus, exempt from disclosure
           under Section 410(c)(2). See 39 C.F.R. § 265.14(b)(3)(ii).

           Here, we find that the records you requested qualifies as “information of a commercial nature” under
           Section 410(c)(2) because the information is related to change-of-address counts which provides
           information that is under development for a commercial product. Accordingly, this information is
           exempt from disclosure under Exemption 3 of the FOIA and Section 410(c)(2).

           As information, we do have change-of-address data for the last four years on our FOIA website, which
           can be found at https://about.usps.com/who/legal/foia/welcome.htm.




    225 N HUMPHREYS BLVD STE 501
    MEMPHIS TN 38188-1001
    800-331-5746
    FAX 901-767-8853


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If you are not satisfied with the response to this request, you may file an administrative appeal within
90 days of the date of this response letter by writing to the General Counsel, U.S. Postal Service, 475
L’Enfant Plaza SW, Washington, DC 20260 or via email at FOIAAppeal@usps.gov. Your appeal must
be postmarked or electronically transmitted within 90 days of the date of the response to your request.
The letter of appeal should include, as applicable:

        (1)   A copy of the request, of any notification of denial or other action, and of any
              other related correspondence;
        (2)   The FOIA tracking number assigned to the request;
        (3)   A statement of the action, or failure to act, from which the appeal is taken;
        (4)   A statement identifying the specific redactions to responsive records that the
              requester is challenging;
        (5)   A statement of the relief sought; and
        (6)   A statement of the reasons why the requester believes the action or failure to
              act is erroneous.

For further assistance and to discuss any aspect of your request, you may contact any of the following:

        Michelle Evans
        Addressing & Geospatial Technology
        United States Postal Service
        225 North Humphreys Boulevard Suite 501
        Memphis, TN 38188-1001
        Phone: 901-681-4474

        Privacy & Records Office
        United States Postal Service
        475 L'Enfant Plaza Southwest Room 1P830
        Washington, DC 20260-1101
        Phone: 202-268-2608
        Fax: 202-268-5353
        FOIA Public Liaison: Nancy Chavannes-Battle

Additionally, you may contact the Office of Government Information Services (OGIS) at the National
Archives and Records Administration to inquire about the FOIA mediation services they offer. The
contact information for OGIS is as follows:

        Office of Government Information Services
        National Archives and Records Administration
        8601 Adelphi Road-OGIS
        College Park, MD 20740-6001
        Email: ogis@nara.gov
        Telephone: 202-741-5770
        Toll free: 1-877-684-6448
        Facsimile: 202-741-5769

Sincerely,




James D. Wilson
Director, Addressing and Geospatial Technology

cc: Records Office




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    ~!I Davisyv'right                                                                21st Floor
                                                                                     1251 Avenue of the Americas
    ~       Tremaine LLP                                                             New York, NY 10020-1104

                                                                                     Jeremy Chase
                                                                                     212-489-8230 tel
                                                                                     212-489-8340 fax

                                                                                     jeremychase@dwt.com




                                                              June 29, 2021


VIA ELECTRONIC MAIL: FOIAAppeal@usps.gov

General Counsel, U.S. Postal Service
475 L’Enfant Plaza SW
Washington, DC 20260

Re:       FREEDOM OF INFORMATION ACT APPEAL – FOIA Request 2021-FPRO-
          01469

To Whom It May Concern:

        We represent Bloomberg L.P. and its reporter Marie Patino (collectively, “Bloomberg” or
“Requestors”). Pursuant to the Freedom of Information Act, 5 U.S.C. § 552, et seq. (“FOIA”),
Bloomberg hereby submits this appeal of the determination of the United States Postal Service
(“USPS”) on the above-referenced FOIA request (the “Request”). As set forth in full detail below,
the exemption cited by USPS in its response to the Request is completely irreconcilable with the
facts underlying the materials sought by Bloomberg.

                                                   FACTUAL BACKGROUND

       Bloomberg, through its reporter, Ms. Patino, submitted a FOIA request to USPS on March
30, 2021 seeking “[c]hange-of-address (COA) data of December 2020, aggregated by ZIP Code.
Data to include origin/destination information” (“the Records”). See Attachment A.

       Requestors sought this data for an ongoing series of articles tracking migration patterns in
the United States and analyzing the pandemic’s potential impact on migration trends relating to
the population in-flow and out-flow of major metropolitan areas.1 Accurate and timely reporting
of the requested data can significantly affect public policies responding to these population
changes. As an earlier article in the series notes, “These trends matter to cities as they reckon with

1
 See, e.g., Marie Patano, Aaron Kessler, and Sarah Holder, More Americans Are Leaving Cities, But Don’t Call It an
Urban Exodus, BLOOMBERG CITYLAB (Apr. 26, 2021), https://www.bloomberg.com/graphics/2021-citylab-how-
americans-moved/?sref=Y5NzbMHF.

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Anchorage I Bellevue I Los Angeles I New York
Portland I San Francisco I Seattle I Washington,   D.C.



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the pandemic’s economic fallout. Migration patterns can affect housing prices, tax revenue, job
opportunities and cultural vibrancy.”2

       On April 19, 2021, USPS issued a final determination on the Request, stating that it was
withholding responsive records based on FOIA Exemption 3, 5 U.S.C. § 552(b)(3) (“Exemption
3”), which permits an agency to withhold information that is “specifically exempted from
disclosure by statute.” See Attachment B. The statute invoked in the Appeal Denial letter was
Section 410(c)(2) of the Postal Reorganization Act, which permits USPS to withhold “information
of a commercial nature, including trade secrets, whether or not obtained from a person outside the
Postal Service, which under good business practice would not be publicly disclosed.” Id. (citing
U.S.C. § 410(c)(2)). The Appeal Denial stated that the requested records “qualif[y] as ‘information
of a commercial nature’ under Section 410(c)(2) because the information is related to change-of-
address counts which provides information that is under development for a commercial product.
Accordingly, this information is exempt from disclosure under Exemption 3 of the FOIA and
Section 410(c)(2).” Id. Simultaneously, the Appeal Denial letter disclosed that USPS did maintain
“change-of-address data for the last four years on our FOIA website. . . .” Id. However, the
change-of-address data on the USPS’ FOIA website does not detail moves between ZIP codes as
sought by the FOIA request. Nor does the data on USPS’ FOIA website provide information about
moves between counties or count less than ten moves to or from a ZIP code, meaning that
thousands of moves are not reflected in USPS’ online data.

        Although USPS now invokes Exemption 3 and Section 410(c)(2), the withheld records are
virtually identical to the records that Requestors had sought and received from USPS earlier this
year. On December 30, 2020, for instance, Bloomberg filed a request seeking “Change-of-address
(COA) requests filed between January 2019 and December 2020. Information should be
aggregated at ZIP Code level, preferably on a weekly basis and include type of move, temporary
or permanent.” See Attachment C. On January 5, 2021, USPS provided the requested information
in the form of a report reflecting “the total change-of-address requests filed between January 1,
2019 and November 30, 2020. The information includes origin and destination ZIP Codes, move
types and is broken down by month and year.” See Attachment D. At no point did USPS invoke
any exemption in its response to this request. And on February 2, 2021 Bloomberg filed a similar
request seeking “National Change of Address (NCOA) data, aggregated at the county level, filed
between January 2019 and December 2020. Information to include temporary and permanent
moves.” See Attachment E. Once again, on February 11, 2021, USPS provided this information,

2
    Id.




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without reference to any exemptions, in the form of a report that “reflects the total change-of-
address requests filed between January 1, 2019 and December 30, 2020 at the county level.” See
Attachment F.

       This administrative appeal follows.

                                            ANALYSIS

       The U.S. Supreme Court has established that the “basic purpose of FOIA is to ensure an
informed citizenry, vital to the functioning of a democratic society, needed to check against
corruption and to hold the governors accountable to the governed.” John Doe Agency v. John Doe
Corp., 493 U.S. 146, 152 (1989). In keeping with this fundamental goal, FOIA exemptions should
be construed as narrowly as possible. See, e.g., Department of the Air Force v. Rose, 425 U.S. 361
(1976) (finding that FOIA’s exemptions “do not obscure the basic policy that disclosure, not
secrecy, is the dominant objective of the Act.”). USPS’ improper and overbroad invocation of
Exemption 3 cuts against these bedrock principles.

   A. FOIA Exemption 3 Is Inapplicable to These Records.

        Exemption 3 permits an agency to withhold information specifically exempted from
disclosure by statute, “if that statute requires that the matters be withheld from the public in such
a manner as to leave no discretion on the issue; or establishes particular criteria for withholding or
refers to particular types of matters to be withheld.” 5 U.S.C. § 552(b)(3). Exemption 3 affords
agencies “only limited discretion” and authorizes withholding “only a narrowly drawn class of
materials from disclosure.” Lessner v. U.S. Dep’t of Com., 827 F.2d 1333, 1337 (9th Cir. 1987).
USPS has invoked Section 410(c)(2) of the Postal Reorganization Act as such a statute. Section
410(c)(2) prohibits disclosure of “information of a commercial nature, including trade secrets . . .
which under good practice would not be publically disclosed.” 39 U.S.C. § 410(c)(2). The
information Requestors seek—change of address data from December 2020—is plainly not the
kind of “information of a commercial nature” contemplated by the statute. 39 U.S.C. § 410(c)(2).

        Put simply, the information is not “commercial” within the meaning of Section 410(c)(2)
at all. USPS asserts that the information is “commercial” because it “is related to change-of-
address counts which provides information that is under development for a commercial product.”




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See Attachment B. But the definition of “commercial” implicit in USPS’ explanation is too broad
and too attenuated to be proper under Exemption 3 and Section 410(c)(2).

        Carlson v. U.S. Postal Serv. is instructive on this point. There, USPS attempted to withhold
records revealing information about Post Office locations and hours under Section 410(c)(2) and
Exemption 3, because “its Post Office locator database has commercial value and attracts
customers to the Post Office website for marketing and advertising.” Id. at 1127. But the Ninth
Circuit disagreed, finding that the common definition of “commercial”, i.e., information that
“relates to commerce, trade, or profit” undermined USPS’ claim. Id. at 1127; 1128-29 (quoting
Wilderness Soc’y v. U.S. Fish & Wildlife Serv., 353 F.3d 1051, 1061 (9th Cir. 2003) (en banc)).
The Ninth Circuit determined that while mail service was “essential to commerce and trade”
information about the “the names, addresses, telephone numbers, and regular business hours of
post offices” was not commercial information, despite USPS’ assertion that the information was
commercial because it had “value.” Id. at 1129. The Ninth Circuit deemed this explanation to
rely on a “too broad definition of commercial”, particularly in light of the fact that the class of
nondisclosable matters under Exemption 3 is “narrow.” Id. (citing Lessner, 827 F.2d at 1336).

       As in Carlson, where USPS contended that the requested information drove traffic to its
website, the fact that USPS is potentially developing a product to attract customers that uses change
of address information (which, in and of itself does not “relate to commerce, trade, or profit”),
does not render that information “commercial” under Exemption 3. Put differently, it is not how
information is used or has the potential to be used, but the type of information at issue, that makes
it commercial under Section 410(c)(2). Moreover, the fact that USPS has disclosed this precise
type of information to Requestors in the past only underscores that it is not “commercial”
information now, simply because USPS has found a way to extract “value” from it.

       To that end, cases where USPS has successfully invoked Section 410(c)(2) to withhold
“commercial” documents underscore that the underlying information itself must be commercial
and proprietary for Section 410(c)(2) to apply. As the Carlson court observed, “[t]he majority of
cases which have upheld USPS’s withholding of information under § 410(c)(2) have concerned
proprietary information,” Carlson v. U.S. Postal Serv., 504 F.3d 1123, 1129 (9th Cir. 2007).
Proprietary information means information like spreadsheets detailing quantity and pricing
information in contract between USPS and private contractor, USPS mailing permits for a private
firm detailing the private firm’s clients, mailing agents, and charges by USPS, and information in
delivery agreements including pricing and rates, operational details and specifications,
performance requirements and obligations, between USPS and Federal Express. Id. (internal




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quotations omitted). See also, e.g., Am. Postal Workers Union, AFL-CIO v. U.S. Postal Serv., 742
F. Supp. 2d 76, 81 (D.D.C. 2010) (information containing “the agency’s decisions regarding
bonuses and salary increases for its employees, [which] are based on individual, unit and corporate
performance indicators devised by the Postal Service” were properly considered commercial
information and exempt pursuant to Exemption 3 and 39 U.S.C. § 410(c)(2)); Braun v. United
States Postal Serv., 317 F. Supp. 3d 540, 548–49 (D.D.C. 2018) (allowing redactions of unique
identifiers assigned to authorized users of Postal Service information resources and a URL web
address to an internal USPS information resource under Exemption 3 and § 410(c)(2)).

        In each of these cases, information falls under the definition of “commercial” relied on by
the Ninth Circuit in Carlson because it relates directly to “commerce, trade, or profit.” By contrast,
the requested change of address information does not reveal anything about the business of USPS
– about its dealings with other corporations, details about its contracts and operations, payments it
remits to employees, performance metrics, or access to internal USPS resources. Nor has USPS
claimed that it does. Rather, USPS has deemed this information “commercial” only because it
intends to use it in a future tool – not because it reflects anything about the commercial or financial
workings of the agency.

        Additionally, in the cases that found that Exemption 3 and 39 U.S.C. § 410(c)(2) applied
to requested USPS records, courts relied on the fact that USPS or private firms would not typically
disclose the particular type of information at issue. See, e.g., Am. Postal Workers Union, AFL-
CIO, 742 F. Supp. 2d, at 82 (“private sector delivery firms would not disclose this information”);
Airline Pilots Ass’n, Int’l, 2004 WL 5050900, at *1 (“reasonable to credit the claim that any large
company would not publicly disclose the details of such an agreement”); Braun, 317 F. Supp. 3d
at 549 (finding that withheld information was the kind of information that USPS would not
“normally disclose”). But USPS cannot advance this argument, because it has previously disclosed
this kind of information to Requestors. See Attachments D and F. As such Exemption 3 and
Section 410(c)(2) cannot be used to withhold records responsive to this Request.

                                          CONCLUSION

       For the foregoing reasons, Bloomberg respectfully submits that USPS’ refusal to release
records responsive to the Request is contrary to the law and that USPS should be compelled to
produce the requested records promptly. Because of the importance of the information requested
and the urgency of Bloomberg receiving this information to avoid the compromise of a significant




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General Counsel, U.S. Postal Service
June 29, 2021
Page 6


and recognized public interest, we would appreciate your prompt consideration and look forward
to receiving your response in no later than 10 calendar days pursuant to 43 C.F.R. § 2.20(h).

        If you have any questions regarding the above, please call or email me. Thank you for
your attention to this matter.



                                                    Very truly yours,

                                                    Davis Wright Tremaine LLP

                                                    /s/ Jeremy Chase

                                                    Jeremy Chase




Encls.




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                       EXHIBIT H




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       LAW DEPARTMENT

 ~ UNITEDST/JTES
/fiijjj POSTl!.L SERVICE

       via email


       July 29, 2021

       Ms. Marie Patino
       mpatino@bloomberg.net

       Re: Freedom of Information Act Appeal No. 2021-APP-00141
       FOIA Case No. 2021-FPRO-01469

       Dear Ms. Patino:

       This is in response to your attorney’s email dated June 29, 2021, in which you appealed from the
       action of James D. Wilson, Director, Addressing and Geospatial Technology, on your request
       under the Freedom of Information Act (FOIA), 5 U.S.C. § 552, for records regarding the zip code
       of households that changed their address in December 2020. After carefully considering your
       appeal, we are affirming Mr. Wilson’s action on your request in full. A decision on this matter is
       attached to this letter.

       This is the final decision of the Postal Service regarding your right of access to records requested
       pursuant to the FOIA and the Privacy Act. You may seek judicial review of this decision by
       bringing suit for that purpose in the United States District Court for the district in which you reside
       or have a principal place of business, the district in which the records are located, or in the District
       of Columbia.

       The Office of Government Information Services (OGIS) offers mediation services to resolve
       disputes between FOIA requesters and federal agencies as a non-exclusive alternative to
       litigation. Using OGIS services does not affect the requester’s right to pursue litigation. The
       contact information for OGIS is as follows:

                                             Office of Government Information Services
                                            National Archives and Records Administration
                                                          8601 Adelphi Road
                                                              Room 2510
                                                   College Park, MD 20740-6001
                                                        Email: ogis@nara.gov
                                                      Telephone: 202-741-5770
                                                      Toll free: 1-877-684-6448
                                                      Facsimile: 202-741-5769


       For the General Counsel,

    ~ 7ft 7?-1~
       Lauren Marino
       Attorney
       Ethics & Legal Compliance

       Enclosure


       475 L’ENFANT PLAZA SW
       WASHINGTON, DC 20260


       https://about.usps.com/who/legal/foia/




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cc:

Mr. Jeremy Chase, Esq.
jeremychase@dwt.com

James D. Wilson
Tai Thompson
FOIAAppeal@usps.gov




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      ETHICS & LEGAL COMPLIANCE
      LAW DEPARTMENT

.!!J!!J UNITED ST/JTES
~ POST/JL SERVICE
                                               OFFICE OF THE GENERAL COUNSEL
                                               HEADQUARTERS, WASHINGTON, D.C.

      IN RE, APPEAL OF CASE NO.
      2021-FPRO-01469                                                                  APPEAL NO. 2021-APP-00141

                                                                                     ATTORNEY LAUREN MARINO
                                                             ON BEHALF OF GENERAL COUNSEL THOMAS J. MARSHALL



                                                     OPINION AND ORDER

      After careful consideration, this office is affirming, in full, the action of records custodian James D. Wilson,
      Director, Addressing and Geospatial Technology, on FOIA request 2021-FPRO-01469.

           I.          STATEMENT OF FACTS

                 1. On March 30, 2021, the requester submitted a FOIA request under the Freedom of
                    Information Act (FOIA), 5 U.S.C. § 552, for change of address records regarding the number
                    of households that changed their address, per zip code, for the month of December 2020.

                 2. By correspondence dated April 19, 2021, James D. Wilson, Director, Addressing and
                    Geospatial Technology, responded to the request. The responsive records were withheld, in
                    full, pursuant to Exemption 3 and 39 U.S.C. 410(c)(2), which permits the Postal Service to
                    withhold information of a commercial nature that would not be disclosed under good business
                    practice.

                 3. By email dated June 29, 2021, the requester appealed the action of Mr. Wilson. The
                    requester challenged the application of Exemption 3 and 39 U.S.C. 410(c)(2). The requester
                    further asserted that similar change of address data had been disclosed in the past.

           II.         APPLICABLE LAW

      Congress enacted the FOIA to “pierce the veil of administrative secrecy and to open agency action to the
      light of public scrutiny.” Dep’t of the Air Force v. Rose, 425 U.S. 352, 361 (1976) (quoting Rose v. Dep’t of
      the Air Force, 495 F.2d 261, 263 (2d Cir. 1974). Congress balanced this objective by recognizing that
      “legitimate governmental and private interests could be harmed by release of certain types of
      information.” Fed. Bureau of Investigation v. Abramson, 456 U.S. 615, 621 (1982). The FOIA “requires
      federal agencies to make Government records available to the public, subject to nine exemptions.” Milner
      v. Dep’t of the Navy, 562 U.S. 562, 564 (2011). In addition, other laws allow the Postal Service to withhold
      certain categories of records and information. See, e.g., 39 U.S.C. § 410(c).

      If information is “specifically exempted from disclosure by statute,” then it is also exempt from mandatory
      disclosure under the FOIA by incorporation. 5 U.S.C. § 552(b)(3) (“Exemption 3”). One statute that
      exempts information from disclosure is Section 410(c)(2) of the Postal Reorganization Act. 39 U.S.C. §
      410(c)(2) (“Section 410(c)(2)”); see also Wickwire Gavin v. U.S. Postal Serv., 356 F.3d 588, 592 n.6 (4th
      Cir. 2004); Carlson v. U.S. Postal Serv., No. 13-cv-06017-JSC, 2015 WL 9258072, at *4 (N.D. Cal. Dec.
      18, 2015); Airline Pilots Ass’n v. U.S. Postal Serv., No. 03-2384 (ESH), 2004 WL 5050900, at *5 (D.D.C.
      June 24, 2004). This statute operates independently of the FOIA to exempt certain information from
      mandatory disclosure.

      Section 410(c)(2) permits the Postal Service to withhold “information of a commercial nature, including
      trade secrets, whether or not obtained from a person outside the Postal Service, which under good
      475 L’ENFANT PLAZA SW
      WASHINGTON, DC 20260-4201


      https://about.usps.com/who/legal/foia/



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business practice would not be publicly disclosed.” 39 U.S.C. § 410(c)(2). “Information is of a commercial
nature if it relates to commerce, trade, profit, or the Postal Service's ability to conduct itself in a
businesslike manner.” 39 C.F.R. § 265.14(b)(3); see also Carlson v. U.S. Postal Serv., 504 F.3d 1123,
1128-29 (9th Cir. 2007)(applying the common meaning of the term “commercial” to include all information
that relates to commerce, trade, or profit). Section 410(c)(2) permits the withholding of a broader range of
commercial information than similar FOIA exemptions. See Carlson, 504 F.3d at 1129 (applying the
“common meaning” of the term “commercial”). This broader scope exists because the Postal Service is
commissioned to operate like a private corporation and, therefore, must follow sound business principles.
Id. at 1127-28.

In determining whether particular information is “commercial” in nature, the Postal Service considers six
factors relating to whether the information is more akin to its role as a business entity competing in the
market or its role as a provider of public services. See 39 C.F.R. § 265.14(b)(3)(i). No single factor is
determinative, but all are considered to determine the overall character of the information. 39 C.F.R. §
265.14(b)(3)(ii). In addition, the Postal Service has identified an extensive, though not exhaustive, list of
types of information that are considered commercial and, thus, exempt from disclosure under Section
410(c)(2). See 39 C.F.R. § 265.14(b)(3)(ii).

If the information is commercial in nature and would not be disclosed “under good business practice,”
then the FOIA does not require the Postal Service to disclose the information. Wickwire Gavin, 356 F.3d
at 594-95. No separate analysis is necessary to consider whether disclosure would cause competitive
harm or to balance the commercial interest with the public’s interest in knowing the information. See Id.;
Carlson, 2015 WL 9258072 at *8-10. “[T]he contours of the good business practice exemption [are] to be
gleaned by looking to the commercial world, management techniques, and business law, as well as to the
standards of practice adhered to by large corporations.” Wickwire Gavin, 356 F.3d at 592.

    III.     LEGAL ANALYSIS

In order for the Postal Service to properly withhold the requested information under Exemption 3 and
Section 410(c)(2), it must be (1) commercial in nature and (2) information that would not be publicly
disclosed under good business practice. 39 U.S.C. § 410(c)(2).

Here, the requester sought records regarding the number of households that changed their address from
several ZIP codes to all other ZIP codes in the U.S. in December 2020. It appears to be a follow up of an
earlier request for similar information. We have determined that this data was properly categorized as
being commercial in nature. One of the six (6) factors considered by the Postal Service when determining
whether information is commercial in nature is whether “the information would be of potential benefit to
individuals or entities in economic competition with the Postal Service, its customers, suppliers, affiliates,
or business partners or could be used to cause harm to a commercial interest of the Postal Service, its
customers, suppliers, affiliates, or business partners.” 39 C.F.R. § 265.14(b)(3)(i)(C). The information
sought is currently being used in the development of a future commercial product. Disclosing this
information would benefit our competitors by providing them with specific details regarding the
components of the Postal Service’s new commercial product. Thus, the requested information is
commercial in nature and satisfies the first prong of Section 410(c)(2)’s test.

We also find that the requested information would not be publicly released as part of good business
practice. Because this information is currently being used to develop a commercial product, release of
these records could compromise the product’s development process. Private businesses do not disclose
the specific details of their commercial business initiatives or products as they are being developed. Since
the information would not be disclosed under good business practice, we are not required to assess the
public’s interest in the information or whether disclosure would cause competitive harm. Wickwire Gavin,
356 F.3d at 594-95. Accordingly, because the records satisfy both prongs of Section 410(c)(2)’s test, the
records were properly withheld from disclosure under Exemption 3 of the FOIA and Section 410(c)(2).




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   IV.     CONCLUSION

For the reasons stated above, we conclude that the withheld records contain commercial information
which would not be disclosed under good business practice pursuant to Exemption 3 and Section
410(c)(2). Therefore, the action of James Wilson is affirmed in full.

For the General Counsel,



Lauren Marino
Attorney
Ethics and Legal Compliance




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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


 BLOOMBERG L.P.

 and

 DOW JONES & COMPANY, INC.,

                  Plaintiffs,                        Civil Action No. 22-cv-6112 (DLC)
         v.

 UNITED STATES
 POSTAL SERVICE,

                  Defendant.


                            DECLARATION OF KATIE TOWNSEND

I, Katie Townsend, declare as follows:

        1.       I am the Deputy Executive Director and Legal Director at the Reporters Committee

for Freedom of the Press (the “Reporters Committee”), an unincorporated nonprofit association

located in Washington, D.C. I have been the Reporters Committee’s Legal Director since May

2018.   Prior to becoming the Reporters Committee’s Legal Director, I was the Reporters

Committee’s Litigation Director; I held that position from September 2014 to May 2018. I am a

member in good standing of the bar of New York and am admitted to practice before this Court. I

am one of the attorneys representing Plaintiffs Bloomberg, L.P. and Dow Jones & Company, Inc.

in the above-captioned action, and I make this declaration in support of Plaintiffs’ Cross-Motion

for Summary Judgment and in Opposition to Defendant’s Motion for Summary Judgment. I have

personal knowledge of the matters stated in this declaration.

        2.       Attached hereto as Exhibit A is a true and correct copy of a publicly available

report found at the following link: Workforce Report December 2022, New York City, LinkedIn


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(Dec. 1, 2022), https://www.linkedin.com/jobs/blog/linkedin-workforce-report-december-2022-

new-york-ny?src=or-search&veh=www.google.com%7Cor-search.

       3.       Attached hereto as Exhibit B is a true and correct copy of a publicly available report

found at the following link: 2021 Allied x Zillow Magnet States Report, Allied (last accessed Dec.

14, 2022), https://perma.cc/3KW5-PUVV.

       4.       Attached hereto as Exhibit C is a true and correct copy of the following publicly

available webpage: Jeff Tucker, U.S. Movers Continued to seek Affordability in 2021, but in

Different    Areas,    Zillow   (Dec.   20,    2021),    https://www.zillow.com/research/moving-to-

affordability-2021-30470/.

       5.       Attached hereto as Exhibit D is a true and correct copy of the following publicly

available report: Where did Americans Move in 2022?, NorthAmerican Moving Services (last

accessed Jan. 20, 2023), https://www.northamerican.com/migration-map.

       6.       Attached hereto as Exhibit E is a true and correct copy of the following publicly

available webpage: Dana Anderson, Homebuyers Are Looking to Relocate to Affordable Areas–

Especially     in     Florida–Amid      High    Rates,     Prices,   Redfin   (Nov.     29,    2022),

https://www.redfin.com/news/housing-migration-trends-october-2022/.

        7.      Attached hereto as Exhibit F is a true and correct copy of the following publicly

available article: Giovanni Bonaccorsi et al., Socioeconomic differences and persistent

segregation of Italian territories during COVID-19 pandemic, Scientific Reports (Oct. 27, 2021),

https://www.nature.com/articles/s41598-021-99548-7.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 20, 2023, in Washington, D.C.




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                                         Respectfully submitted,

                                         /s/ Katie Townsend
                                         Katie Townsend




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      EXHIBIT A




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Workforce Report
December 2022
New York City



                 Jobs




                Linked In Workforce Report I New York City I
                December 2022
                December 1, 2022




                With over 191 million Linkedin members in the United States, we have unique
                insight into the real-time dynamics of Americans starting new jobs and moving to
                new cities. This month's Linkedin Workforce Report looks at our latest national
                data on hiring and migration trends through November 2022.

                For more insight into localized employment trends in 20 of the largest U.S. metro
                areas, check out this month's reports for: Atlanta, Austin, Boston, Chicago,
                Cleveland-Akron, Dallas-Ft. Worth, Denver, Detroit, Houston, Los
                Angeles, Miami-Ft. Lauderdale, Minneapolis-St. Paul, Nashville, New
                York City, Philadelphia, Phoenix, San Francisco Bay Area, Seattle, St.
                Louis, and Washington, D.C.

                Our vision is to create economic opportunity for every member of the global
                workforce. Whether you're a worker, an employer, a new grad, or a policymaker,
                we hope you71 use these insights to better understand and navigate the dynamics
                of today's economy.


                Hiring
                Hiring was 1.5% lower in November 2022 compared to last month October 2022
                and was 23.9% lower in November 2022 compared to last year November 2021. If
                you're interested in exploring new opportunities in New York City, check
                out Linkedln Jobs to see what's out there!


                                                                               New YorkCity
                                                       December 2022: Seasorally•AdjustedHiring on Linkedln
                                                                      -        Current Year -              Previous Year

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                           New York City gained the most workers in the last 12 months from Los Angeles,
                           CA; Washington, D.C.; and Dallas-Fort Worth, TX. So for every 10,000
                           Linkedln members in New York City, 2.19 workers moved to the city in the last year
                           from Los Angeles, CA


                                                                                                          New York City
                                                                                      December2022: PopulationGoin per 10,000 Members

                                           LosAngeles.CA


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                                   Dellos-FortWorth,TX


                                              Portland.OR


                                               Boston.MA


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                                                Detroit.Ml


                                   Syracuse-Auburn,
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                           Miami-Ft. Lauderdale, FL; Austin, TX; and Tampa Bay, FL gained the most
                           workers from New York City in the last 12 months. So for every 10,000 Linkedln
                           members in New York City, 3.36 workers moved to Miami-Ft. Lauderdale, FL in
                           the last year.


                                                                                                            New York City
                                                                                        December2022: PopulationLossper 10,000 Members

                                   Miami-FortLauderdale,Fl                                                                                                                          3.


                                                     Austin,TX                                                      11


                                                Tompo Boy,Fl


                                                   Orlando.FL


                                                 Charlotte.NC


                                                   Denver.CO


                                               Jacksonville,Fl


                                               Cope Carol. FL


                            Raleigh-Durham-ChapelHnl,NC


                                      NorthPort-Sorosoto.
                                                        Fl

                                                                                                          1                                         2                        3
                                                                                         Net Migration Rate per 10,000 Members




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      EXHIBIT B




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                                                                                       Get a
                                                          (800) 689-8684               Quote                             Menu




  The 2021 Allied x Zillow Magnet States Report
  The Allied x Zillow 2021 Magnet States Report shows that consumers continue to flock to Florida, while people moving
  for work are going to Texas. The Magnet States Report analyzes moves by thousands of Allied customers and Zillow
  Home Value Index data from January 1, 2021 – December 15, 2021. Historical trends date back to January 1, 2016.



National Movers Study
                                      L...I
                                          2021            Choose A State




    High Inbound      Balanced   High Outbound




                                                     EMBED THIS MAP




              Top Inbound States in                                                 Top Outbound States
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                                    2021                                                                    in 2021
                     South Carolina                 66%                                              Illinois                  68%

                        Tennessee                   65%                                            California                   66%

                     North Carolina                 62%                                           New Jersey                   63%

                          Florida                   59%                                            Michigan                    60%

                         Arizona                    57%                                          Pennsylvania                  58%

                           Texas                    54%                                            Maryland                    58%




Key Takeaways from the 2021 Allied x Zillow Magnet States
Report
Moving Trends

For the last 5 years Texas, North Carolina, South Carolina, Florida and Arizona has been in the top 10 inbound states while California,

Illinois, Michigan, and Pennsylvania have been in the top 10 outbound states. See where Californians are moving to.

The Phoenix metro area topped the rankings for the most net inbound moves in 2021, pulling in movers especially from Chicago, Seattle

and Portland, OR.

Chicago tops the list of metro areas that originated the most net outbound moves, sending the most movers south and west to

Phoenix, Los Angeles and Houston.

The top destination cities for people who moved for work in 2021 were Houston, Dallas and Chicago.

The top cities that people moved to for reasons other than work in 2021 were Phoenix, Dallas and Washington, DC.

The most popular day to move was Friday, and the most popular season was summer (June and July).




                    Top Inbound Cities in                                                    Top Outbound Cities
                            2021                                                                   in 2021

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                                   Phoenix, AZ                                                               Chicago, IL

                                   Houston, TX                                                            Washington, DC

                                     Dallas, TX                                                             Houston, TX

                                   Denver, CO                                                                Seattle, WA

                                 Washington, DC                                                            Los Angeles, CA




                                                                                                                              Quote
                                                                                                                              Get a
Housing Trends

The average long distance mover in 2021 moved to a ZIP code where homes were about $35,800 cheaper than where they came from,

amplifying a trend that first broke out in 2020, when movers began migrating from pricier to much more affordable locales.

The comparable average ZIP-level price decline in 2020 was about $29,500. Before the pandemic, people tended to move to ZIP codes

with very similar average prices: the average ZIP-level price change was only a decrease of less than $7,500 in each year from 2016 to

2019.

The larger affordability gradient this year was driven by a remarkable rise in the average home value of people’s origin ZIP codes: it rose

by 14.0%, to reach $480,736. But, reflecting the year’s hot housing market, the average value of homes in ZIP codes where interstate

movers ended up in 2021 also rose substantially; by 13.5%, to $444,932.

The top destinations for net inbound moves in 2021 are mid-priced growing Sunbelt metro areas, while the top origins for net outbound

moves are in places that are colder, pricier, or both.

Some of 2020’s top destinations have lost their affordability edge, and now they’re attracting fewer movers.

This year, people moving into the Phoenix metro area are moving from ZIP codes with an average home value of $528,712, and moving

into ones in the Phoenix area where homes are worth roughly the same: $526,993, on average, or only about $1,700 less. In the

comparable data for 2020, people moving to Phoenix saw ZIP-level price savings averaging over $48,000.

The diminished home price savings for people moving to Phoenix in 2021 reflects the likely effects of 2020’s demand surge, which drove

up the cost of homes in those metro areas faster than in any other major metropolitan area, thereby potentially shrinking the pool of

movers in 2021.




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      EXHIBIT C




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*(+
--      -0,1$        -/,))       63C,!;3#1'
                                 --               87,1$!j1J,-       a Zillow®- --                   h#1#7,!0,1$#)'      8JI,-$&',        6,)H   /&71!&1


!"##$%&'()(*+,-             ! "#$#   ! %&'(#)'   ! *(+,-'./,)),-'   ! 0,1$,-'   ! 23)&4+.23)&$&4'     ! 5#&-!63('&17   ! 2-,',1$#$&31'     !          Q
                        !


85590"8*:;:<=>!*?=:@A./B;;:@A
                                                                                                                 !"#$%"&'()*%*

U.S. Movers Continued to Seek                                                                                    ?HJ#$,'!$3!431D3-C&17!)3#1!)&C&$'

Affordability in 2021, but in Different                                                                          C,#1!E!C&))&31!?Q/Q!K3C,'!13
                                                                                                                 )317,-!-,M(&-,!#!e(CP3!)3#1

Areas                                                                                                            *#K>!6(CP(7f!63)&J#+!/$-,,$'
                                                                                                                 6#I,!;3W,-!V,'$&C#$,'
/3C,!3D!EFEFG'!C3'$!H3H()#-!C3I,-!J,'$&1#$&31'!K#I,
                                                                                                                 @3I,CP,-!EFEE!BL&'$&17!63C,
73$$,1!'3!,LH,1'&I,>!'3!M(&4N)+!$K#$!$K,+!#-,!)3'&17!'3C,                                                        /#),'g!/#),'!2)(CC,$!&1!/$#),
3D!$K,&-!#HH,#)!#'!#O3-J#P),!3H$&31'Q                                                                            h#-N,$

                                                                                                                 2-#&-&,!%&))#7,>!i/!W#'!V&))3WG'
                                                                                                                 h3'$!23H()#-!T&$+!&1!EFEE

                                                                                                                 V&))3W!63C,!%#)(,!#1J!/#),'
                                                                                                                 53-,4#'$g!",4,CP,-!EFEE

                                                                                                                 h3-,!#-$&4),'




n-     !R,O!<(4N,-      S!"BT!EF!EFEU
                                                                    /K#-,




   • <K,!#I,-#7,!&1$,-'$#$,!C3I,-!&1!EFEU!C3I,J!$3!#!V:2!43J,!WK,-,!K3C,'!W,-,
       #P3($!XYZ>[FF!4K,#H,-!$K#1!WK,-,!$K,+!4#C,!D-3C>!(H!D-3C!$K,!EFEF
       43CH#-#P),!#I,-#7,!V:2\),I,)!H-&4,!J,4)&1,!3D!#P3($!XE]>ZFFQ
   •   <K,!#I,-#7,!K3C,!I#)(,!&1!C3I,-'G!3-&7&1!V:2!43J,'!-3',!P+!U^_>!$3!X^[F>`YaQ
       <K,!#I,-#7,!I#)(,!3D!K3C,'!&1!V:2!43J,'!WK,-,!&1$,-'$#$,!C3I,-'!,1J,J!(H!&1
       EFEU!-3',!P+!UYQZ_>!$3!X^^^>]YEQb
   •   2,3H),!C3I&17!&1$3!$K,!8('$&1!C,$-3!c!EFEFG'!D3(-$K!C3'$\H3H()#-!C3I&17
       J,'$&1#$&31!c!C3I,J!$3!V:2!43J,'!W&$K!#1!#I,-#7,!K3C,!I#)(,!$K#$!W#'!XEZ>FFF
       ),''!$K#1!WK,-,!$K,+!C3I,J!D-3Cd!&1!EFEF>!$K,!43CH#-#P),!#I,-#7,!V:2!),I,)
       '#I&17'!D3-!'&C&)#-!C3I,'!W#'!C3-,!$K#1!XU^F>FFFQ



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:1!EFEU>!8C,-&4#1'!&1$,1'&j,J!#!$-,1J!P,7(1!&1!EFEF!3D!C3I&17!$3!C3-,!#O3-J#P),
#-,#'>!#'!-#H&J)+!-&'&17!K3C,!I#)(,'!#1J!C3-,!-,C3$,\W3-N&17!e3P'!431$&1(,!$3!H('K
H,3H),!$3!',,N!3($!)34#),'!WK,-,!$K,&-!K3C,\P(+&17!J3))#-!73,'!D#-$K,-Q!*($!'3C,!3D
EFEFG'!C3'$!H3H()#-!J,'$&1#$&31'>!&14)(J&17!2K3,1&L!#1J!8('$&1>!K#I,!73$$,1!'3
,LH,1'&I,>!'3!M(&4N)+!$K#$!$K,+!#-,!)3'&17!'3C,!3D!$K,&-!#HH,#)!#'!#O3-J#P),!3H$&31'Q

<K,!#I,-#7,!&1$,-'$#$,!C3I,-!&1!EFEU!C3I,J!$3!#!V:2!43J,!WK,-,!K3C,'!W,-,!#P3($
XYZ>[FF!4K,#H,-!$K#1!WK,-,!$K,+!4#C,!D-3C>!(H!D-3C!$K,!EFEF!43CH#-#P),!#I,-#7,
V:2\),I,)!H-&4,!J,4)&1,!3D!#P3($!XE]>ZFF>!#443-J&17!$3!#!V&))3W!#1#)+'&'!3D!)34#)!K3C,
I#)(,!J#$#!#1J!C3I,-!J#$#!D-3C!8))&,J!%#1!;&1,'Q!*,D3-,!$K,!H#1J,C&4>!H,3H),!$,1J,J
$3!C3I,!$3!V:2!43J,'!W&$K!I,-+!'&C&)#-!#I,-#7,!H-&4,'g!$K,!#I,-#7,!V:2\),I,)!H-&4,
4K#17,!W#'!#!J,4-,#',!3D!),''!$K#1!X`>ZFF!&1!,#4K!+,#-!D-3C!EFUa!$3!EFU]Q

<K,!)#-7,-!#O3-J#P&)&$+!7-#J&,1$!$K&'!+,#-!W#'!J-&I,1!P+!#!-,C#-N#P),!-&',!&1!$K,
#I,-#7,!K3C,!I#)(,!3D!H,3H),G'!3-&7&1!V:2!43J,'g!&$!-3',!P+!U^_>!$3!-,#4K!X^[F>`YaQ
*($>!-,k,4$&17!$K,!+,#-G'!K3$!K3('&17!C#-N,$>!$K,!#I,-#7,!I#)(,!3D!K3C,'!&1!V:2!43J,'
WK,-,!&1$,-'$#$,!C3I,-'!,1J,J!(H!&1!EFEU!#)'3!-3',!'(P'$#1$&#))+d!P+!UYQZ_>!$3
X^^^>]YEQ


 !"#$     %&"$#'"()$*'*+(,-.       %&"$#'"(3"45*+#5*)+              %&"$#'"(,-.61"&"1
                /)0"(&#12"             ,-.(/)0"(&#12"             /)0"(&#12"(7/#+'"


 EFUa               XY^^>YF]                    XY^E>a`Z                      \XU>aY^


 EFU`               XYa]>Z^]                    XYaE>UU`                      \X`>^YE


 EFU[               XY]U>YE`                    XY]F>[E]                           \X^][


 EFU]               X^FF>YFZ                    XY]^>U``                      \Xa>UE]


 EFEF               X^EU>a^U                    XY]E>UUE                     \XE]>ZYF


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<K,!$3H!J,'$&1#$&31'!D3-!1,$!&1P3(1J!C3I,'!&1!EFEU!W,-,!C&J\H-&4,J!7-3W&17!/(1P,)$
C,$-3!#-,#'>!WK&),!$K,!$3H!3-&7&1'!D3-!1,$!3($P3(1J!C3I,'!W,-,!&1!H)#4,'!$K#$!#-,
7,1,-#))+!43)J,->!H-&4&,->!3-!P3$KQ!<K,!"#))#'\53-$!l3-$K!C,$-3!#-,#!$3HH,J!$K,
-#1N&17'!D3-!$K,!C3'$!1,$!&1P3(1J!C3I,'!&1!EFEU>!H())&17!&1!C3I,-'!,'H,4&#))+!D-3C
H-&4,+!;3'!817,),'!#1J!4K&))+!TK&4#73>!#'!W,))!#'!D#'$\7-3W&17!2K3,1&LQ

8$*'*+4(9)$(:"):1"(0)&*+'(5)(5/"(5):(3"45*+#5*)+(0"5$)(#$"#4;


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 @#'KI&)),>!<@             TK&4#73>!:;          ;3'!817,),'>!T8      @,W!=3-N>!@=


 <#CH#>!5;                 @,W!=3-N>!@=         TK&4#73>!:;          8$)#1$#>!A8



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TK&4#73!$3H'!$K,!)&'$!3D!C,$-3!#-,#'!$K#$!3-&7&1#$,J!$K,!C3'$!1,$!3($P3(1J!C3I,'>
',1J&17!$K,!C3'$!C3I,-'!'3($K!#1J!W,'$!$3!2K3,1&L>!"#))#'\53-$!l3-$K!#1J!;3'
817,),'Q

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    8$*'*+(="5$)      >                       ?                       @


    TK&4#73>!:;       2K3,1&L>!8V             "#))#'\53-$!l3-$K>!<m   ;3'!817,),'>!T8


    ;3'!817,),'>!T8   "#))#'\53-$!l3-$K>!<m   2K3,1&L>!8V             /,#$$),>!l8


    @,W!=3-N>!@=      h&#C&>!5;               ;3'!817,),'>!T8         <#CH#>!5;


    /#1!"&,73>!T8     "#))#'\53-$!l3-$K>!<m   2K3,1&L>!8V             63('$31>!<m


    ",$-3&$>!h:       ;3'!817,),'>!T8         <#CH#>!5;               TK&4#73>!:;



!"#$%&'(%')*&+
/3C,!3D!EFEFG'!$3H!J,'$&1#$&31'!K#I,!)3'$!$K,&-!#O3-J#P&)&$+!,J7,>!#1J!13W!$K,+G-,
#$$-#4$&17!D,W,-!C3I,-'Q!:1!EFEF>!2K3,1&L!K#J!$K,!C3'$!1,$!&1P3(1J!C3I,'!#C317!#))
C,$-3!#-,#'!#1#)+n,J>!WK&),!8('$&1!K#J!$K,!D3(-$K\C3'$Q!*($!&1!EFEU>!2K3,1&L!#1J
8('$&1!')&J!$3!$K,!,&7K$!#1J!$,1!'H3$'!31!$K,!)&'$!3D!K&7K,'$!1,$!J,'$&1#$&31'>
-,'H,4$&I,)+Q!<K#$!C&7K$!P,!J(,!$3!$K,!J,4)&1&17!1(CP,-!3D!C3I,-'!,LH,-&,14&17!)#-7,
H-&4,!'#I&17'>!#$!$K,!)34#)!),I,)>!WK,1!C3I&17!$K,-,!$K&'!+,#-Qb

/3!D#-!&1!EFEU>!H,3H),!C3I&17!&1$3!$K,!8('$&1!C,$-3!#-,#!#-,!C3I&17!D-3C!V:2!43J,'
W&$K!#1!#I,-#7,!K3C,!I#)(,!3D!XaYE>``]>!#1J!C3I&17!&1$3!31,'!&1!$K,!8('$&1!#-,#
WK,-,!K3C,'!#-,!W3-$K!#1!#I,-#7,!3D!XaF[>UaY>!),''!$K#1!XEZ>FFF!&1!H3$,1$&#)!H-&4,
'#I&17'Q!:1!$K,!43CH#-#P),!J#$#!43I,-&17!$K,!'#C,!$&C,!D-#C,!&1!EFEF>!H,3H),!C3I&17
$3!8('$&1!-,#)&n,J!V:2\),I,)!H-&4,!'#I&17'!#I,-#7&17!C3-,!$K#1!XU^F>FFFQb

<K&'!+,#->!H,3H),!C3I&17!&1$3!$K,!2K3,1&L!C,$-3!#-,#!#-,!C3I&17!D-3C!V:2!43J,'!W&$K
#1!#I,-#7,!K3C,!I#)(,!3D!XZE[>`UE>!#1J!C3I&17!&1$3!31,'!&1!$K,!2K3,1&L!#-,#!WK,-,
K3C,'!#-,!W3-$K!-3(7K)+!$K,!'#C,g!XZEa>]]Y>!31!#I,-#7,>!3-!31)+!#P3($!XU>`FF!),''Q!:1
$K,!43CH#-#P),!J#$#!D3-!EFEF>!H,3H),!C3I&17!$3!2K3,1&L!-,#)&n,J!V:2\),I,)!H-&4,
'#I&17'!#I,-#7&17!3I,-!X^[>FFFQoUp

<K,!J&C&1&'K,J!K3C,!H-&4,!'#I&17'!D3-!H,3H),!C3I&17!$3!8('$&1!#1J!2K3,1&L!&1!EFEU
-,k,4$'!$K,!)&N,)+!,O,4$'!3D!EFEFG'!J,C#1J!'(-7,>!WK&4K!J-3I,!(H!$K,!43'$!3D!K3C,'!&1
$K3',!C,$-3!#-,#'!D#'$,-!$K#1!C#1+!3$K,-!C#e3-!C,$-3H3)&$#1!#-,#'>!H3$,1$&#))+
'K-&1N&17!$K,!H33)!3D!C3I,-'!&1!EFEUQb

b

b


!"#$%&%'%()
"#$#!W#'!H-3I&J,J!D3-!#))!&1$,-'$#$,!C3I,'!$K#$!W,-,!)3#J,J!D-3C!R#1(#-+!U>!EFUa!$3
@3I,CP,-!U^>!EFEUQ!<3!C#&1$#&1!43CH#-#P&)&$+!W&$K!$K,!$&C,!D-#C,!43I,-,J!&1!EFEU>
31)+!C3I,'!)3#J,J!P+!@3I,CP,-!U^!3D!,#4K!+,#-!W,-,!&14)(J,JQ!63C,!I#)(,'!W,-,




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43CH($,J!('&17!$K,!V&))3W!63C,!%#)(,!:1J,L!D3-!$K,!V:2!43J,'!3D!3-&7&1!#1J
J,'$&1#$&31!&1!$K,!)3#J&17!C31$K!D3-!,#4K!C3I,Q

b

oUp@3$,!$K#$!$K,!J,'$&1#$&31!V:2!43J,\),I,)!K3C,!I#)(,'!#P3I,!W,-,!K&7K,-!$K#1
8('$&1G'!#1J!2K3,1&LG'!3I,-#))!$+H&4#)!K3C,!I#)(,'>!)&N,)+!-,k,4$&17!$K,!7,1,-#))+!K&7K,-
3I,-#))!H-&4,!-#17,!'3(7K$!P+!$K,!H#-$&4()#-!(',-'!&1!$K&'!J#$#!'3(-4,Q




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    !"#$%&'(%)                                    ;$6<(=8.:80>                                   D)@&.:&-(2E22
    *)+,)-./+0(1)$+                               =)1/#$?(5%-&&%'                                FG/'%/+0(=).&(5$1&'H
    1/./%'(.&$+(23                                =$@&(A)B&-3                                    5$1&'(I18..&%(/+3
    ./11/)+(!454(6).&'                            C&'%/.$%&'                                     5%$1&(J$-K&%
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    98.:)(1)$+

!"#$%&"'                                                                &"(")$



?HJ#$,'!$3!431D3-C&17!)3#1!)&C&$'!C,#1!E!C&))&31!?Q/Q!K3C,'!13          V&))3W!63C,!%#)(,!#1J!/#),'!53-,4#'$g!",4,CP,-!EFEE
)317,-!-,M(&-,!#!e(CP3!)3#1
    --------------
                                                                        @3I,CP,-!63('&17!/$#-$'g!63C,P(&)J&17!T31$&1(,'!$3!/)3W
*#K>!6(CP(7f!63)&J#+!/$-,,$'!6#I,!;3W,-!V,'$&C#$,'
                                                                        63C,!2-&4,!",4)&1,'!0,'(C,J!&1!@3I,CP,-!8'!*(+,-'!8W#&$
h3-$7#7,!0#$,'!:14-,#',!/,$!BLH,4$#$&31'!53-!@,W!=,#-                   *,$$,-!",#)'!q@3I,CP,-!EFEE!h#-N,$!0,H3-$r

@3I,CP,-!EFEE!BL&'$&17!63C,!/#),'g!/#),'!2)(CC,$!&1!/$#),               0,1$'!/)&J,!P+!;#-7,'$!8C3(1$!&1!#$!;,#'$!`!=,#-'!q@3I,CP,-
h#-N,$                                                                  EFEE!0,1$#)!0,H3-$r

2-#&-&,!%&))#7,>!i/!W#'!V&))3WG'!h3'$!23H()#-!T&$+!&1!EFEE              UF!*,'$!h,$-3'!53-!5&-'$!<&C,!63C,!*(+,-'!&1!EFEY




                                                                   !"#$%&$'




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      EXHIBIT D




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MENU   ( ....-.
          ~
                  northAmerican.
                   MOVING SERVICES                                                                           (800) 228-3092                           GET
                                                                                                                                                     QUOTE

                                         Where did Americans Move in
                                         2022?
                                         In 2022, Americans were on the move, but where to? Most found themselves
                                         leaving high cost of living areas in favor of warmer climates and more reasonable
                                         housing conditions.

                                         The chosen states for inbound moving migration predominantly reside in the south.
                                         Whether it’s a coincidence or not, many of these states were among the ﬁrst to
                                         lessen Covid-19 regulations. While it’s a possibility that the surge in remote work
                                         leads people to areas with less restriction in the short term, it could also be that




                                                                                        -
                                         these locations o er a smaller tax burden in the long term as well.


       National
       NationalMovers
                MoversStudy
                      Study                                                                2022                                 Choose
                                                                                                                                Choose A
                                                                                                                                       A State
                                                                                                                                         State   ~




            •     High
                  High Inbound
                       Inbound       •       High
                                             High Outbound
                                                  Outbound




                       Top
                       Top Inbound
                           Inbound States
                                   States in
                                          in 2022
                                             2022                                                   Top
                                                                                                    Top Outbound
                                                                                                        Outbound States
                                                                                                                 States in
                                                                                                                        in 2022
                                                                                                                           2022

                                     State
                                     State                             2022
                                                                       2022                                     State
                                                                                                                State                  2022
                                                                                                                                       2022



                              South Carolina                           68%                                     Illinois                65%


                              North Carolina                           64%                                   California                63%


                                 Tennessee                             64%                                  New Jersey                 62%


                                  Arizona                              57%                                  Pennsylvania               60%




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       Florida                           55%                                     Michigan          59%




          Takeaways From the 2022 Moving
          Migration Report
          While some of the ﬁndings of the 2022 Moving Migration Report were expected, a
          number of others were surprising. Here are some of the top takeaways from the
          report:

             Move volume, or the number of individuals that moved in 2022 was down
             compared to previous years.
             Southern states remained primary draws for those moving, with top
             destinations South Carolina, North Carolina, Tennessee, Arizona, and Florida.
             For the fourth year in a row, Illinois has the largest percentage of individuals
             moving out of the state.
             Tennessee, North Carolina, and South Carolina have consistently been on the list
             of top inbound states since 2020.
             Many of the moves revolve around the ﬂexibility of remote work and those
             choosing to take the route of early retirement.


          Illinois is Top Outbound State for 9
          Years in a Row
          Since 2014, Illinois has been the top state for outbound moves, according to the
          Moving Migration Report.

          Other leading outbound states include New Jersey and Pennsylvania, both of which
          have remained on the list for more than a decade.

          Neighbor released information stating that 78% of Americans are reducing their
          spending this holiday season. With the surge in inﬂation and the competitive
          housing market that is currently in play, many are cutting back on expenses to
          make ends meet. One of the biggest expenses Americans face are income and
          property taxes. Reducing those can have a signiﬁcant impact on a family’s budget.

          California and New York sit towards the top of the highest cost of living lists in the
          United States. To ﬁnd a ordable housing and provide a higher quality of life for
          their families, people are branching out of expensive states and cities or urban
          areas.

          While houses still sell for top dollar in many areas, the competition has lessened

          What’s more, many who are listing homes in top metro locations are ﬁnding that
          there are fewer showings than in previous years. The increase in cost is pushing
          prospective buyers into rural areas for homeownership. With a ordability and
          quality of life top of mind, buyers are more likely to forgo convenience for lower
          taxes and home prices.


          Quality of Life Is the Top Concern
          for Movers in 2022
          After experiencing several years of uncertainty, many are on the hunt for
          somewhere to settle that provides a higher quality of life than they previously had.
          For many, that means ﬁnding a home that is nestled in nature and allows for ample
          outdoor experiences. Others are relocating to be near family.

          One of the driving forces behind this trend is the continuance of remote work. After
          numerous companies implemented this structure during the pandemic, workers
          realized they could successfully fulﬁll their work obligations away from the o ce.
          Given that, they are choosing to reside in locations where they can get more bang
          for their buck. Helping to continue the work from home trend is the fact that many
          companies downsized their corporate o ce space during the pandemic, resulting in



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        less o ce space for their employees to work from. Whether or not the work from
        home trend will be one the majority of companies ascribe to long term remains to
        be seen.


        Highest Income Tax States in 2022
        Having your residence in certain states requires you to pay a higher income tax
        than what you are liable for in others. Something the two top outbound states have
        in common is that they have some of the highest tax rates in the country.

        Those in California and New Jersey have long dealt with tax rates that are in the
        highest percentage in the United States. These levels take away from a person’s
        overall income and leave fewer funds for discretionary spending and investments.
        Owning property, along with property taxes, is part of this equation as well and
        another top reason for people moving to lower tax liability states.


        Top Cities in 2022
        Among the top inbound states in the Moving Migration Report, some cities saw a
        higher inﬂux of new residents than others. The top cities in 2022 include:

         ..     Raleigh, North Carolina

          ..    Charleston, South Carolina
                Tampa, Florida

           ..   Jacksonville, Florida
                Tucson, Arizona
                Nashville, Tennessee


        There are more cities that were high on the list outside of the top states, including
        some in Minnesota, Ohio, and Texas. Among the similarities between them, the low
        cost of living and reasonable housing prices is at the top. In addition, all o er
        access to year-round outdoor recreational opportunities and activities, or in other
        words an enhanced quality of life.


        The Methodology
        In the process of bringing this information to light, we compile data from many
        di erent angles. We look at population reports and speak to the top companies in
        the moving industry to get insider knowledge. Additionally, we look at the cities that
        have seen the most considerable growth and studies and statistics surrounding the
        topic.


        We take this information and then set out to investigate the underlying causes.
        Many surveys are done on various demographics to understand the nature of
        someone’s long distance move and what led to the decision. Getting this
        information from our own customers and others in the industry gives us a ﬁrst-
        person look into the situation.


        Summary of Findings
        Throughout the 2022 Moving Migration Report, you will see that the increasing cost
        of living is a consistent reason that people provide for their move. Many people are
        actively seeking a ordable housing which they can’t ﬁnd while living in their current
        residence.

        Additional driving factors for moving to another state include the desire to have a
        higher quality of life with access to nature and family. With the expanded
        opportunities for remote work, many are exploring lower-cost living options
        because they are no longer bound to one location.

        The 2022 Moving Migration Report brings you the latest ﬁndings and the data that
        support the information. Where will 2023 take you? Will Illinois or Pennsylvania
        drop o the list for the ﬁrst time in over a decade? Only time will tell, so check back
        in 2023 to ﬁnd out!




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                Housing Market                    Migration                Equality & Policy    Regional Trends   Data Center       From Our CEO
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                                                                                                                                    Compare rates

                                                                                                                                    Payment calculator


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Rates, Prices
Published on November 29, 2022 by Dana Anderson
                                                                                                                                               You Might Also Like

  !           "           #          $
                                                                                                                                                           Housing Market
                                                                                                                                                           Update: Homes
The share of RedFn.com users looking to move to a different metro area is near its                                                                         Linger on the
record high as high rates and prices up the appeal of affordable places. Coastal Florida                                                                   Market as
is especially popular, even after getting pummeled by Hurricane Ian.                                                                                       Buyers Take
                                                                                                                                                           Their Time
Nearly one-quarter (24.1%) of U.S. homebuyers looked to move to a different metro
area in the three months ending in October, on par with the record high of 24.2% set in
the third quarter. That’s up from roughly 18% in 2019, before the pandemic ushered in                                                                      Housing Market
the remote-work era that gave many Americans more Xexibility to relocate.                                                                                  Update: Typical
                                                                                                                                                           Monthly
l In 4 Redfln.com Users Looked to Relocate In October, Near All- Time High                                                                                 Payment Is
,...
Percent of Redffn.com users searching for homes outside their home metro
                                                                                                                                                           Nearly $300
                                                                                                                     Oct2022:
                                                                                                                      24.1%
                                                                                                                                                           Less Than
                                                                                                                                                           October Peak,
""                                                                                                                                                         Bringing Some
                                                                Oct2019:                                                                                   Homebuyers
""'                                                               Ul.3%

                                                                                                                                                           Back


                                                                                                                                                           Share of Homes
                                                                                                                                                           Bought With All
                                                                                                                                                           Cash Hits
                                                                                                                                                           Highest Level
                                                                                                                                                           Since 2014


                                                                                                                                                           Homebuyers
The U.S. housing market has cooled signiFcantly during the second half of 2022 as
                                                                                                                                                           Are Flocking to
high mortgage rates, inXation and a stumbling economy deter would-be homebuyers
                                                                                                                                                           the Sun Belt,
and sellers. But of the people who are still buying homes, an unprecedented portion
                                                                                                                                                           Attracted to
are relocating to new metros. Many are seeking relative affordability as near-7%
                                                                                                                                                           Relatively
mortgage rates and persistently high home prices make expensive parts of the
                                                                                                                                                           Affordable
country even more expensive.
                                                                                                                                                           Home Prices



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The average 30-year-Fxed mortgage rate was 6.9% in October, up 3.83 percentage
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points from 3.07% one year earlier—the largest year-over-year increase during any           Housing Market
month since 1981. That has caused monthly mortgage payments for homebuyers to               Update: Early-
roughly double from a year earlier. And while rates have come down slightly in              Stage Demand
November, they’re still signiFcantly higher than they were last year.                       Up Notably
                                                                                            From October
Homebuyers are looking to move to the Sun Belt, especially                                  Trough

Florida
                                                                                            Just 3 in 100
Sacramento, Las Vegas and Miami were the most popular destinations for RedFn.com            Pandemic
users looking to relocate, followed by San Diego and Tampa. Popularity is determined        Homebuyers
by net inXow, which is the number of people looking to move into a metro minus the          Would Fall
number of people looking to leave.                                                          Underwater
                                                                                            With Next Year’s
Half of the top 10 migration destinations are in Florida (Cape Coral, North Port-           Projected 4%
Sarasota and Orlando are all on the list, in addition to Miami and Tampa). That’s despite   Home-Value
the fact that the state was hit by Hurricane Ian, one of the deadliest, most destructive    Decline
storms in U.S. history, in September.

Relatively affordable Sun Belt metros are typically most popular with relocating            Housing Market

homebuyers, largely because buyers can get more home for less money. In Las Vegas,          Update: Supply

for instance, the typical home cost $410,000 in October, roughly half the price of the      Posts Record

typical home in Los Angeles ($823,000)—the most common origin for people moving             Increase As

there.                                                                                      Homes Linger
                                                                                            on the Market

 Top 10 Metros Homebuyers Are Moving Into, by Net InXow

 Net inXow = Number of RedFn.com home searchers looking to move into a metro
 area, minus the number of searchers looking to leave


 Rank Metro
      Metro**                    Net         Top Origin         Top Out-of-State
                                 InXow                          Origin




 1       Sacramento, CA          7,800       San Francisco,     Chicago, IL
                                             CA

 2       Las Vegas, NV           7,100       Los Angeles,       Los Angeles, CA
                                             CA

 3       Miami, FL               6,700       New York, NY       New York, NY

 4       San Diego, CA           6,500       Los Angeles,       Chicago, IL
                                             CA

 5       Tampa, FL               5,600       New York, NY       New York, NY

 6       Phoenix, AZ             4,700       Los Angeles,       Los Angeles, CA
                                             CA

 7       Cape Coral, FL          4,600       Chicago, IL        Chicago, IL

 8       North Port-Sarasota,    4,300       Chicago, IL        Chicago, IL




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 9      Dallas, TX               3,800     Los Angeles,         Los Angeles, CA
                                           CA

 10     Orlando, FL              3,700     New York, NY         New York, NY

 *Combined statistical areas with at least 500 users searching to and from the region
 in August-October 2022


Buyers are leaving expensive West Coast and East Coast cities

More homebuyers looked to leave San Francisco, Los Angeles, New York, Washington,
D.C. and Boston than any other major metro. That’s determined by net outXow, a
measure of how many more RedFn.com users looked to leave an area than move in.

Homebuyers typically leave expensive coastal job centers more than they leave other
places, a trend that started before the pandemic and picked up steam due to remote
work and rising housing costs. They most commonly head to more affordable regions.
Sacramento, where homes cost less than half what they do in the Bay Area, is the
most common destination for people leave San Francisco, for instance.


 Top 10 Metros Homebuyers Are Leaving, by Net OutXow

 Net outXow = Number of RedFn.com home searchers looking to leave a metro area,
 minus the number of searchers looking to move in


 Rank Metro
      Metro**           Net       Portion of Local        Top            Top Out-
                        OutXow Users Searching            Destination of-State
                                  Elsewhere                              Destination




 1      San             35,800    24%                     Sacramento,    Seattle, WA
        Francisco,                                        CA
        CA

 2      Los             34,100    20%                     San Diego,     Las Vegas,
        Angeles, CA                                       CA             NV

 3      New York,       22,400    27%                     Miami, FL      Miami, FL
        NY

 4      Washington,     18,100    18%                     Salisbury,     Salisbury,
        D.C.                                              MD             MD

 5      Boston, MA      7,800     19%                     Portland, ME Portland, ME

 6      Chicago, IL     7,300     17%                     Milwaukee,     Milwaukee,
                                                          WI             WI

 7      Detroit, MI     4,200     32%                     Cleveland,     Cleveland,
                                                          OH             OH

 8      Denver, CO      3,400     31%                     Chicago, IL    Chicago, IL



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 9       Seattle, WA    1,600         17%                       Phoenix, AZ      Phoenix, AZ

 10      Philadelphia, 1,500          19%                       Salisbury,       Salisbury,
         PA                                                     MD               MD

 *Combined statistical areas with at least 500 users searching to and from the region
 in August-October 2022


Methodology

Our migration analysis is based on about two million RedFn.com users who viewed for-
sale homes online across more than 100 metro areas from August 2022 to October
2022. When we say “October” in this report, we’re referring to the three months
ending in October. To measure the share of homebuyers looking to relocate from one
metro to another, we calculate the portion of overall home searchers that are
migrants.

A RedFn.com user counts as a migrant if they viewed at least 10 for-sale homes in the
third quarter and at least one of those homes was outside their home metro area. For
instance, if a RedFn.com user based in Seattle views 10 homes in a three-month
period and all of them are in Phoenix, that user counts as a full migrant to Phoenix. If a
user based in Seattle views 10 homes in a three-month period and Fve are in Phoenix
but Fve are in San Diego, that user counts as half of a migrant to Phoenix and half of a
migrant to San Diego. If a user based in Seattle views 10 homes in a three-month
period, nine in Seattle and one in Phoenix, that user counts as one-tenth of a migrant
to Phoenix.

The analysis includes combined statistical areas with at least 500 RedFn.com users
based in that region and at least 500 users searching for homes in that region. For
instance, a user based in Seattle searching for a home in Phoenix counts toward the
Frst condition, a user based in Phoenix searching for a home in Seattle counts toward
the second condition, and a user based in Seattle searching for a home in Seattle
counts toward both. RedFn’s migration data goes back to 2017.




  !      "     #       $



                           Dana Anderson
                           As a data journalist at RedFn, Dana Anderson writes about the
                           numbers behind real estate trends. RedFn is a full-service real
                           estate brokerage that uses modern technology to make clients
                           smarter and faster. For more information about working with a
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                OPEN              Socioeconomic differences
                                  and persistent segregation
                                  of Italian territories
                                  during COVID‑19 pandemic
                                  Giovanni Bonaccorsi1,5*, Francesco Pierri2,5, Francesco Scotti1,5, Andrea Flori1,
                                  Francesco Manaresi3, Stefano Ceri2 & Fabio Pammolli1,4*
                                  Lockdowns implemented to address the COVID‑19 pandemic have disrupted human mobility flows
                                  around the globe to an unprecedented extent and with economic consequences which are unevenly
                                  distributed across territories, firms and individuals. Here we study socioeconomic determinants of
                                  mobility disruption during both the lockdown and the recovery phases in Italy. For this purpose, we
                                  analyze a massive data set on Italian mobility from February to October 2020 and we combine it with
                                  detailed data on pre‑existing local socioeconomic features of Italian administrative units. Using a set
                                  of unsupervised and supervised learning techniques, we reliably show that the least and the most
                                  affected areas persistently belong to two different clusters. Notably, the former cluster features
                                  significantly higher income per capita and lower income inequality than the latter. This distinction
                                  persists once the lockdown is lifted. The least affected areas display a swift (V‑shaped) recovery in
                                  mobility patterns, while poorer, most affected areas experience a much slower (U‑shaped) recovery:
                                  as of October 2020, their mobility was still significantly lower than pre‑lockdown levels. These results
                                  are then detailed and confirmed with a quantile regression analysis. Our findings show that economic
                                  segregation has, thus, strengthened during the pandemic.


                                  Public health strategies extensively adopted by governments at the outbreak of the COVID-19 pandemic required
                                  the implementation of non-pharmaceutical interventions (NPIs) to reduce the transmission rate of the virus1–6.
                                  Among NPIs, mobility restrictions proved to play a central role in decreasing social contacts7,8, effectively con-
                                  tributing to control the diffusion of several pathogens across social systems and motivating their wide adoption
                                  for the containment also of the COVID-199–13.
                                      Specifically, full national lockdowns, i.e. periods of severe mobility restrictions and social distancing for
                                  almost all citizens, were widely adopted during the first wave of the COVID-19 pandemic14–17, while restric-
                                  tions targeted to specific geographic areas and for shorter periods constituted the preferred strategy during the
                                  second half of 202018–25.
                                      The spread of the COVID-19 was unevenly distributed among geographic areas and clustered in specific
                                  zones during the first wave of contagion14,19,26. However, the adoption of generalized mobility restrictions across
                                  entire national territories severely affected the whole population, causing the disruption of national mobil-
                                  ity networks27–29 with relevant consequences for the socioeconomic context. The impact of the contraction of
                                  mobility flows on business activities and economic output thus sparked a vivid debate on the direct and indirect
                                  consequences of such policy measures16,30–32, stimulating the investigation of the socioeconomic effects of NPIs
                                  adoption26,33,34.
                                      This work aims to assess the impact of NPIs by evaluating how mobility restrictions interacted with socioeco-
                                  nomic characteristics. In so doing, we focus on Italian territories and we rely on the assumption that a reduction
                                  in mobility flows represents a first-order proxy for the contraction of economic activities. This is plausible since
                                  a wide share of the population relies on mobility to reach workplaces, and a significant portion of productive

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                                            establishments depends on direct contact with consumers to carry on their activities. For example, mobility
                                            restrictions have been shown to be strongly correlated with consumption reduction35,36 and loss of Gross Domes-
                                            tic Production (GDP)37 during the pandemic.
                                                Official measurements on the economic response of individuals and firms are typically available only several
                                            months after the events take place, and often with insufficient geographic detail. Digital traces of individuals,
                                            including mobility data, are instead widely diffused, readily available and contain information on the geographic
                                            position of users38–40. In this work, we take advantage of a large-scale social network dataset comprising near real-
                                            time observations for over 4 million individuals, provided by Facebook through its “Data For Good” program,
                                            to measure Italian mobility patterns and assess how restrictions disrupted the corresponding mobility network.
                                            Given the severity of the COVID-19 pandemic, we follow the literature on the management of natural disasters
                                            and other disruptive events41–44 in which digital data have been exploited to evaluate the impact of shocks, even
                                            though these sources of information may not represent perfect survey instruments.
                                                Extant literature on the negative impacts of NPIs on economic activities has focused mostly on the lockdown
                                            phase26,34,45,46, although the speed and strength of recovery after restrictions lifting have relevant consequences
                                            on the overall impact of the crisis, with potentially long-lasting effects which could modify the socioeconomic
                                            structure of a country. On a macroeconomic perspective, the study of the effects of restrictions on economic
                                            output has resulted in competing recovery scenarios from the COVID-19 pandemic47–52, distinguishing between
                                            a long and slow recovery (U-shaped or L-shaped), which signals the existence of long-run negative effects, and
                                            a short and fast dynamics (V-shaped), which indicates temporary disruptions.
                                                Against this background, we investigate the existence of persistent effects from mobility restrictions in Ital-
                                            ian territories by analyzing their recovery patterns and heterogeneous responses. In fact, some territories might
                                            limit the negative consequences of the lockdown, promptly reversing their mobility patterns once restrictions
                                            are lifted (a V-shaped recovery). Conversely, other territories might be persistently penalized by restrictions,
                                            suggesting long-lasting negative effects (a U-shaped recovery).
                                                To investigate the existence and persistence of these heterogeneous patterns, we analyze the evolution of
                                            mobility in Italy from March to October 2020, i.e., covering both the lockdown and the recovery phases, and
                                            we construct an indicator measuring the level of mobility disruption. By ranking territories according to their
                                            mobility performance, we provide evidence on the existence of two distinct classes characterized by different
                                            behaviors. The most affected territories exhibit a slow U-shaped recovery, and at the end of our period of analysis
                                            their mobility levels are still nearly 20% lower than their pre-lockdown levels. The least affected territories have a
                                            quicker, V-shaped, recovery, with mobility reaching pre-lockdown levels around mid-July, hence only 2 months
                                            after mobility restrictions are lifted.
                                                Then, to understand the extent to which pre-existing socioeconomic characteristics of Italian territories are
                                            informative to understand such mobility responses, we investigate the presence of commonalities among mem-
                                            bers of the two classes with both supervised and unsupervised machine learning techniques. We find significant
                                            evidence of persistent economic segregation induced by the lockdown, with most affected territories being
                                            characterized by lower income per capita and higher income inequality, in line with other recent studies46,52–54.
                                            Such findings are confirmed with a quantile regression analysis to assess the individual effect of different socio-
                                            economic dimensions.
                                                Our main variable of interest is income, but we also account for other relevant socioeconomic variables, such
                                            as the distribution of revenues per employee by productive sector, the share of employed individuals capable to
                                            work from remote, or the North-South geographic divide. Thus, we provide evidence that the effects of mobility
                                            restrictions have been unequally distributed across territories, with stronger and persistent effects where income
                                            per capita is lower.
                                                These findings are relevant for the decision process of policymakers. The existence of two separate behaviours
                                            of recovery among territories signals the urgency of a differentiated policy response, targeting the most affected
                                            territories with intervention reducing the persistence of the effects of mobility restrictions. Moreover, our results
                                            show the relevance of pre-existing economic and social conditions for the resilience of territories during disrupt-
                                            ing events and support governments and policymakers in tailoring effective economic relief schemes. In fact,
                                            our analysis does not simply reveal how recovery behaves differently among territories, but it pinpoints which
                                            socio-economic characteristics are reliable indicators to assess heterogeneous recovery performances.

                                            Results
                                            Evolution of the Italian mobility network. We collect near real-time observations of individuals mov-
                                            ing in the Italian peninsula in a period of 32 weeks, from February 24th to October 4th, 2020, based on data
                                            of the “Disease Prevention Movement Maps” provided by Facebook through their “Data for Good” program56.
                                            Measurements are recorded with an 8-h frequency by aggregating individual trips of Facebook users moving
                                            between Bing map tiles57. Mobility flows are constructed with proprietary mechanisms to ensure privacy and
                                            anonymization, e.g., adding random noise and discarding flows with less than 10 individuals58. Specifically,
                                            we collect observations of traffic flows within about 5,000 distinct tiles produced by an average daily number
                                            of almost 4 million individuals, representing Italian users who enabled Facebook geolocation on their mobile
                                            phones during the period of observation.
                                                To study the impact of variations in mobility patterns with respect to the Italian economic structure, we
                                            perform a further aggregation step by mapping tiles into 562 Italian Local Labour Markets (LLMs), i.e., territo-
                                            rial divisions made by the Italian Institute of Statistics (Istat) to identify uniform sub-regional areas in which
                                            the labour force lives and works, and where local firms usually employ most of their workers59,60 (see Fig. S5 in
                                            Supplementary Information for an illustrative example).



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                                      Using LLMs as units of analysis is particularly suitable for our study. In fact, LLMs are defined based on
                                  labor markets, i.e., areas with a homogeneous productive structure in which, therefore, we can assume internal
                                  consistency in the distribution of labor forces and commuting flows. For these reasons, we can exploit them to
                                  infer differences among comparable units. Using lower-level territorial units (such as municipalities) would have
                                  required, instead, a more complicated process of attribution of the economic productive structure since local
                                  labor markets overlap over administrative boundaries of municipalities. On the other hand, aggregating at the
                                  level of LLMs reduces our ability to capture short-range mobility flows, i.e., mobility flows inside LLMs. Our data,
                                  however, measure movements across fixed time windows of several hours and hence are more likely to represent
                                  long-range commuting patterns of individuals45, i.e., among LLMs, rather than shorter ones.
                                      We then build mobility networks using a weighted undirected graph formulation, where LLMs stand for
                                  nodes, while edges are weighted by the number of individuals traveling between two nodes in a given period
                                  of time. Given the large variability of daily measurements, for instance during the weekends, we study human
                                  mobility by aggregating observations using non-overlapping windows of 14 days over the interval from Febru-
                                  ary 24th to October 4th. Figure 1 provides an outlook on Italian mobility as measured by our data. Top panels
                                  (A–B–C) highlight three specific snapshots before, (24/2-8/3), during (23/3-5/4) and after (15/6-29/6) the national
                                  lockdown of March 8th. Middle panels show the evolution of the total number of individuals flows, aggregat-
                                  ing either over bi-weekly windows (D) or daily (E). Note how during the lockdown period there was a strong
                                  reduction in mobility flows, consistent with the hypothesis of the disruption of the Italian mobility network.
                                      We investigate the process of disruption on the Italian mobility network due to lockdown restrictions, along
                                  with the analysis of simple topological statistics61,62. More specifically, we focus on the global efficiency (see Meth-
                                  ods) along the literature on the resilience of networks against disruptive events63–65. We observe a pronounced
                                  variation of several network metrics (see Figs. 1D, E and S2, S3 in the Supplementary Information) following the
                                  national lockdown, which caused the disappearance of a large number of connections and induced a fragmenta-
                                  tion of the mobility network which is well reflected by the pattern of global efficiency in Fig. 1F. Interestingly, we
                                  also note that the strongest effects of mobility restrictions are most evident a couple of weeks after the lockdown
                                  (cf. 23/3-5/4). Finally, at the end of the period of observation (21/9-4/10), these metrics are approximately at
                                  their pre-lockdown values, signaling a return to the “business as usual” mobility levels.
                                      When focusing on mobility disruption at the level of single nodes, we adopt the same approach as above,
                                  analyzing both simple node centrality measures, namely degree and strength61,62, and nodal efficiency66,67, a more
                                  specific measure chosen to capture local mobility disruption. Nodal efficiency is defined as the average reciprocal
                                  distance of each node from the other nodes in the network, thus representing the contribution of each node to
                                  the global efficiency of the network. Hence, this measure combines the information deriving from network cohe-
                                  siveness and the distance between nodes to measure how efficiently individuals travel throughout the network
                                  (see Methods for more details). The evolution over time of the distribution of node centralities mirrors the trend
                                  of the global network statistics: a sharp decreasing trend consequent to the application of lockdown and then a
                                  gradual recovery during the summer period (see Fig. 1F for nodal efficiency, and Fig. S4 in the Supplementary
                                  Information for strength and degree centrality).
                                      The core of our analysis relies on the assumption that mobility disruption negatively affects economic activity.
                                  We proxy shocks to mobility with the nodal efficiency of each LLM compared to the pre-lockdown scenario, i.e.,
                                  the network of mobility corresponding to the first 14-day window in our sample (24/2-8/3). We consider such
                                  proxy as particularly suitable in our setting, where a complex system undergoes external stress and then recovers,
                                  because it allows us to quantify the contribution of different territories to the configuration of the network. To
                                  model the shock in mobility at node level, a good candidate is also strength centrality, which simply sums the
                                  number of individuals moving from a location to all its immediate neighbors, and it is positively correlated with
                                  nodal efficiency. However, we employ nodal efficiency because it takes the overall topology of the graph into
                                  account, thus providing a system-wide evaluation of the mobility network, while strength centrality considers
                                  only direct connections.
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                                      Hence, let i be an Italian LLM in our sample, we define the relative variation in nodal efficiency !eit as i,tei,t i,t0 ,
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                                  where ei is the nodal efficiency of the LLM calculated in a specific window of time (see Methods), t represents a
                                  14-day window and t0 is the pre-lockdown window taken as reference (24/2-8/3). Figure 1G provides a Kernel
                                  Density Estimation of the variation in nodal efficiency over the entire period of observation. Note how the
                                  distribution of the variation in nodal efficiency is mainly negative during the lockdown phase, while after the
                                  release of restrictions it progressively shifts into more positive values in the upper tail of the distribution, thus
                                  capturing the effective dynamics of the human mobility network in Italy. More specifically, in the 2 weeks fol-
                                  lowing the release of the national lockdown (cf. 4/5-18/5), roughly one-third of LLMs recovered at least half of
                                  their initial nodal efficiency, while at the end of our period of observation (cf. 21/9-4/10) there was still a non-
                                  negligible number of LLMs displaying negative values, thus not being able to reach the pre-pandemic levels of
                                  mobility. The distribution of variations in nodal efficiency indicates the emergence of heterogeneous responses
                                  in the recovery dynamics across LLMs, which we investigate from a micro-level territorial perspective in the
                                  following subsections.

                                  Identifying the most and the least affected LLMs. We next examine whether the emergence of dif-
                                  ferent mobility variations of Italian LLMs uncovers the presence of socioeconomic commonalities among those
                                  territories which instead share the same mobility performance in both the lockdown and recovery phases. Since
                                  socioeconomic variables do not cover the entire set of LLMs present in the mobility sample, at this stage the total
                                  number of observations in our analyses is reduced from 562 to 495 (cf. Fig. S5).
                                      We attempt to answer the following question: do LLMs that exhibit different mobility performance, both
                                  during and after lockdown, also differ in their socioeconomic characteristics? To provide an answer, we rely on


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                                                              Figure 1. (A–C) Snapshots of Italian mobility during three distinct windows of 14-day, 24/2-8/3, 23/3-5/4, and
                                                              15/6-29/6, chosen to capture the pre-lockdown, lockdown, and recovery periods, respectively. Nodes represent
                                                              LLMs and edges represent mobility flows between two locations, with thickness proportional to their weight.
                                                              Figures created with Python (version 3.7.4) using networkx package (version 2.6.2)55. (D) Temporal evolution
                                                              of the total number of individuals moving between LLMs, aggregated over windows of 14 days. (E) Temporal
                                                              evolution of the total number of individuals moving between LLMs daily, separating working days from
                                                              weekends. (F) Temporal evolution of the global network efficiency (top) and the distribution of nodal efficiency
                                                              (bottom). We also annotate the periods in which we computed the two performance indicators, respectively
                                                              Lockdown and Recovery. (G) Kernel density estimation of the distribution of relative variation (%) in nodal
                                                              efficiency for each window w.r.t. the baseline (24/2-8/3).


                                                              two measurements of mobility performance, one for the lockdown phase and one for the recovery phase, and
                                                              we focus on those LLMS placed in the tails of the distribution of mobility performance, to identify the most and
                                                              the least affected LLMs. By leveraging both unsupervised and supervised machine learning techniques, we test
                                                              whether socioeconomic characteristics of LLMs are reliable predictors of their mobility performance.
                                                                  We introduce two indicators that allow us to identify the most and the least affected LLMs during the lock-
                                                              down and the recovery phases. We consider the nodal efficiency and denote lockdown as the mean percentage
                                                              variation over the first two 14-day windows during the lockdown phase, and recovery as the mean percentage
                                                              variation over the first two 14-day windows after lockdown lifting. Specifically, let tL refer to the 14-day window
                                                              of lockdown (8/3-21/3), and tR to the 14-day window in which lockdown was lifted (4/5-17/5), then our two
                                                              indicators of performance are computed as:




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                                  Figure 2. (A) Most (red) and least (blue) affected LLMs identified using the lockdown indicator and K = 30%.
                                  White color indicates remaining 40% of LLMs in the data, whereas grey indicates LLMs not present in our data.
                                  Figure created with Python (version 3.7.4) using networkx package (version 2.6.2)55. (B) Temporal evolution
                                  of variation in nodal efficiency, w.r.t. baseline (24/2-8/3), for the most (red) and the least (blue) affected LLMs,
                                  identified using lockdown indicator and K = 30%. Solid lines show mean values with 95% confidence interval
                                  (dashed area). We excluded from the plot the period corresponding to Assumption (10/8-23/8).


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                                      Figure 1F reports the periods in which we measure the two performance indicators, while their distribution
                                  is shown in Fig. S7 of the Supplementary Information.
                                      We then define the most and the least affected LLMs as those territories respectively in the bottom and in
                                  the top K% of the distribution of the aforementioned mobility performance indicators, where K is a threshold
                                  chosen among the bottom/top percentiles of the distribution. As shown in the Supplementary Information (cf.
                                  Figs. S8 and S9), we find high correspondence between the most and the least affected territories for different
                                  values of K, indicating that, regardless of which indicator is used to define the most and the least affected LLMs,
                                  our findings are robust. Besides, we find that the distribution of the variation in nodal efficiency for the two
                                  classes are well separated in almost all different periods of observation (Kruskal–Wallis (KW) PVAL ∼ 0 in
                                  all cases at significance level α = 0.01), with only slight overlaps in farther periods (cf. Figs. S10 and S11 in the
                                  Supplementary Information).
                                      Panel A of Fig. 2 shows the geographical distribution of the (K = 30%) most and least affected LLMs identi-
                                  fied using the lockdown indicator (cf. Fig. S6 in the Supplementary Information for the results obtained using
                                  the recovery indicator), whereas Panel B provides the temporal evolution of their mobility as expressed by the
                                  relative percentage variation in nodal efficiency. Note that the two classes experience different dynamics: the least
                                  affected LLMs exhibit a V-shaped recovery, with a steep drop followed by a fast upturn, while the most affected
                                  LLMs present a more smoothed and U-shaped pattern, with a long-lasting period of reduction in mobility and
                                  with a lag of 3 months in the recovery after the end of the lockdown. This shows the absence of a catch-up pro-
                                  cess for the most affected LLMs during recovery. Hence, not only mobility restrictions have unevenly impacted
                                  LLMs, but their effects are lasting longer in those LLMs where mobility disruption during the lockdown has been
                                  stronger. Interestingly, the dynamics of the relative percentage variation in nodal efficiency is able to capture the
                                  fact that at the end of the summer Italy experienced a strong rebound in mobility patterns, which attenuated
                                  during the early stages of Autumn showing again more penalized trajectories for the most affected territories.
                                      Unsupervised clustering of territories. We employ unsupervised hierarchical clustering (see Methods) to
                                  investigate whether the most and least affected LLMs manifest distinct peculiarities in terms of socioeconomic
                                  variables.
                                      Specifically, since the disruption of mobility is associated with the exacerbation of socioeconomic
                                  disparities26,45,46, we consider income per capita, inequality in the distribution of income and population density
                                  as potential drivers of variations in mobility. Furthermore, the market structure and the sectoral composition of
                                  the local economy are considered as relevant factors that might affect the impact of restrictions, given the differ-
                                  ent requirements of each sector in terms of mobility and direct contact with customers13,33,36,68–70. We control for
                                  overall market structure by introducing an aggregated measure representing the concentration of revenues among
                                  sectors (Revenue Concentration) in each LLM. We account for sectoral distribution of activities by including the
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                                            number of employees by sector. Moreover, we control for the sectoral distribution of revenues by including the
                                            revenues per employee in each sector, i.e., a proxy of the local productivity of each sector in every LLM. Finally,
                                            we account for features affecting the response of LLMs to government interventions. Indeed, on the one hand,
                                            the Italian Government distinguished among industries having the possibility to maintain their activities open
                                            even during the lockdown (the so-called essential sectors) and others whose reopening was postponed. On the
                                            other hand, differences among firms in their capacity to implement work from remote influence the effect of
                                            restrictions. Hence, we account for the presence of employees in essential sectors and in sectors with higher
                                            attitudes to remote work using two aggregated variables, Essential Workers and Remote Workers, which meas-
                                            ure the share of employees in these categories for each LLM. We use 16 aggregated NACE Rev. 2 categories to
                                            define sectors (see Table S6 for details). Overall, we consider 38 features (3 socioeconomic variables, 2 variables
                                            associated with governmental intervention and 33 variables for the sectoral composition of the economy: the
                                            number of employees and the revenues per employee for each of the 16 sectors and the overall concentration of
                                            revenues among them) measured before the lockdown and explained in detail in the Methods section (cf. Fig. S1).
                                                Panels A and B of Fig. 3 provide results of the clustering analysis, carried out considering all aforementioned
                                            variables, to extract the two classes of territories in an unsupervised fashion (for K = 30%). Note how observa-
                                            tions from the same class cluster together, as they exhibit smaller inter-distances with respect to members of the
                                            opposite class. We quantify this result through the purity score of each cluster. This is computed by (1) assigning
                                            each observation to the class which is most frequent in the cluster, and (2) counting the number of correctly
                                            assigned observations within each cluster and dividing by the total number of observations. We note high
                                            values of purity score in the clustering (about 90%) when extracting more than 50 clusters, with values around
                                            70–80% when extracting as few as 2 clusters (see Panel C in Fig. 3). This suggests that the two classes exhibit a
                                            remarkable discrepancy in their socioeconomic structure. Similar results hold for K = 20% (cf. Fig. S12 in the
                                            Supplementary Information).
                                                Binary classification of the most and the least affected territories. We corroborate these findings by using
                                            a simple supervised machine learning framework. We aim to test whether we can accurately distinguish LLMs,
                                            belonging either to the most or least affected territories, based on their socioeconomic variables. We thus train and
                                            test several off-the-shelf classifiers, from Logistic Regression to Random Forest and K-Nearest Neighbors71 (see
                                            Methods). We use a stratified shuffle split cross-validation (with 10 folds and 20% of observations as test sample)
                                            to evaluate the performance of different models. We show in Panel D of Fig. 3 the Area under the Receiving
                                            Operator characteristic curve (AUROC) of a Random Forest classifier (computed as the macro average of both
                                            classes), using both lockdown and recovery indicators to extract the two classes, and different values for K. We note
                                            a great performance in the classification task, with AUROC values in the range 82–97%, with lockdown indicator
                                            performing slightly worse than recovery, and lower performance for both when considering larger samples (cf.
                                            K ∈ [40%, 50%]). Other classifiers yield similar performance (see Tables S2 and S3 in Supplementary Informa-
                                            tion), indicating that indeed mobility patterns uncover two classes which exhibit very different socioeconomic
                                            characteristics before the lockdown. We also obtain similar results when considering a period of four 14-day
                                            windows to compute the two indicators (see Fig. S13 in the Supplementary Information).
                                                Multiple comparison tests. We finally check the robustness of these findings by performing pairwise multiple
                                            comparison tests, for each of these socioeconomic dimensions, among the three classes of LLMs, namely the
                                            K = 30% most and least affected LLMs and the remaining 40% ones (see Tables S4 and S5 in the Supplementary
                                            Information). Specifically, we perform a Kruskal–Wallis (KW) test with Conover procedure and Bonferroni cor-
                                            rection for p-values72 (see Methods). We observe that several variables exhibit statistically significant different
                                            distributions (KW PVAL ∼ 0 at significance level α = 0.01). In particular, we find that, using both lockdown and
                                            recovery indicators to extract classes, the most affected LLMs exhibit median values of Income per Capita and
                                            Density which are significantly smaller compared to the least affected ones, whereas median values of Inequal-
                                            ity are higher for the most affected areas compared to the others (KW PVAL ∼ 0 at significance level α = 0.01,
                                            cf. Figs. 4A, B and S14, S15 in Supplementary Information). For what concerns variables describing the labour
                                            market and the industrial composition of different territories, we observe that sectors of the most affected LLMs
                                            exhibit lower levels of revenues per employee, whereas the number of essential workers does not seem to show
                                            statistically significant differences among the different classes (cf. Figs. 4C, D and S14, S15 in Supplementary
                                            Information). We remark that our analysis focuses on the differences between the most and the least affected
                                            classes (and not with respect to the rest of the territories). Hence, these tests show that although not all variables
                                            of interest exhibit a statistically significant difference between the two classes, in general territories belonging to
                                            the most or the least affected classes differ along several relevant socioeconomic dimensions.

                                            The relationship between socioeconomic characteristics of territories and mobility dynam‑
                                            ics. We finally explore the determinants of changes in human mobility of LLMs altogether, both during the
                                            lockdown and after the relaxation of restrictive measures, by using all 495 LLMs for which we have data for
                                            mobility and socioeconomic variables.
                                                The classification analysis tells us that socioeconomic variables can predict which LLMs belong to the most
                                            or the least affected classes (i.e., a binary outcome), but it does not indicate how these factors affect variation in
                                            nodal efficiency. In this section, we propose a framework to evaluate the magnitude and, more importantly, the
                                            direction of the interplay between local mobility performances and the socioeconomic characteristics of LLMs.
                                                The unexplored hypothesis we want to test here is the emergence within the two classes of peculiar relation-
                                            ships between the variation of mobility and the corresponding socioeconomic characteristics. For instance,
                                            among LLMs in one class the response of mobility performance to a certain variable might be negative, while
                                            among LLMs in the other class the relation might be reversed or with a reduced magnitude. Alternatively, it
                                            may happen that the correlation remains the same within the two classes, thus signaling a socioeconomic trait


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                                      Figure 3. (A, B) Results of hierarchical clustering using features of the most and the least affected LLMs
                                      identified with lockdown (A) and recovery (B) indicators, with K = 30%. Red and blue labels of rows and
                                      columns identify respectively the most and the least affected areas. (C) Plot of purity score vs number of clusters
                                      for lockdown (green) and recovery (orange) dendrograms, shown respectively in panels (A) and (B). In the
                                      recovery phase, the two classes are more homogeneous and better separated, as indicated by purity scores higher
                                      compared to the lockdown period. This might signal that the effects of lockdown were more uniformly applied
                                      among LLMs, whereas recovery dynamics present more heterogeneity which allows us to better identify the
                                      most and the least affected territories. (D) Area under the Receiving Operator characteristic Curve (AUROC)
                                      for a Random Forest classifier evaluated on features of the most and the least affected LLMs, using lockdown
                                      (green) and recovery (orange) indicators and different values of K to obtain the binary label. Note the best
                                      performance for K = 20%, with AUROC values around 95% for both indicators. Similar to panel (C), we observe
                                      in general better results when identifying the most and the least affected LLMs during the recovery phase.

                                      which strongly characterizes the mobility response of all LLMs, regardless of classes. Furthermore, by analyzing
                                      both lockdown and recovery performance of LLMs, we are interested in understanding the extent to which the
                                      impact of socioeconomic characteristics on mobility performance is stable over time, thus affecting LLMs both
                                      before and after the implementation of mobility restrictions.
                                          To do so, we perform a quantile regression73 in which the dependent variable corresponds, in turn, to the
                                      lockdown and recovery indicators defined in the previous section. The quantile regression method allows us
                                      to estimate specific coefficients for the explanatory variables in each quantile of the distribution of variation
                                      in mobility, investigating the existence of different effects involving the tails of the distribution. In contrast, a
                                      traditional Ordinary Least Squares (OLS) regression, assumes a uniform relationship between the distributions
                                      of the predictors and the one of the dependent variable, providing only a single coefficient.
                                          Our purpose is to analyze the role of socioeconomic variables on the resilience of territories. We focus, in
                                      particular, on the relationship between income per capita and mobility variation. To account for the role of other
                                      socioeconomic dimensions, we include the economic structure of territories in the econometric model and we
                                      employ a proxy of sectoral productivity (revenues per employee of each sector) to control for the influence of

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                                                  Figure 4. (A–D) Distributions of socioeconomic features for the most (red) and the least (blue) affected LLMs,
                                                  and remaining ones (white), identified using lockdown variable and K = 30%. For variables in panels (A–C), the
                                                  Kruskal–Wallis test to assess statistical differences between the distributions of the classes of LLMs is significant
                                                  at a level α = 0.001. For the variable in panel (D), it is not significant. According to the pairwise multiple
                                                  comparison tests with Conover procedure and Bonferroni correction for p-values, distributions are statistically
                                                  different at a level α = 0.01 in all cases for variables in panels (A–C), with the following exceptions: in panel (B),
                                                  there is no significant difference between Rest and Least; in panel (C) the difference between Rest and Least is
                                                  significant at a level α = 0.05.


                                                  local productivity on the mobility performance of territories. Finally, territorial controls at the level of macroarea
                                                  account for remaining unobserved local effects.
                                                      As we obtain a clear separation between the most and the least affected classes in correspondence of a
                                                  threshold K equal to 10%, 20% and 30%, we focus on the corresponding quantiles of the distribution of the
                                                  two indicators as illustrative cases. Hence, for each quantile τ of the dependent variables !ek , we estimate the
                                                  following equation:

                                                                                                          !eτk =α + β · X + γ · Z
                                                                                                             k ∈{lockdown, recovery}                                                                       (2)
                                                                                                             τ ∈[0.1, 0.2, 0.3, 0.7, 0.8, 0.9]
                                                  where X = [xx , l , r ] is a matrix containing the socioeconomic variables explained in the classification section.
                                                  Inside X , we distinguish x , a matrix of socioeconomic indicators measured at the LLM level (Income per Capita,
                                                  Income Inequality, Population Density, Revenue Concentration, Essential and Remote Workers), and l and r , two
                                                  matrices with, respectively, the number of employees and revenues per employee in!each sector       " for every LLM.
                                                  Furthermore, to the first set of variables we add a matrix of territorial controls: Z = z , z · r ! with r ! ⊂ r . Inside
                                                  Z , to measure the interplay between territorial and sector variables we employ territorial controls at the level of
                                                  Italian macroareas (i.e., a subdivision of the country among North-West, North-East, Center, South and Insular
                                                  Italy), z , and we introduce a matrix of interaction terms, z · r ! , between territorial controls and the revenue per
                                                  employee of a specific subset of sectors.
                                                       For the most relevant variables, Table 1 reports coefficients and standard errors estimated with Eq. 2, while
                                                  Tables S8 and S9 in the Supplementary Information report full results. Moreover, in Tables S10 and S11 in the
                                                  Supplementary Information we report results obtained with heteroskedastic-robust standard errors, obtained
                                                  via wild bootstrap (1000 replications). In general, our results remain unaffected with few exceptional cases which
                                                  we comment in the Supplementary Information. Next subsections are devoted to discuss separately the variables
                                                  reported in Table 1, distinguishing the separate relations among the performance of territories and each group
                                                  of variables: first, the main socioeconomic variables of interest; secondly, variables related to the productive
                                                  structure of LLMs; and, finally, the relation captured by territorial controls.
                                                       Main socioeconomic variables. We observe that the coefficient of Income per Capita is positive and statisti-
                                                  cally significant for both the lower (q0.10,lockdown = 0.303, SE = 0.077, q0.10,recovery = 0.226, SE = 0.074) and upper
                                                  part of the distribution of both indicators of mobility performance (q0.90,lockdown = 0.169, SE = 0.074, q0.90,recovery
                                                  = 0.281, SE = 0.058). This shows that LLMs with lower Income per Capita are associated with worse mobility
                                                  performance, while LLMs with higher income have better mobility performance.
                                                       The relation with Income per Capita remains almost constant between classes (i.e., for all quantiles), and both
                                                  during the lockdown and recovery periods. Moreover, it is robust, since we accounted for a wide range of controls
                                                  at the level of territories and sectors. This identifies Income per Capita as the main driver of our analysis and
                                                  supports the hypothesis of persistence of a segregation effect by income both across territories and over time. We
                                                  can safely conclude that, regardless of their class, poorer territories are always the most affected by restrictions
                                                  and the slowest to recover.
                                                       Moreover, we find evidence that during the recovery phase, in the upper quantiles of the distribution of
                                                  mobility the coefficient for Inequality is negative and statistically significant (q0.70,recovery = −0.107, SE = 0.029,
                                                  q0.90,recovery = −0.090, SE = 0.030). This pattern suggests that, among LLMs in the upper quantiles of the mobility
                                                  distribution, territories with higher Inequality experience a slower recovery. This result highlights the relevance of
                                                  the quantile methodology: in the previous sections we have shown that inequality among the most affected LLMs
                                                  is greater than the one of the least affected LLMs (cf. Fig. 4B). However, by considering all variables together


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                                                             q0.10          q0.20        q0.30        q0.70        q0.80        q0.90        OLS
                                   Dependent variable: lockdown indicator
                                                             0.303∗∗∗       0.234∗∗∗     0.167∗∗      0.243∗∗      0.243∗∗∗     0.169∗∗      0.208∗∗
                                   Income Per Capita
                                                             (0.077)        (0.069)      (0.078)      (0.097)      (0.064)      (0.074)      (0.090)
                                                             0.019          − 0.054      − 0.046      − 0.071      − 0.005      0.055        − 0.059
                                   Income Inequality
                                                             (0.041)        (0.036)      (0.041)      (0.051)      (0.033)      (0.039)      (0.047)
                                                             0.155∗∗∗       0.136∗∗∗     0.147∗∗∗     0.226∗∗∗     0.146∗∗∗     0.109∗∗      0.179∗∗∗
                                   Population Density
                                                             (0.045)        (0.040)      (0.046)      (0.057)      (0.037)      (0.043)      (0.053)
                                                             0.022          0.064        0.095∗∗      0.043        − 0.007      0.033        0.051
                                   Revenue Concentration
                                                             (0.045)        (0.040)      (0.046)      (0.057)      (0.037)      (0.043)      (0.053)
                                                             − 0.011        − 0.016      0.025        − 0.003      − 0.069      − 0.018      − 0.076
                                   Essential Workers
                                                             (0.061)        (0.054)      (0.061)      (0.076)      (0.050)      (0.058)      (0.071)
                                                             0.134∗∗        0.096        0.106        0.036        0.092 ∗      0.004        0.069
                                   Remote Workers
                                                             (0.068)        (0.060)      (0.068)      (0.085)      (0.056)      (0.064)      (0.079)
                                                             0.872∗∗∗       0.421        0.771∗∗∗     0.723∗∗      0.486∗∗      0.349        0.550
                                   North-Eastearn Italy
                                                             (0.289)        (0.257)      (0.291)      (0.362)      (0.239)      (0.275)      (0.337)
                                                             − 0.047        − 0.095      − 0.139      − 0.264      − 0.351∗∗    − 0.030      − 0.227
                                   Central Italy
                                                             (0.199)        (0.177)      (0.200)      (0.249)      (0.164)      (0.189)      (0.232)
                                                             0.455          0.215        − 0.099      0.220        0.386        0.921∗∗∗     0.154
                                   Southern Italy
                                                             (0.285)        (0.253)      (0.286)      (0.356)      (0.235)      (0.271)      (0.332)
                                                             0.237          0.147        0.071        − 0.191      − 0.247 ∗    − 1.025∗∗∗   − 0.253
                                   Insular Italy
                                                             (0.166)        (0.148)      (0.167)      (0.208)      (0.137)      (0.158)      (0.194)
                                                             − 0.868∗∗∗     − 0.628∗∗∗   − 0.428∗∗∗   0.039        0.223 ∗      0.073        − 0.269
                                   Constant
                                                             (0.160)        (0.142)      (0.161)      (0.200)      (0.132)      (0.152)      (0.186)
                                   AIC                       1077.58        1072.87      1108.63      1261.38      1373.51      1453.74      1256.68
                                   BIC                       1325.65        1320.94      1356.7       1509.45      1621.58      1701.81      1136.68
                                   Dependent variable: recovery indicator
                                                             0.226∗∗∗       0.182∗∗∗     0.162∗∗      0.217∗∗∗     0.223∗∗∗     0.281∗∗∗     0.217∗∗
                                   Income Per Capita
                                                             (0.074)        (0.065)      (0.068)      (0.055)      (0.062)      (0.058)      (0.087)
                                                             0.004          − 0.040      − 0.086∗∗    − 0.107∗∗∗   − 0.110∗∗∗   − 0.090∗∗∗   − 0.079 ∗
                                   Income Inequality
                                                             (0.039)        (0.034)      (0.036)      (0.029)      (0.033)      (0.030)      (0.046)
                                                             0.119∗∗∗       0.101∗∗∗     0.082∗∗      0.103∗∗∗     0.118∗∗∗     0.080∗∗      0.125∗∗
                                   Population Density
                                                             (0.043)        (0.038)      (0.040)      (0.032)      (0.037)      (0.034)      (0.051)
                                                             0.075 ∗        0.056        0.065        0.029        0.031        − 0.031      0.041
                                   Revenue Concentration
                                                             (0.043)        (0.038)      (0.040)      (0.032)      (0.037)      (0.034)      (0.051)
                                                             − 0.077        − 0.107∗∗    − 0.026      − 0.129∗∗∗   − 0.125∗∗    − 0.178∗∗∗   − 0.193∗∗∗
                                   Essential Workers
                                                             (0.058)        (0.051)      (0.053)      (0.043)      (0.049)      (0.045)      (0.068)
                                                             0.148∗∗        0.145∗∗      0.090        0.078        0.051        − 0.012      0.082
                                   Remote Workers
                                                             (0.064)        (0.057)      (0.059)      (0.048)      (0.055)      (0.051)      (0.076)
                                                             − 0.052        − 0.199      − 0.183      − 0.038      0.092        0.244        − 0.095
                                   North-Eastearn Italy
                                                             (0.275)        (0.244)      (0.254)      (0.204)      (0.233)      (0.216)      (0.325)
                                                             − 0.711∗∗∗     − 0.793∗∗∗   − 0.709∗∗∗   − 0.706∗∗∗   − 0.732∗∗∗   − 0.690∗∗∗   − 0.639∗∗∗
                                   Central Italy
                                                             (0.189)        (0.168)      (0.175)      (0.140)      (0.160)      (0.149)      (0.223)
                                                             − 0.737∗∗∗     − 0.845∗∗∗   − 0.484 ∗    − 0.376 ∗    − 0.497∗∗    − 0.634∗∗∗   − 0.436
                                   Southern Italy
                                                             (0.271)        (0.240)      (0.250)      (0.201)      (0.229)      (0.212)      (0.319)
                                                             − 0.385∗∗      − 0.381∗∗∗   − 0.394∗∗∗   − 0.869∗∗∗   − 1.282∗∗∗   − 1.938∗∗∗   − 1.152∗∗∗
                                   Insular Italy
                                                             (0.158)        (0.140)      (0.146)      (0.117)      (0.134)      (0.124)      (0.187)
                                                             − 0.308∗∗      − 0.072      − 0.040      0.114        0.116        − 0.021      − 0.279
                                   Constant
                                                             (0.152)        (0.135)      (0.140)      (0.113)      (0.129)      (0.119)      (0.179)
                                   AIC                       1039.41        965.67       927.63       1067.09      1219.97      1348.98      1218.72
                                   BIC                       1287.47        1213.74      1175.7       1315.15      1468.04      1597.05      1098.72


                                  Table 1. Results for quantile regression of the lockdown (top) and recovery (bottom) indicators with respect
                                  to economic, sectorial and geographic explanatory variables, including interaction of macroareas with sectorial
                                  variables. Regression obtained with the Iterative Weighted Least Squares method on standardized variables.
                                  Last column shows OLS regression as a reference. Number of observations: 495. Coefficients shown for a
                                  subset of variables, full regression table reported in Tables S8 and S9 in the SI. Results with heteroskedastic-
                                  robust standard errors, obtained via wild bootstrap (1000 replications) reported in Tables S10 and S11 in the
                                  SI. ∗ p < 0.1; ∗∗ p < 0.05; ∗∗∗ p < 0.01.

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                                            and analyzing separately the two classes of LLMs, we find that inequality is more important for the recovery of
                                            the least affected LLMs.
                                                 Finally, regarding Population Density we observe a pattern similar to Income per Capita, signaling that both
                                            during and after lockdown, the mobility contraction is higher for less densely populated territories.
                                                 Productive structure of LLMs. We find that the aggregated share of remote workers available in each LLM
                                            has a positive and significant coefficient during both the lockdown (q0.10,lockdown = 0.134, SE = 0.068) and recovery
                                            phases (q0.10,recovery = 0.148 , SE = 0.064) for the most affected territories, meaning that among them the effect
                                            of restrictions was stronger and the recovery was slower where the pre-existing potential availability of remote
                                            workers was lower.
                                                 We also observe that the number of workers employed in essential sectors is not a key driver for mobility
                                            during the lockdown. This evidence is consistent with the results of our previous tests, where we showed that
                                            the Essential Workers variable was not statistically different between the most and the least affected LLMs (See
                                            Fig. 4D). Interestingly, we find also a negative and statistically significant coefficient across (almost) all quantiles
                                            of the distribution during the recovery. These results, rather than signaling the absence of an effect on mobility
                                            from workers in essential sectors, are instead explainable by the level of detail of our data. Our measurements
                                            of mobility, in fact, are not suited to capture brief short-range movements, occurring for instance within neigh-
                                            borhoods of the same city. Urban movements of this kind are those more related to essential sectors of the
                                            economy, which were allowed to operate in order to provide necessary services to citizens (as shown in other
                                            studies13,35,36). Since we are not able to capture the higher mobility induced by essential sectors, we do not see a
                                            significant relation during lockdown. The same phenomenon yields a negative coefficient during recovery because
                                            it causes LLMs where the share of Essential Workers is higher to show lower levels of mobility in comparison
                                            to other LLMs.
                                                 Regarding the last aggregated measure, Revenue Concentration, we find a positive and significant coefficient
                                            during recovery (q0.10,recovery = 0.075, SE = 0.043) among the most affected LLMs, signaling that for these ter-
                                            ritories a faster rebound in mobility is denoted by a more concentrated economy.
                                                 In addition to results on aggregated variables, we introduce sector-specific effects to reinforce our main results,
                                            i.e., matrices l and p which report Employees and Revenues per Employees for 16 NACE Rev. 2 aggregated sec-
                                            tors. The role of these variables is to control for the relation between mobility performance and mobility-intensive
                                            sectors and separate it from the one between mobility and income. We find coefficients in line with our expecta-
                                            tions, i.e., we observe a positive coefficient from mobility-intensive sectors and a negative coefficient from sectors
                                            where remote work is more available. This confirms that controlling for these variables is indeed necessary. For
                                            full details, we refer the reader to Tables S8 and S9 in the Supporting Information.
                                                 Territorial controls. The last type of controls we introduce address the presence of territorial biases. These
                                            may affect the estimates either directly, signaling the existence of persistent differences among territories, or
                                            indirectly via an interaction with specific sectors. In the latter case, we are testing whether some industries have
                                            a different impact on mobility depending on the LLMs in which they are located.
                                                 With matrix z, we introduce dummy variables related to the five Italian geographical macroareas using North-
                                            West of Italy as reference area, given its role during the current epidemics and relevance for the whole Italian
                                            economic system (North-West is both the richest Italian macroarea and the one most affected by COVID-19
                                            contagion). Moreover, we use matrix z · r! to test interaction effects among such macroareas and four sectors
                                            which we deem relevant regarding mobility restrictions: Manufacturing, Constructions, Arts and Entertainment
                                            and the Health sector. We report in Table 1 the main macroarea effects and in the Supplementary Information
                                            the macroarea interaction effects (Tables S8 and S9).
                                                 Territorial controls capture unobserved effects affecting all LLMs belonging to the same macroarea. This
                                            allows us to test also the hypothesis of the role of contagion on the reduction of mobility, since the impact of the
                                            COVID-19 was unevenly distributed across Italy affecting North-Eastern and North-Western Italy more than
                                            the rest of the country, especially during the first wave of the epidemic19,20. While there is mounting evidence
                                            that the nexus of causality runs in the other direction, i.e., it is mobility restriction which reduces the spread of
                                            contagion8–12, we still perform a robustness check and look for a relation between contagion and mobility reduc-
                                            tion. First, Figs. S16–S19 in the Supplementary Information show that the difference among the most affected
                                            and the least affected LLMs in the number of infections and deaths due to the COVID-19 is not statistically
                                            significant. Second, we find a better mobility performance in macroareas where contagion was more intense.
                                                 During the lockdown, in fact, we observe a positive coefficient only for territories in North-Eastern Italy, both
                                            among the most affected (q0.10,lockdown = 0.872, SE = 0.289) and the least affected LLMs (q0.80,lockdown = 0.486,
                                            SE = 0.239), even though with a lower coefficient. This means that LLMs in this macroarea, especially among
                                            the most affected class, had a better mobility performance with respect to the North-Western macroarea, even
                                            though the intensity of contagion among the two macroareas was comparable. On the contrary, the other Italian
                                            macroareas, where the intensity of contagion was lower, did not have a performance significantly different from
                                            North-Western. During the recovery phase, instead, we find a negative and significant coefficient of the Center,
                                            South and Insular macroareas showing a slower rebound with respect to the North-Western macroarea. This is
                                            consistent with the geographic representation of the most and the least affected LLMs reported in Fig. 2A and
                                            highlights the presence of territorial effects which, however, are not related to the spread of the virus.
                                                 Finally, regarding interaction effects between sectors and macroareas, i.e., z · r! in Eq. 2, we find that they are
                                            usually not significant (cf. Tables S8 and S9 in the Supplementary information). Among the few exceptions, it is
                                            worth focusing on the Health sector, due to its strategic role during the pandemic. In fact, we notice a positive
                                            coefficient during lockdown among least affected LLMs and across all macroareas (and especially in the insular
                                            area), signaling that those macroareas with higher concentration of revenues per employee from firms in the
                                            Health sector, experienced lower variation in mobility with respect to the reference macroarea. In the recovery
                                            phase, these effects are no longer significant.

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                                  Discussion
                                  In this paper, we investigate the interplay between human mobility and the socioeconomic composition of Italian
                                  territories, with a specific focus on persistent effects which characterized mobility during and after the national
                                  lockdown put in place by Italian authorities in March 2020 to prevent the spread of the COVID-19. To this aim,
                                  we leverage a massive dataset of near real-time observations of movements for approximately 4 million daily
                                  individuals in a period of 32 weeks, from March to October 2020, and we rely on detailed information on the
                                  composition of the Italian productive system by sector, using official census statistics on the number of employees
                                  and revenues, and on the socioeconomic characteristics of Italian administrations.
                                      We show that pre-existing economic disparities among Italian territories can explain their reaction to lock-
                                  down restrictions and that two specific classes of territories emerge: the most affected and the least affected
                                  territories by interventions. The two classes show persistent behaviours, with income disparities driving their
                                  reaction both in the lockdown and recovery periods, and with income inequality playing a relevant role during
                                  the latter. Moreover, we observe that our estimates are robust once controlling for several relevant confounding
                                  factors, such as the composition of productive sectors of the economy, the share of remote workers and the share
                                  of workers from sectors exempted from restrictions by the government, and, finally, common features among
                                  territories belonging to the same geographic macroarea.
                                      We reveal at a microeconomic level that a stable separation exists between the most affected and the least
                                  affected territories of Italy. These findings are of utmost importance for policy decisions aimed to balance the
                                  need to limit the spread of the contagion and the negative effects of restrictions on socioeconomic conditions. In
                                  particular, lockdown effects, combining with preexisting disparities, are more intense for the most disadvantaged
                                  territories, which yield a slower recovery, leading to further segregation of already deprived areas. To compensate
                                  economic losses deriving from the COVID-19 epidemic and avoid a longer path of recovery for the most penal-
                                  ized territories, our analysis supports the urgency of a differentiated policy response, targeting the most affected
                                  territories with intervention reducing the persistence of the effects of mobility restrictions.

                                  Methods
                                  Network efficiency.        Network efficiency63,64 is a measure traditionally employed to study man-made and
                                  other communication networks. It combines the information deriving from network cohesiveness and the dis-
                                  tance between nodes to assess how efficiently information/individuals travel over the network63,64,66.
                                      Given a weighted undirected network G(V, E) with n = |V | nodes and m = |E| edges, the connections of G
                                  are represented by the weighted adjacency matrix W with elements {wij }, where wij ≥ 0 ∀ i, j. In our analysis, we
                                  use the reciprocal of the number of individuals traveling between two locations to specify weights only when
                                  computing the efficiency measure of the network (and the nodes). Given that our network resembles a com-
                                  muting network, we assume that two locations are closer if many individuals travel between them. The global
                                  network efficiency is thus computed as:
                                                                                            1     ! 1
                                                                           Eglob (G) =
                                                                                         n(n − 1)      dij
                                                                                                       i"=j∈G

                                  where dij is the shortest path distance between two generic nodes i and j. When nodes i and j cannot be connected
                                  by any path, then dij = +∞.
                                      Following the methodology of Latora et al.63 , Eglob (G) is normalized in order to assume the maximum value
                                  in the case of perfect efficiency, i.e., in a fully connected graph where all nodes are connected to each other via
                                  the shortest possible distance. In our framework, this corresponds to the shortest distance between two nodes
                                  in the network, namely we assume that min(dij ) = min(wij ) = wmin ∀i, j . The normalized global efficiency can
                                  be thus computed as:
                                                                                    Eglob (G)
                                                                      Enorm (G) =              = Eglob (G) · wmin
                                                                                    Eideal (G)
                                  where Eideal (G) = n(n−1)
                                                        1
                                                               i"=j∈G wmin = wmin . The shortest distance between two nodes, namely wmin , varies
                                                                       1       1
                                                            !
                                  depending on the time window of 14 days in which the network is built.
                                     In addition, we define the nodal efficiency as the contribution of each node i to Eglob (G):
                                                                                        1 ! 1
                                                                                ei =                  ,
                                                                                      n−1         dij
                                                                                             i" =j∈G

                                  and, accordingly, the normalized nodal efficiency of node i as einorm = ei · wmin.

                                  ASIA database. The Italian National Registry of Active Firms (ASIA) is managed by Istat and reports infor-
                                  mation on all economic units on the national territory exercising industrial, commercial and services activities.
                                  It collects and updates annually identification information (name and address) and structure (economic activity,
                                  dependent and independent employees, legal form, date start and end activities, turnover) of firms within the
                                  register. Even though the data is collected at a granular level, for privacy reasons it has been provided to us by
                                  Istat at the province level and for each NACE Rev. 2 business sector which we aggregate in 21 macrocategories
                                  (see Table S6 in the Supporting Information for details).




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                                            Matching procedure for economic variables. Our analyses integrate data measured at the municipal
                                            level with information regarding the productive structure of the Italian economy at the level of provinces, i.e. at a
                                            more aggregate level. In order to ensure a reliable number of observations we bridge the two datasets towards the
                                            intermediate level of analysis of Local Labour Market (LLMs) which are comparable sub-regional geographical
                                            areas defined by the Italian National Institute of Statistics (Istat). As a result, our economic data cover different
                                            dimensions of the local socioeconomic context of each Italian LLM, in total 495 areas. Our three main variables
                                            of interest are Income per Capita, Inequality in the distributions of incomes and Population Density. These vari-
                                            ables have been collected at the municipal level and then aggregated at the level of LLMs mapping each Italian
                                            municipality to a unique LLM. We then integrate these variables with sector related ones (employees and rev-
                                            enues per employee) obtained from the ASIA database at the province level. Using publicly available data from
                                            Istat on the number of employee at municipal level, we were able to redistribute province level data to the LLM
                                            level of aggregation using the share of province employees for each municipality as partition coefficient and the
                                            municipality-to-LLM mapping to aggregate the municipality data.

                                            Description of economic variables. Declared income. This variable is the tax base of the personal
                                            income tax declared by tax payers in the 2018 tax return to the Revenue Agency for the 2017 financial year. The
                                            distribution at the municipal level is provided by the Ministry of Economic and Finances (MEF) and can be
                                            recovered from Istat. We calculate Income per Capita as the ratio of total declared taxable income in a municipal-
                                            ity divided by number of declarants with taxable income.
                                                Income inequality. We measure income inequality at the municipal level as the ratio between average and
                                            median values of the distribution of the declared income, without taking into account cadastral incomes. If the
                                            distribution of income is skewed, as is the case for 98% of Italian municipalities, the average municipal income
                                            will be consistently greater than the median municipal income. Hence municipalities with greater mean to
                                            median ratio will have a more unequal distribution than municipalities with lower ratio.
                                                Density of population. We use population density to account for concentration individuals in a certain ter-
                                            ritory. It is calculated as the ratio of total population calculated at the first of January divided by the extension
                                            of the territory in squared kilometers.
                                                Concentration of revenues by sector. We calculate this variable as the Herfindahl–Hirschman concentration
                                            index of the revenues of sectors in each LLMs. Let us define the" revenue         of LLM i in sector j as rij and all its
                                                                                                              ! rij #2
                                            revenues Ri then the HHI of each LLM is defined as HHIi = j Ri .
                                                Percentage of workers who are able to work from remote. We use estimates of remote workers by sector
                                            from74 and adapt them to Italian firms. We obtain the LLMs share of potential remote worker as the weighted
                                            sum of each sector employees number multiplied by each sector-specific remote share estimate. The obtained
                                            estimates are also in line with those of75.
                                                Percentage of workers in sectors declared essential by the government . Essential sectors are obtained from
                                            official Government decrees. We obtain the LLMs share of essential sector workers as the percentage of employee
                                            from essential sectors over all employees from all sectors.
                                                Territorial controls. Our regression sample provides a good representation of the entire set of Italian munici-
                                            palities, both in terms of population size and geographical location, including 2,387 observations corresponding
                                            to 30% of Italian municipalities. Nevertheless, to exclude spatial spillovers effect we control for territorial con-
                                            founding factors using macroarea controls corresponding to NUTS1 areas, which represent the most aggregated
                                            geographical classification of national administrative units provide by Eurostat (see Table S7 in the Supporting
                                            Information for details). We use macroarea controls to make the estimation of interaction effects in our regres-
                                            sion easier and avoid inflating the regression with too many covariates.

                                            Clustering, classification, multiple test analysis and quantile regression. We rely on several
                                            open-source packages to perform our analysis of the most and the least affected territories. We encode each
                                            LLM with a vector of socioeconomic covariates (see previous section) and we assign them a binary label, based
                                            on the lockdown and recovery indicators defined in the main text.
                                                We employ scipy76 to carry out a hierarchical clustering of LLMs based on their standardized socioeconomic
                                            variables, using a cosine distance and average linkage to obtain clusters. We report similar results when using
                                            euclidean distance or other linkage approaches, e.g., complete or Ward linkage.
                                                We use scikit-learn77 to train several binary classifiers, namely Logistic Regression, Support Vector Machine,
                                            Random Forest and K-Nearest Neighbors, in the task of classifying most vs least affected LLMs based on their
                                            socioeconomic variables. We apply standardization of features and use default hyperparameters as specified in
                                            the package, and we use stratified shuffle-split cross-validation to evaluate their performance.
                                               We employ scikit-posthocs78 to perform multiple test comparisons and assess statistical differences in the
                                            distribution of features of the most and the least affected LLMs (and remaining ones). In particular, we apply
                                            Kruskal–Wallis test with Conover procedure and Bonferroni correction for p-values.
                                                Finally, all quantile regression results have been performed with the quantreg R package73 on standardized
                                            variables with default options. Results in the Supplementary Information are obtained with heteroskedastic
                                            robust standard errors obtained via wild bootstrap with 1000 iterations.

                                            Data availability
                                            Data describing movements of individuals in Italy during the period of observation were provided under an
                                            academic license agreement with Facebook through its “Data for Good” program (available at: https://dataf
                                            orgood.fb.com/tools/disease-prevention-maps/). All observations are released in an aggregated and de-identified


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                                  manner to ensure privacy and anonymization of single users. Origin-destination matrices which describe traffic
                                  between tiles in non-overlapping windows of 14-day can be provided upon request to the corresponding author.
                                  With the only exception of the median income used to calculate the inequality index, all economic variables
                                  have been provided by the Italian National Institute of Statistics (I.stat). Municipal data on income, population
                                  and employee by sector are all available from the Istat website (http://dati.istat.it/). Data at the province level
                                  regarding revenues by sector have been obtained from the National Registry of Active Firms (ASIA database) and
                                  are available to researchers upon request. Finally, median income has been provided by the Italian Ministry of
                                  Economy and Finances (MEF). For further details we refer the reader to Table S1 in the Supporting Information.

                                  Received: 15 July 2021; Accepted: 24 September 2021
                                  Published online: 27 October 2021

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                                  Author contributions
                                  G.B., F.Pi, F.S., A.F., F.Pa. designed the research. G.B., F.Pi. and F.S. collected data. G.B., F.Pi. and F.S. analyzed
                                  data and performed research. All authors discussed research results, wrote and reviewed the manuscript.

                                   Competing interests
                                  The authors declare no competing interests.

                                  Additional information
                                  Supplementary Information The online version contains supplementary material available at https://doi.org/
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  DOWJONES& COMPANY,
                   INC.,

                    Plaintiffs,                     CivilActionNo. 22-c.v-6112
                                                                             (DLC)
             v.

  UNITEDSTATES
  POSTALSERVICE,

                   Defendant.



                                  DECLARATION
                                            OF MARIEPATINO
I, MariePatino,declareas follows:

         1.       I am a journalistandhavebeena reporterfor Bloombergsin,ceApril2019 and was

a journalistspecificallyforBloombergCityLab("CityLab")fromJanuary2020 throughDecemb
                                                                                           er
2022. I am now a journaliston the Bloombergdata visualizationteam. CityLab is publish
                                                                                       edby
BloombergL.P., plaintiffin the above-captionedcase. I submitthis Declarationin support
                                                                                          of
Plaintiffs' Oppositionto Defendant'sMotion for SummaryJudgmentand Cross-Motion
                                                                              for
SummaryJudgment.I havepersonalknowledgeof the mattersdescribedherein.

        2.        On March30, 2021,in myrole as a reporterfor CityLab,I su1bmitted
                                                                                 a Freedomof
InformationAct ("FOIA")request to the United States Postal Service ("USPS"). A true
                                                                                        and
correctcopyof my requestis attachedheretoas Exhibit1 (the "BloombergFOIAReques
                                                                               t").
        3.        By letterdatedApril 19,2021,USPSdeniedthe BloombergFOIA Request. A true

and correctcopyofUSPS's denialis attachedheretoas Exhibit2.




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                                                                         change-of-address ("COA j
       4.      I previously submitted two FOJA requests to USPS for
                                                       2021, respectively, which were fulfilled on
data'on or around December 30, 2020 and February 2,
                                                       respectively: In response to those FOIA
or around January 5, 2021 and February 11, 2021,
                                                              ry 1, 2019 and November 30, 2020,
requests, I received (1) COA data from between Janua
                                                              , broken down by month and year, and
including origin and destination ZIP codes and move types
                                                       between January 2019 and December 2020,
(2) weekly temporary and permanent COA data from
                                                             ess moves, as reflected in ECF No. 1-7,
aggregated at the ZIP code level, for residential and busin
                                                            identical to the records that [Bloomberg]
ECF page no. 2 ("[T]he withheld records are virtually
                                                           , and ECF page nos. 15-16; 24-25 (USPS
had sought and received from USPS earlier this.year.")

determination letters).
                                                                           pts of responsive records I
       5.      Attached hereto as Exhibit 3 are true and correct excer
                                                            2020 request for COA data mentioned in
received from USPS in response to my December 30,

paragraph 4.




                                                           United ·states of America that the foregoing
I declare under penalty of perjury under the laws of the

is true and correct.


Executed this 2..Q_day orJa.v1«<lQ;
                                2023 in k,ndv               'll,      U.K .


                                                                               --  ->


                                               Marie Patino




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   EXHIBIT 1




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                                                                              Page  2 of 6
6/11/2021                                              FOIA-Public Access Link Request Detail page -Request-2021-FPRO-01469


                  2021-FPRO-014   Inbox (0)     Compose Message  Sent Messages                                             Withdraw Request
    Request -
                  69             Back (RequestStatus.aspx)

        Requester Details


                To modify request details please update your requester profile or contact the our office for
                assistance.

                Ms. Marie P Patino
                Journalist
                Bloomberg LP
                1101 New York Avenue NW
                Floor 9A - Bloomberg LP
                Washington, D.C., DC 20005
                Phone 202-807-2344
                mpatino14@bloomberg.net

                Requester Default Category: News Media




        Request Details


                Date Requested                 03/30/2021

                Status                         Closed




        General Information




              Requester Service
                                                                        >l




                                                HQ Records Office
              Center


              Action Office                  for Postal Service Headquarters controlled records
              Instructions                   including contracts, building leases, and other real estate
                                             transactions or employee listings




https://pfoiapal.usps.com/app/CreateRequest.aspx?edit=12860                                                                                      1/5


                                                                          JA117
                        Case
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              Requester Category Descriptions
                • Commercial Organization: A requester who asks for information for a use or
                  purpose that furthers a commercial, trade, or profit interest, which can include
                  furthering those interests through litigation.
                • Educational or Scientific: A requester who asks for information under the auspices
                  of an educational institution for the purpose of furthering scholarly research or
                  a requester that asks for information for an institution that is not operated on a
                  commercial basis, but solely for the purpose of conducting scientific research the
                  results of which are not intended to promoted any particular product or industry.
                • News media: A requester that gathers information of potential interest to a segment
                  of the public, uses its editorial skills to turn the raw materials into a distinct work, and
                  distributes that work to an audience. “News” means information that is about current
                  events or that would be of current interest to the public.
                • All others: You are a requester who does not fall within any of the preceding
                  categories.

              Requester Category
                                                News Media

              Send Response Via
                                                E-mail

              Payment Mode
                                                --------------Select---


        Shipping Address

              Address                                                                    Apartment/Suite
                                             I 1101 New York Ave I                       Number                       I Floor 9A - Bloombe I
              City
                                             I Washington, D.C. I                        State
                                                                                                                                             3
                                                                                                                          District of Columbia


                                             L                            3                                           L                      ~
              Country                                                                    Zip Code
                                                United States                                                            20005

        Request Information




https://pfoiapal.usps.com/app/CreateRequest.aspx?edit=12860                                                                                      2/5


                                                                          JA118
                        Case
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              Requesting Records About Another Person - you may receive greater access by
              including the record subject’s written consent and verification of identify, or in the case the
              subject is deceased, evidence of proof of their death. A death certificate, a newspaper
              obituary, or comparable proof of death can be used to meet this requirement. Otherwise,
              records relating to another person and disclosure of the records could invade that person’s
              privacy ordinarily will not be disclosed to you. You may add the authorization and verification
              of identity in the Privacy Waiver and Authorization attachment option below. To download
              an authorization form click here (http://about.usps.com/who-we-are/foia/privacy-waiver_07-
              25-2017.pdf).
              Requesting Records About Yourself - you must verify your identity and provide a signed
              request. Appropriate identification may include such information as your mailing address,
              employee identification number, or other personal identifier. You may also provide one of
              the following 1) a signed request that includes your identifying information and witnessed by
              a notary, or 2) a certification of identity statement immediately above the signature on your
              request letter: “I declare under penalty of perjury that the foregoing is true and correct.
              Executed on [date].” You may add your written, signed request and verification of identity in
              the Proof of Identity option below. To download a proof of identify form click here
              (http://about.usps.com/who-we-are/foia/identity-certification_07-25-2017.pdf).

              Description of
                                               Hello,
              Request
                                               Sorry for yet another request of this dataset
                                               -- change of addresses data, per zip, but
                                               only for the month of December 2020. I

              You may attach a pdf version of your written request in the Description Document
              attachment option below however you will be required to enter a brief description of the
              records requested.

              Date Range for                                                        To
              Record Search:                    01/12/2020                          (mm/dd/yyyy)                         01/01/2021
              From(mm/dd/yyyy)


              Description                      Add Attachment
              Document

              Privacy Waiver &                 Add Attachment
              Authorization

              Proof of Identity                Add Attachment


        Fee Information

              Willing Amount ($)
                                             L 25.00                      J
https://pfoiapal.usps.com/app/CreateRequest.aspx?edit=12860                                                                           3/5


                                                                          JA119
                        Case
                       Case   23-1005, DocumentDocument
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              To request a fee waiver you must be able to demonstrate:
                  • disclosure of the requested information is in the public interest because it is likely to
                    contribute significantly to public understanding of the operations or activities of the
                    Postal Service, and
                  • disclosure of the information is not primarily in your commercial interest.
              For additional information about fee waiver requests, see 39 CFR 265.9(j).

              Fee Waiver                          Add Attachment
              Requested

              Fee Waiver Granted             TBD

              Fee Waiver Request
                                               News media -- this is to inform the public of
              Reason
                                               migration patterns during the pandemic.



              Cost Details :


              Total Cost                     $0.00


              Cost Incurred                  $0.00


              Amount Paid                    $0.00

              Balance Amount                 $0.00


              Payment Status                 No Charges


              Willing to Pay All             D
              Fees


        Expedite Information

              Expedited Processing           D  Add Attachment
              Requested



              Explain in detail the basis for making the request for expedited processing. By completing
              this section, you certify that the statement provided to be true and correct. For additional
              information about completing this section, see 39 CFR 265.5(c).


              Need for Expedited
              Processing




https://pfoiapal.usps.com/app/CreateRequest.aspx?edit=12860                                                                   4/5


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                        Case
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https://pfoiapal.usps.com/app/CreateRequest.aspx?edit=12860                                                                   5/5


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   EXHIBIT 2




                             JA122
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                                                                       Page  2 of 3

      ADDRESSING & GEOSPATIAL TECHNOLOGY
      NATIONAL CUSTOMER SUPPORT CENTER

.::!!!!!!!!I
         UNITEDST/JTES
Ilia POSTIJL SERVICE

            April 19, 2021

            Ms. Marie P. Patino
            Journalist
            Bloomberg LP
            1101 New York Avenue Northwest Floor 9A
            Washington, DC 2005-4269
            VIA Email: mpatino14@bloomberg.net

            RE: FOIA Case No. 2021-FPRO-01469


            Dear Ms. Patino:

            Your Freedom of Information Act (FOIA) requests for information from the United States Postal
            Service® has been forwarded to my office for response. Your request sought the following:

                     Change-of-address (COA) data of December 2020, aggregated by ZIP Code. Data to
                     include origin/destination information.

            Information is maintained in the United States Postal Service change-of-address system for a
            maximum of four (4) years from the date a customer indicates on their change-of-address order to
            begin mail forwarding. After the four-year retention period, the change-of-address information is
            permanently deleted from the change-of-address system and no longer available for inquiry.

            Based on your description of records sought, it has been determined that the records you seek are
            exempt from disclosure under FOIA Exemption 3, 39 U.S.C. §410(c)(2).

            Exemption 3 allows an agency to withhold information that is “specifically exempted from disclosure by
            statute.” 5 U.S.C. § 552(b)(3). Section 410(c)(2) of the Postal Reorganization Act qualifies as an
            Exemption 3 statute. 39 U.S.C. § 410(c)(2). Section 410(c)(2) permits the Postal Service to withhold
            “information of a commercial nature, including trade secrets, whether or not obtained from a person
            outside the Postal Service, which under good business practice would not be publicly disclosed.” 39
            U.S.C. § 410(c)(2). Information of a commercial nature under Section 410(c)(2) is broadly defined to
            include all information that “relates to commerce, trade, profit, or the Postal Service’s ability to conduct
            itself in a businesslike manner.” 39 C.F.R. § 265.14(b)(3). In determining whether information is
            commercial in nature, the Postal Service considers six (6) factors relating to whether the information is
            more akin to its role as a business entity, a competitor in the market or a provider of basic public
            services. See 39 C.F.R. § 265.14(b)(3)(i). In addition, the Postal Service has identified an extensive,
            though not exhaustive, list of information that is commercial in nature and thus, exempt from disclosure
            under Section 410(c)(2). See 39 C.F.R. § 265.14(b)(3)(ii).

            Here, we find that the records you requested qualifies as “information of a commercial nature” under
            Section 410(c)(2) because the information is related to change-of-address counts which provides
            information that is under development for a commercial product. Accordingly, this information is
            exempt from disclosure under Exemption 3 of the FOIA and Section 410(c)(2).

            As information, we do have change-of-address data for the last four years on our FOIA website, which
            can be found at https://about.usps.com/who/legal/foia/welcome.htm.




     225 N HUMPHREYS BLVD STE 501
     MEMPHIS TN 38188-1001
     800-331-5746
     FAX 901-767-8853




                                                            JA123
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If you are not satisfied with the response to this request, you may file an administrative appeal within
90 days of the date of this response letter by writing to the General Counsel, U.S. Postal Service, 475
L’Enfant Plaza SW, Washington, DC 20260 or via email at FOIAAppeal@usps.gov. Your appeal must
be postmarked or electronically transmitted within 90 days of the date of the response to your request.
The letter of appeal should include, as applicable:

        (1)   A copy of the request, of any notification of denial or other action, and of any
              other related correspondence;
        (2)   The FOIA tracking number assigned to the request;
        (3)   A statement of the action, or failure to act, from which the appeal is taken;
        (4)   A statement identifying the specific redactions to responsive records that the
              requester is challenging;
        (5)   A statement of the relief sought; and
        (6)   A statement of the reasons why the requester believes the action or failure to
              act is erroneous.

For further assistance and to discuss any aspect of your request, you may contact any of the following:

        Michelle Evans
        Addressing & Geospatial Technology
        United States Postal Service
        225 North Humphreys Boulevard Suite 501
        Memphis, TN 38188-1001
        Phone: 901-681-4474

        Privacy & Records Office
        United States Postal Service
        475 L'Enfant Plaza Southwest Room 1P830
        Washington, DC 20260-1101
        Phone: 202-268-2608
        Fax: 202-268-5353
        FOIA Public Liaison: Nancy Chavannes-Battle

Additionally, you may contact the Office of Government Information Services (OGIS) at the National
Archives and Records Administration to inquire about the FOIA mediation services they offer. The
contact information for OGIS is as follows:

        Office of Government Information Services
        National Archives and Records Administration
        8601 Adelphi Road-OGIS
        College Park, MD 20740-6001
        Email: ogis@nara.gov
        Telephone: 202-741-5770
        Toll free: 1-877-684-6448
        Facsimile: 202-741-5769

Sincerely,




James D. Wilson
Director, Addressing and Geospatial Technology

cc: Records Office




                                               JA124
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   EXHIBIT 3




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     YYYYMM     Old Zip     New Zip     Perm Total Temp Total
        201901 00602       "60602               18          0
        201901 lo612       "60612               17          1
        201901"60617       "60617               13          0
        201901 "60637      "60637               11          0
        201901 "60646      "60646               20          0
        201901 "60650      "60650               13          0
        201901 "60662      "60662               16          0
        201901 "60698      "60698               11          0
        201901 "60123      "60123               22          0
        201901 "60757      "60757               11          0
        201901 "60769      "60769               14          0
        201901 "60782      "60782               11          0
        201901 "60924      "60924               12          0
        201901 "60926      "60926               24          1
        201901 "61001      "61001               16          4
        201901 "61002      "61002               35          3
        201901 "61007      "61007               14          2
        201901 "61013      "61013               55          4
        201901 "61013      "61020               23          0
                                      -+--
        201901 "61013      "61040               24          1
        201901 "61013      "61089               15          2




                             JA126
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                                                                           of 2



                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK


 BLOOMBERG L.P.

  and

 DOW JONES & COMPANY, INC.,

                  Plaintiffs,                          Civil Action No. 22-cv-6112 (DLC)
          V.

 UNITED STATES
 POSTAL SERVICE,

                  Defendant.



                                DECLARATION OF PAUL OVERBERG

I, Paul Overberg, declare as follows:

         1.      I am a journalist and have been a reporter for The Wall Street Journal ("WSJ") since

September 2015. The WSJ is owned by Dow Jones & Company, Inc., plaintiff in the above-

captioned case. I submit this Declaration in support of Plaintiffs' Opposition to Defendant's

Motion    for Summary    Judgment   and Cross-Motion    for Summary    Judgment.    I have personal

knowledge of the matters described herein.

         2.      On September 15, 2021, in my role as a reporter for WSJ, I submitted a Freedom

of Information Act ("FOIA") request to the United States Postal Service ("USPS"). A true and

correct copy of my request is attached hereto as Exhibit 1 (the "Dow Jones FOIA Request").

         3.      By letter dated September 17, 2021, USPS denied the Dow Jones FOIA Request.

A true and correct copy ofUSPS's denial is attached hereto as Exhibit 2.




                                               JA127
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                                                                          of 2



        4.        I previously submitted two FOIA requests to USPS for change-of-address ("COA")

data on or around February 8, 2021, and March 15, 2021, which were fulfilled on or around

February 12, 2021, and March 17, 2021, respectively. In response to those FOIA requests, I

received monthly data showing the number of residential USPS customers who filed a change-of-

address request form in 2017 and between 2018 and 2020, aggregated for each pair of counties

representing the "to" and "from" locations of the request, as reflected in ECF No. 1-3, ECF page

no. 5 ("[T]he Postal Service has previously, repeatedly released COA records, including

origin/destination data, in response to FOIA requests."), and ECF page nos. 7-10 (USPS

determination letters).

        5.        Attached hereto as Exhibit 3 are true and correct excerpts of responsive records I

received from USPS in response to my February 8, 2021 request for COA data mentioned in

paragraph 4.




I declare under penalty of perjury that the foregoing is true and correct.

              .     ;7        ,
Executed this j.J___
                  day of vtt,1 t,Ny
                                      /




                                               Paul Overberg




                                               JA128
 Case
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  EXHIBIT 1




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----------------------------------------------------------
 Request. 2021-FPRO-03224                                                    ~ Inbox        (0)   ~ Compose    Message      A Sent Messages         Withdra\V   Request    •   Back



    Requester Details


                To modify request details please update       your requester        profile or contact the our office for assistance.


                Paul Overberg
                WaJ Stret-t JoumaJ
                102SConnecticutAve NW
                Suite800
                Washi~too, DC 20036
                Phon,e 202-862-9261
                pauloverberg@wsj.com

                RequesterDefaultCategory:NewsMedia




    Request Details



                Date Requested                   09/15/2021

                Status                           Closed




  GeneBI lnfMm.aition




          RequesterServiceCenter
                                                HQ RecordsOffice

          ActionOffict lnSUU<tions            for ?ostl,I Strvic:tHudqu.1.tttrscontroled rtc0tds il\CludingcomrKU.. building ltawt. •.nclotMr rul
                                              nutt ttlnPCtions   Of lfflployff   liflings


          Requester Category Descriptions
                • Commercial Organization: A requester who asks for information for a use or purpose that furthers a commercial, trade, or profit interest,
                  which can include furthering those interests through litigation.
                , Educational or Scientific: A requester who asks for information under the auspices of an educational institution for the purpose of
                  furthering scholarly research or a requester that asks for information for an institution that is not operated on a commercial basis, but solely
                  for the purpose of conducting scientific research the results of which are not intended to promoted any particular product or industry .
                • News media: A requester that gathers information of potential interest to a segment of the public, uses its editorial skills to turn the raw
                  materials into a distinct work, and distributes that work to an audience. "News• means information that is about current events or that would
                  be of current interest to the public.
                , All others: You are a requester who does not fall within any of the preceding categories.

          RequesterCatego,y
                                                News Media


                                                E-mail

                                                Check


  Shipping Address

          Acldrus
                                                1025 Connect,cut Ave NW                                                                             Suite 800

          O;y                                                                                              State
                                                Washington                                                                                           Districtof Columbia

          Country                                                                                          Zip Codt
                                                                                                                                                    20036




                                                                                            JA130
               Case
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Request Information
Describe the records sought in sufficient detail to enable USPS personnel to locate them with a reasonable amount of effort. Whenever possible, include
specific information about each record sought such as the type of record; the title or case number of a specific document or report; the topic or subject
matter, the name of the office, facility, functional unit or employees most likely to possess the record, the geographical location, such as a city and
state, where the records are thought to exist; the date or general timeframe of the record's creation; and any details related to the purpose of the record.
For additional information about how to submit a FOIA request, see 39 CFR 265.3(c). A request that does not reasonably describe the records sought, or
does not comply with the published rules regarding the procedures to be followed for submitting a request, will be deemed to be an improper FOIA
request. A request for any and all records about a broad subject matter is generally not a reasonable description.


        Requesting Records About Another Person - you may receive greater access by including the record subject's written consent and verification
        of identify, or in the case the subject is deceased, evidence of proof of their death. A death certificate, a newspaper obituary, or comparable proof of
        death can be used to meet this requirement. Otherwise, records relating to another person and disclosure of the records could invade that
        person's privacy ordinarily will not be disclosed to you. You may add the authorization and verification of identity in the Privacy Waiver and
        Authorization attachment option below. To download an authorization form click here.
        Requesting Records About Yourself. you must verify your identity and provide a signed request. Appropriate identification may include such
        information as your mailing address, employee identification number, or other personal identifier. You may also provide one of the following 1) a
        signed request th at includes your identifying information and witnessed by a notary, or 2) a certification of identity statement immediately above
        the signature on your request letter: •1declare under penalty of perjury that the foregoing is true and correct. Executed on (date)." You may add
        your written, signed request and verification of identity in the Proof of Identity option below. To download a proof of identify form click here.

        Descriptionof Request
                                          Thank you for quick fulfillment of two earlier requests, No. 2021·         J,;
                                          FPR0-00980 and No. 2021 ·FPR0-01334. They included monthly
                                          summary data showing the number of residential postal customers
                                          who filed change-of-address requests in 2017-2020. They contained
                                          separate tallies for temporary and permanent requests. They were

        You may attach a pdf version of your written request in the Description    Document attachment option below however you will be required to enter
        a brief description of the records requested.

        Date RollQefot Record Search:                                                        To
        From(mm/dd/yyyy)                                                                     (mm/ddfyyyy)


        DescriptionDocument              ei Add Attachment

        PrivacyWaiver& Authorization     ei Add Attachment


        Proofof Identity                 ei Add Attachment

Fee Information
You may state the maximum amount of fees for which you are willing to accept liability without prior notice. If no amount is stated, you will be deemed
willing to accept liability for fees not to exceed $25.00.

Records will be furnished without charge or at a reduced r.ate if you are able to demonstrate that 1) disclosure of the requested information is in the public
interest because it is likely to contribute significantly to public understanding of the operations or .activities of the Postal Seivice, and 2) disclosure of the
information is not primarily in your commercial interest. For additional information about fee waiver requests, see 39 CFR 265.9G).


        WilfillQAmou n.t(S)
                                           100.00

        To request a fee waiver you must be able to demonstrate:
            • disclosure of the requested information is in the public interest because it is likely to contribute significantly to public understanding of the
              operations or activities of the Postal SelVice, and
             • disclosure of the information is not primarily in your commercial interest.

        For additional information about fee waiver requests, see 39 CFR 265.9G).

        FeeWaiverRequested               !lei Add Attachment

        FeeWaiverGranted                 TBD


        ~eeWaiverR.equestR.eason
                                          As a reporter for The Wall Street Journal, a news media organization, I
                                          request a waiver of fees. Release of this information is likely to
                                          contribute significantly to public understanding of pandemic effects,
                                          including on postal operations.




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         Cost Details :


         TotaJCost                         10.00

         Cost lncuued                      !0.00

         Amount Paid                       !0.00

         Ba:lance
                Amount                     !0.00

         Payment Status                    NoCha:rges


         WtlfillQto Pay All Fees


 Expedite Information
 Requests will be processed on an expedited basis wheneverit is determinedthat they involvecircumstances in which the lack of expedited processing
 could reasonably be expected to pose an imminent threat to the life or physic.alsafety of an individualor there is an urgency to inform the public about an
 actual or alleged Federal Governmentactivity, if made by a personwho is primarily engagedin disseminating information.

       ExpeditedProcess:illQ       ~ Add Attachment
       Requested



       Explain in detail the basis for making the request for expedited processing. By completing this section, you
       certify that the statement providedto be true and correct. For additional information about completing this
       section, see 39 CFR 265.5(c).


       Nffd for Exi><dit<d
       Process:illQ




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                                                                        JA132
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  EXHIBIT 2




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           PRIVACY & RECORDS MANAGEMENT OFFICE

~ UNITED           ST/JTES
ll.iiifr   POST/JL SERVICE

           September 17, 2021


           Via Email: paul.overberg@wsj.com


           Paul Overberg
           Wall Street Journal
           1025 Connecticut Ave NW, Suite 800
           Washington, DC 20036


           RE: FOIA Case No. 2021-FPRO-03224

           Dear Mr. Overberg:

           This responds to your Freedom of Information Act (FOIA) requests dated September 15, 2021 in which you
           seek access to Postal Service county-level change-of-address (COA) records between January and June
           2021, including origin/destination data.

           There is a longstanding practice of limiting the data reported for COA orders. During Hurricane Katrina, a
           policy was established that prohibits disclosure of COA volume where the count is less than ten (10). The
           purpose of this policy was to minimize the ability of a data recipient to identify where any specific
           individual(s) may have moved from or to, which would be a violation of our responsibility to safeguard the
           privacy interests of customers submitting COA orders.

           Please note that some of the records you have requested are records that the Postal Service has recently
           decided to make available for public inspection in accordance with the FOIA, 5 U.S.C. § 552(a)(2). The
           records you have requested consist of:

                     Records that have been released to previous FOIA requesters and that the Postal Service has
                     determined have become or are likely to become the subject of subsequent requests for
                     substantially the same records; and

                     Records that have been released to previous FOIA requesters and that have been requested three
                     (3) or more times

           Because the Postal Service has made these records publicly available in its public and/or electronic reading
           rooms, we will not process these records in response to your FOIA request made under 5 U.S.C. §
           552(a)(3). Instead, please note that the records that you seek are available on our website under the FOIA
           Library – Change of Address Stats. Given the highly sought data of COA records, requests will no longer
           be processed under the FOIA as the information is available to the general public. It is available as an Excel
           spreadsheet which allows ease of customization by each individual data seeker after download. Any and all
           COA data to be released is available at the below-referenced FOIA Library website, which will be updated
           on a monthly basis:

                     https://about.usps.com/who/legal/foia/welcome.htm.

           You may now obtain county level information by purchasing the Postal Service’s City State Product or from
           another source. For more information regarding our City State Product, please contact the National
           Customer Support Center at 1-800-238-3150 as this information is no longer being processed under the
           FOIA.



           475 L’Enfant Plaza SW, Rm. 1P830
           Washington DC 20260-1101
           (202) 268-2608
           FAX: (202) 268-5353


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In regard to the remaining portion of your request pertaining to origin/destination data, based on your
description of records sought, it has been determined that this portion of the records you seek are now
exempt from disclosure under FOIA Exemption 3, 39 U.S.C. §410(c)(2).

Exemption 3 allows an agency to withhold information that is “specifically exempted from disclosure by
statute.” 5 U.S.C. § 552(b)(3). Section 410(c)(2) of the Postal Reorganization Act qualifies as an
Exemption 3 statute. 39 U.S.C. § 410(c)(2). Section 410(c)(2) permits the Postal Service to withhold
“information of a commercial nature, including trade secrets, whether or not obtained from a person outside
the Postal Service, which under good business practice would not be publicly disclosed.” 39 U.S.C.
§410(c)(2). Information of a commercial nature under Section 410(c)(2) is broadly defined to include all
information that “relates to commerce, trade, profit, or the Postal Service’s ability to conduct itself in a
businesslike manner.” 39 C.F.R. § 265.14(b)(3). In determining whether particular information is
commercial in nature, the Postal Service considers six (6) factors relating to whether the information is more
akin to its role as a business entity, a competitor in the market or a provider of basic public services. See
39 C.F.R. § 265.14(b)(3)(i).

Here, we find that the records you requested qualify as “information of a commercial nature” under Section
410(c)(2) because it is related to COA counts by origin and destination which is information that is now, at
the moment, currently under development for a commercial product. Requests for COA data that seek the
originating and destination location, at any level, is no longer releasable under the FOIA. Accordingly, this
information is exempt from disclosure under Exemption 3 of the FOIA and Section 410(c)(2).

If you are not satisfied with the response to this request, you may file an administrative appeal within ninety
(90) days of the date of this response letter by writing to the General Counsel U.S. Postal Service 475
L’Enfant Plaza SW Washington, DC 20260 or via email at FOIAAppeal@usps.gov. Your appeal must be
postmarked or electronically transmitted within ninety (90) days of the date of the response to your request.
The letter of appeal should include, as applicable:

    (1) A copy of the request, of any notification of denial or other action, and of any other
       related correspondence;
    (2) The FOIA tracking number assigned to the request;
    (3) A statement of the action, or failure to act, from which the appeal is taken;
    (4) A statement identifying the specific redactions to responsive records that the requester
       is challenging;
    (5) A statement of the relief sought; and
    (6) A statement of the reasons why the requester believes the action or failure to act is
       erroneous.

For further assistance and to discuss any aspect of your request, you may contact any of the following:

        PRIVACY & RECORDS OFFICE
        US POSTAL SERVICE
        475 L'ENFANT PLAZA SW RM 1P830
        WASHINGTON DC 20260-1101
        Phone: (202) 268-2608
        Fax: (202) 268-5353
        FOIA Public Liaison: Nancy Chavannes-Battle

Additionally, you may contact the Office of Government Information Services (OGIS) at the National
Archives and Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National Archives and
Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769.


Sincerely,




Tai Thompson
Government Information Specialist

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  EXHIBIT 3




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YYYYMM 0 Old County         0 Old State[:] New County        0 New State [:]Total Perm [:]Total Temp~
   20200S DISTRICTOF COLUMBIA DC           PHILADELPHIA        PA                     36             0
   202005 PHILADELPHIA        PA           DISTRICTOF COLUMBIA DC                     48             0




 YYYYMM Old County                 Old State   New County            New State Total Perm Total Temp
   201801 ABBEVILLE                SC          ABBEVILLE             SC                65         0
   201801 ABBEVILLE                SC          ANDERSON              SC                12         0
   201801 ACADIA                   LA          ACADIA                LA               202        11
   201801 ACADIA                   LA          LAFAYETTE             LA                46         0
   201801 ACADIA                   LA          SAINT LANDRY          LA                22         0
   201801 ACCOMACK                 VA          ACCOMACK              VA                93         0
   201801 ADA                      ID          ADA                   ID              2606       107
   201801 ADA                      ID          BONNEVILLE            ID                14         0
   201801 ADA                      ID          CANYON                ID               296         0
   201801 ADA                      ID          CLARK                 NV                 0        12
   201801 ADA                      ID          ELMORE                ID                25         0
   201801 ADA                      ID          GEM                   ID                18         0
   201801 ADA                      ID          KING                  WA                30        17
   201801 ADA                      ID          LOSANGELES            CA                12         0
   201801 ADA                      ID          MARICOPA              AZ.               32        51
   201801 ADA                      ID          MOHAVE                AZ.                0        12
   201801 ADA                      ID          ORANGE                CA                11         0
   201801 ADA                      ID          PAYETTE               ID                12         0
   201801 ADA                      ID          PIMA                  AZ.                0        26
   201801 ADA                      ID          RIVERSIDE             CA                 0        34
   201801 ADA                      ID          SALT LAKE             UT                14         0
   201801 ADA                      ID          SAN DIEGO             CA                18        11
   201801 ADA                      ID          TWIN FALLS            ID                18         0
   201801 ADA                      ID          VALLEY                ID                16         0
   201801 ADA                      ID          YUMA                  AZ.                0        13
   201801 ADAIR                    KY          ADAIR                 KY                92         0
   201801 ADAIR                    KY          TAYLOR                KY                20         0
   201801 ADAIR                    MO          ADAIR                 MO               114         0
   201801 ADAIR                    OK          ADAIR                 OK                75         0




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 BLOOMBERG L.P. and DOW JONES & COMPANY,
 INC.,

                                     Plaintiffs,
                                                                   22 Civ. 6112 (DLC)
                               -v-
UNITED STATES POSTAL SERVICE,

                                     Defendant.



                SUPPLEMENTAL DECLARATION OF JEFFREY TACKES

       I, Jeffrey Tackes, make the following Supplemental Declaration in lieu of an affidavit in

accordance with the provisions of 28 U.S.C. § 1746. I understand that my declaration may be

introduced into the record of the above captioned action.

       1.       I am over the age of 18, am competent to testify, and have personal knowledge of

the facts and information set forth in this declaration.

       2.       The purpose of this declaration is to provide additional information with respect

to the Population Mobility Trends product that was described in my Declaration dated December

9, 2022 (“December 2022 Declaration”), in order to address certain assertions made in Plaintiffs’

Combined Memorandum of Law In Opposition to Defendant’s Motion for Summary Judgment

and In Support of Plaintiffs’ Cross Motion for Summary Judgment, dated January 20, 2023

(“Combined Memorandum of Law”).

       3.       As set forth in Paragraph 30 of my December 2022 Declaration, and as of the

date of this Supplemental Declaration, USPS anticipates that the Population Mobility Trends




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product will be released in April or May of 2023. The product is currently in the final stages of

development.

         4.       As I explained in Paragraph 36 of my December 2022 Declaration, the Population

Mobility Trends product will include restrictions on use, access, distribution, and retention that

are included in all of USPS’s data licenses. Although USPS cannot publicly release at this time

the specific terms of the restrictions of the Population Mobility Trend product’s use, access,

distribution, and retention in advance of launching the product, it can represent that the

restrictions will prohibit the wholesale public release of an entire data file provided to a paying

Population Mobility Trends licensee. By contrast, the use, access, distribution, and retention

restrictions will not “prevent Plaintiffs from incorporating COA data into a helpful visualization

or chart,” or prohibit Plaintiffs from “publi[shing] . . . any analysis of COA data,” as Plaintiffs

suggest on page 24 of their Combined Memorandum of Law.

         5.       As set forth in Exhibit A of the December 2022 Declaration, plaintiff Dow Jones

& Company’s FOIA Request (“Dow Jones FOIA Request”) submitted on or about September 15,

2021, sought “monthly summary data showing the number of residential postal customers who

filed change-of-address requests” from January 2021 to June 2021, and sought “separate tallies

for temporary and permanent requests.” The Dow Jones FOIA Request asked USPS to send its

response as an Excel file with columns named: (a) YYYYMM; (b) Old County; (c) Old State; (d)

New County; (e) New State; (f) Total Perm[anent]; and (g) Total Temp[orary].

         6.       As set forth in Exhibit E of the December 2022 Declaration, plaintiff Bloomberg

L.P.’s FOIA Request (“Bloomberg FOIA Request”) submitted on or about March 30, 2021

requested “[c]hange of addresses data, per zip [code], but only for the month of December

2020.”




                                                  2

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        7.      The change-of-address data to be incorporated in Population Mobility Trends will

include the data sought in both FOIA Requests because the quantity of change-of-address

requests for each 5-digit ZIP code will include monthly counts for business, family, individual,

permanent and temporary counts originating from each ZIP code, as well as aggregated counts

for the number of change-of-address requests that moved to within the county, or within the

state, and out of the state. In addition, for every ZIP code, the quantity of change-of-address

requests for each 5-digit ZIP Code will include monthly counts for business, family, individual,

permanent and temporary counts destinating to each ZIP code, as well as aggregated counts for

the number of change-of-address requests that moved from within the county, or within the state,

and outside of the state. This data will encompass the January 2021 to June 2021 timeframe in

the Dow Jones FOIA Request, and the December 2020 timeframe in the Bloomberg LP FOIA

Request, and will be available in monthly refreshed files, as well as monthly historical files up to

the maximum of 48 months.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

declaration is true and correct.


Executed in Washington, D.C., on February 17, 2023.


                                                      ·P:·~~1,

                                                  E-S1i<,;Nt~ by Jeffrey.J Tackes
                                                   on2023/O2-17 16:26:52 CST
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                                                     JEFFREY TACKES




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                                            U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     86 Chambers Street
                                                     New York, New York 10007


                                                      May 16, 2023

VIA ECF
Honorable Denise L. Cote
United States District Judge
United States District Court
500 Pearl Street, Room 1910
New York, New York 10007

              Re:     Bloomberg L.P. v. United States Postal Service,
                      22 Civ. 6112 (DLC)

Dear Judge Cote:

        This Office represents defendant United States Postal Service (“USPS” or the
“Government”) in the above-referenced matter commenced by plaintiffs Bloomberg L.P. and
Dow Jones & Company (jointly, “Plaintiffs”) under the Freedom of Information Act, 5 U.S.C.
§ 552 (“FOIA”). This case concerns two FOIA requests submitted by Plaintiffs to USPS seeking
records regarding change-of-address (“COA”) data from December 2020, and from January 2021
to June 2021, respectively. The parties have cross-moved for summary judgment on whether the
COA data sought by Plaintiffs is exempt from disclosure under FOIA Exemption 3, 5 U.S.C.
§ 552(b)(3), because it is “information of a commercial nature” within the meaning of the Postal
Reorganization Act of 1970, 39 U.S.C. § 410(c)(2). As set forth in the Government’s briefs and
supporting declarations, the COA data is “information of a commercial nature” because it will be
sold commercially as a part of an anticipated USPS data-licensing product called “Population
Mobility Trends.” See, e.g., Decl. of Jeffrey Tackes, dated Dec. 9, 2022 [ECF No. 18].

        We write respectfully to inform the Court that on May 12, 2023, USPS launched the
Population Mobility Trends product as a “tabular dataset built upon aggregated USPS National
Change of Address data and 2020 Census demographics,” and is accepting paid subscription
orders for the product. The data offerings include historical COA data for the previous 48-month
period, to be refreshed monthly.1 See USPS® Population Mobility Trends,
https://postalpro.usps.com/pmt. Because USPS is selling the COA data sought by Plaintiffs as a
commercial product, the data is squarely “information of a commercial nature” and exempt from
disclosure under FOIA Exemption 3. Accordingly, and for the reasons set forth in USPS’s
motion papers, this Court should grant USPS’s motion for summary judgment in this case.

       We thank the Court for its consideration of this letter.




1
 For example, if a 48-month file is released to a subscriber in June 2023, the file will contain
historical COA data from the prior 48 months, from June 2019, to May 2023.



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Hon. Denise L. Cote                                                       Page 2 of 2
May 16, 2023



                                                Respectfully submitted,

                                                DAMIAN WILLIAMS
                                                United States Attorney
                                                Counsel for Defendant

                                          By:    /s/ Tomoko Onozawa
                                                TOMOKO ONOZAWA
                                                Assistant United States Attorney
                                                Tel: (212) 637-2721
                                                Fax: (212) 637-2717
                                                Email: tomoko.onozawa@usdoj.gov


cc:   All Counsel of Record (via ECF)




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REPORTERS
COMMITTEE
FOR FREEDOM OF THE PRESS
                                                           May 22, 2023
1156 15th St. NW, Suite 1020
Washington, D.C. 20005
(202) 795-9300 • www.rcfp.org
                                                           Honorable Judge Denise Cote
Bruce D. Brown, Executive Director
bruce.brown@rcfp.org • (202) 795-9301                      United States District Judge
                                                           U.S. District Court for the Southern District of New York
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WOLF BLITZER
CNN
DAVID BOARDMAN
Temple University                                          VIA ECF
THEODORE J. BOUTROUS, JR.
Gibson, Dunn & Crutcher LLP
MASSIMO CALABRESI
Time Magazine
                                                           Re: Bloomberg L.P. and Dow Jones & Company, Inc. v. United States
LYNETTE CLEMETSON
University of Michigan
                                                               Postal Service (22-cv-6112 (DLC))
NIKHIL DEOGUN
Brunswick Group
MANNY GARCIA                                               Dear Judge Cote,
Austin American-Statesman
EMILIO GARCIA-RUIZ
San Francisco Chronicle                                            Plaintiffs write to respond to Defendant’s supplemental filing, ECF
JOSH GERSTEIN
POLITICO                                                   No. 33. As detailed in Plaintiffs’ Memorandum in Support of their Cross-
ALEX GIBNEY
Jigsaw Productions                                         Motion for Summary Judgment, ECF No. 24 (“Cross-Mot.”), Dow Jones &
SUSAN GOLDBERG
GBH
                                                           Company, Inc. and Bloomberg L.P. submitted requests under the Freedom of
GAIL GOVE
NBCUniversal
                                                           Information Act (“FOIA” or the “Act”), 5 U.S.C. § 552, to the United States
JAMES GRIMALDI                                             Postal Service (“USPS”) for change-of-address (“COA”) data reflecting
The Wall Street Journal
LAURA HANDMAN                                              aggregate net-flows of persons and businesses to and from different
Davis Wright Tremaine
DIEGO IBARGÜEN                                             jurisdictions across the nation. USPS has withheld that data, citing FOIA
Hearst
JEREMY JOJOLA
                                                           Exemption 3 and the Postal Reorganization Act, 39 U.S.C. § 410(c)(2).
9NEWS Colorado
KAREN KAISER
Associated Press                                                   USPS’s recent letter informs the Court of the launch of its Population
KIMBRIELL KELLY
The Los Angeles Times                                      Mobility Trends product and argues that “[b]ecause USPS is selling the COA
DAVID LAUTER
The Los Angeles Times
                                                           data sought by Plaintiffs as a commercial product, the data is squarely
MARGARET LOW
WBUR
                                                           ‘information of a commercial nature’ and exempt from disclosure under FOIA
COLLEEN MCCAIN NELSON                                      Exemption 3.” ECF No. 33. But the mere fact that government data has value,
The McClatchy Company
MAGGIE MULVIHILL                                           or could be sold, does not make it “commercial” for the purposes of 39 U.S.C.
Boston University
JAMES NEFF                                                 § 410(c)(2). See Cross-Mot. at 6–8; cf. Carlson v. USPS, 504 F.3d 1123, 1129
The Philadelphia Inquirer
NORMAN PEARLSTINE
                                                           (9th Cir. 2007) (“While the Postal Service argues the requested information
THOMAS C. RUBIN                                            concerning post offices is commercial because it has value, this is too broad a
Stanford Law School
BRUCE W. SANFORD                                           definition of commercial.”).
BakerHostetler, retired
CHARLIE SAVAGE
The New York Times                                                 The launch of Population Mobility Trends supports Plaintiffs’
JENNIFER SONDAG
Bloomberg News                                             arguments in this matter. First, it confirms, as previously argued by Plaintiffs,
NABIHA SYED
The Markup                                                 that the data Defendant is selling and the data Plaintiffs seek are not one in the
ADAM SYMSON
The E.W. Scripps Company                                   same. See Ex. A1 at 2 (Population Mobility Trends’ Technical Guide, stating
PIERRE THOMAS
ABC News
                                                           that “[f]or each old ZIP Code, the product returns the three ZIP Codes with
MATT THOMPSON
The New York Times
                                                           the highest COA volume customers are moving to per County, In
VICKIE WALTON-JAMES                                        State/Outside County, and Outside State, for a total of nine possible returns”).
NPR
SUSAN ZIRINSKY
CBS News                                                   1
HONORARY LEADERSHIP COUNCIL
                                                                    Plaintiffs respectfully request that the Court take judicial notice of the referenced
J. SCOTT APPLEWHITE, Associated Press                      exhibits, which are from Defendant’s website; such notice is proper pursuant to Fed. R.
CHIP BOK, Creators Syndicate
DAHLIA LITHWICK, Slate
                                                           Evid. 201. See, e.g., Wells Fargo Bank, N.A. v. Wrights Mill Holdings, LLC, 127 F. Supp.
TONY MAURO, American Lawyer Media, retired                 3d 156, 167 (S.D.N.Y. 2015).
JANE MAYER, The New Yorker
ANDREA MITCHELL, NBC News
CAROL ROSENBERG, The New York Times
PAUL STEIGER, ProPublica
SAUNDRA TORRY, Freelance
JUDY WOODRUFF, The PBS NewsHour


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Affiliations appear only for purposes of identification.
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As Plaintiffs have explained, what Population Mobility Trends provides is not what
Plaintiffs requested. See Decl. of Paul Overberg, ECF No. 27, Ex. 1; Decl. of Marie Patino,
ECF No. 26, Ex. 1; see also Cross-Mot. at 19–20 (explaining that Dow Jones requested
county data by state, not ZIP-code data, and that Plaintiffs’ requests are not limited to the
top three ZIP codes where populations are moving).

        Further, the newly-published pricing and sample “Data License Agreement” for
Population Mobility Trends confirms that if USPS is allowed to withhold COA data under
FOIA, journalists’ ability to use this important information in their reporting will be
stymied—if not completely eviscerated. With respect to pricing, USPS seeks to charge up
to $277,000 for four years of data. See Ex. B (Population Mobility Trends Order Form).
Such pricing would effectively eliminate access for members of the press and public,
ensuring that the only beneficiaries of this government data are commercial enterprises that
can afford to pay hundreds of thousands of dollars. That is contrary to FOIA. As then-
Judge Jackson explained in 2018, “the information and records that an agency possesses
rightfully belong to the public[.]” Yanofsky v. Dep’t of Commerce, 306 F. Supp. 3d 292,
293 (D.D.C. 2018) (emphasis added) (holding Department of Commerce could not charge
$173,775 for data files requested by journalist).

        Moreover, as anticipated by Plaintiffs, see Cross-Mot. at 23–24, Population
Mobility Trends’ sample “Data License Agreement” contains onerous restrictions on
licensees’ use of USPS’s data that would inhibit reporting by the news media. See Ex. C.
According to the sample agreement, licensees must agree to restrictions on their ability to
“use, copy, modify, and distribute” the data; further, licensees “shall not disclose, release,
[or] distribute . . . any portion of the [d]ata . . . to any third party without [Defendant’s]
prior written consent”; and, inter alia, shall not “publish . . . or otherwise make available
the [d]ata or . . . . or display any compilation or directory of the [d]ata.” Id. Especially
troubling for journalists is the provision stating that licensees must agree that USPS has the
right “to examine such books and records in [the l]icensee’s possession or under its control
with respect to the subject matter and terms of th[e license a]greement.” Id. A government
audit of journalists’ work is an affront to and incompatible with an independent press.

        For these reasons and those set forth in their briefing, Plaintiffs respectfully request
that the Court deny Defendant’s motion for summary judgment and enter summary
judgment in Plaintiffs’ favor. We thank the Court for its consideration of this letter.

                                                   Respectfully submitted,

                                                   /s/ Katie Townsend
                                                   ktownsend@rcfp.org
                                                   REPORTERS COMMITTEE FOR FREEDOM
                                                   OF THE PRESS
                                                   1156 15 Street NW, Suite 1020
                                                   Washington, D.C. 20005
                                                   202.795.9303

                                                   Counsel for Plaintiffs


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Overview
The Population Mobility Trends product utilizes USPS Change-of-Address information to provide
statistical information about customer moving trends. The product includes the most common moving
trends based on the following factors:

   -   Old address ZIP Code to New address ZIP Codes migration information:
          o Top 3 movements within same county
          o Top 3 movements outside county but within same state
          o Top 3 movements outside state
   -   Top 3 demographic patterns related to (refer to Demographics Categories):
          o Median Age
          o Median Income
          o Average Household Size
   -   Multi-dwelling address information from the USPS Address Management System

No personally identifiable COA information is provided by the Population Mobility Trends product.




Demographic Categories
Demographic categories of Median Age, Medium Incomes, and Average Household Size are assigned to
each COA based on carrier route information. Each category is grouped as follows:
                                                                    Average
                       Median Age         Median Income
                                                                 Household Size
                           20-24              < $15,000                  1
                           25-34          $15,000 – $24,999              2
                           35-44          $25,000 – $34,999              3
                           45-54          $35,000 – $49,999              4
                           55-64          $50,000 – $74,999              5
                           64-74          $75,000 – $99,999          6 or more
                           75-84         $100,000 – $149,999
                           > 85          $150,000 – $199,999
                                             > $200,000

Requirements for Low Volume Demographics
In cases where the demographics information is not available or extremely low, no information is
provided. Listed below is the criteria used to determine when to provide zero counts in the demographic
data.
    1. Age – Less than 20
    2. Income – Less than 0
    3. Household Size – Less than 1




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ZIP Code Data
For each Old and New ZIP Code, the Population Mobility Trends product returns the following data:

       Percentage of Residential Multi-Family Addresses (Residential Highrise Addresses)
       Percentage of Business Multi-Tenant Addresses (Business Highrise Addresses)


For each old ZIP Code, the product returns the three ZIP Codes with the highest COA volume customers
are moving to per County, In State/Outside County, and Outside State, for a total of nine possible returns
(limitations may exist based on volume restrictions):

       Top 3 New ZIP Codes within County
       Top 3 New ZIP Codes within State outside County
       Top 3 New ZIP Codes outside State

In addition, the top 3 Median Age, Median Income, and Average Household Size is provided for each
Old/New ZIP Code combination.

If the any ZIP Code has fewer than 11 COAs, no data is returned for that ZIP Code.




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Report File Layout – Copyright Record
Data is provided in comma-delimited (.csv) file format.
Filename = pmtmonthly.csv and pmt48.csv



     Field Name             Length     Description
     Copyright Code            1       C = Copyright
     Filler                    11
     Copyright Statement       8       COPYRIGHT ©
     Filler                    1
     File Version Year         5       2023.
     Filler                    5
     Copyright Notice          20      ALL RIGHTS RESERVED.
     Filler                    1
     Census Notice             53      DEMOGRAPHIC DATA SOURCED FROM THE U.S. CENSUS BUREAU.




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    Report File Layout – Detail Record
    Data is provided in comma-delimited (.csv) file format.
    Filenames = pmtmonthly.csv and pmt48.csv

Field Name                          Length     Description
COA Date                                8      Year and Month of Move Effective Date
OLD ZIP                                 5      Old Address ZIP Code derived from Change-of-Address
OLD City                               28      Old Address City derived from Change-of-Address
OLD State                               2      Old Address State derived from Change-of-Address
OLD County                             20      Old Address County derived from Change-of-Address
NEW Distance                            1      C - Moved inside county
                                               S - Moved outside county but in same State
                                               O - Moved outside of state
NEW ZIP                                 5      New Address ZIP Code derived from Change-of-Address
NEW City                               28      New Address City derived from Change-of-Address
NEW State                               2      New Address State derived from Change-of-Address
NEW County                             20      New Address County derived from Change-of-Address
Total COA Volume                        8      Total COA volume for COA Date, OLD ZIP and NEW ZIP
Old Addr Age Demographic Code 1         2      Age demographic with the highest volume COAs
                                               (Refer to Code Descriptions below)
Old Addr Bus Perm Age 1                 8      Total Permanent business COAs
Old Addr Bus Temp Age 1                 8      Total Temporary business COAs
Old Addr Bus Highrise Age 1             3      Percentage of Business COAs that moved from a multi-tenant address
Old Addr Fam Perm Age 1                 8      Total Permanent family COAs
Old Addr Fam Temp Age 1                 8      Total Temporary family COAs
Old Addr Ind Perm Age 1                 8      Total Permanent individual COAs
Old Addr Ind Temp Age 1                 8      Total Temporary individual COAs
Old Addr Fam Highrise Age 1             3      Percentage of Residential COAs that moved from a multi-family address
Old Addr Ind Highrise Age 1             3      Percentage of Residential COAs that moved from a multi-family address
Old Addr Age 2                          2      Age demographic with the second highest volume COAs
                                               (Refer to Code Descriptions below)
Old Addr Bus Perm Age 2                 8      Total Permanent business COAs
Old Addr Bus Temp Age 2                 8      Total Temporary business COAs
Old Addr Bus Highrise Age 2             3      Percentage of Business COAs that moved from a multi-tenant address
Old Addr Fam Perm Age 2                 8      Total Permanent family COAs
Old Addr Fam Temp Age 2                 8      Total Temporary family COAs



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Old Addr Ind Perm Age 2               8     Total Permanent individual COAs
Old Addr Ind Temp Age 2               8     Total Temporary individual COAs
Old Addr Fam Highrise Age 2           3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Ind Highrise Age 2           3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Age 3                        2     Age demographic with the third highest volume COAs
                                            (Refer to Code Descriptions below)
Old Addr Bus Perm Age 3               8     Total Permanent business COAs
Old Addr Bus Temp Age 3               8     Total Temporary business COAs
Old Addr Bus Highrise Age 3           3     Percentage of Business COAs that moved from a multi-tenant address
Old Addr Fam Perm Age 3               8     Total Permanent family COAs
Old Addr Fam Temp Age 3               8     Total Temporary family COAs
Old Addr Ind Perm Age 3               8     Total Permanent individual COAs
Old Addr Ind Temp Age 3               8     Total Temporary individual COAs
Old Addr Fam Highrise Age 3           3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Ind Highrise Age 3           3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Income 1                     2     Income demographic with the highest volume COAs
                                            (Refer to Code Descriptions below)
Old Addr Bus Perm Income 1            8     Total Permanent business COAs
Old Addr Bus Temp Income 1            8     Total Temporary business COAs
Old Addr Bus Highrise Income 1        3     Percentage of Business COAs that moved from a multi-tenant address
Old Addr Fam Perm Income 1            8     Total Permanent family COAs
Old Addr Fam Temp Income 1            8     Total Temporary family COAs
Old Addr Ind Perm Income 1            8     Total Permanent individual COAs
Old Addr Ind Temp Income 1            8     Total Temporary individual COAs
Old Addr Fam Highrise Income 1        3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Ind Highrise Income 1        3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Income 2                     2     Income demographic with the second highest volume COAs
                                            (Refer to Code Descriptions below)
Old Addr Bus Perm Income 2            8     Total Permanent business COAs
Old Addr Bus Temp Income 2            8     Total Temporary business COAs
Old Addr Bus Highrise Income 2        3     Percentage of Business COAs that moved from a multi-tenant address
Old Addr Fam Perm Income 2            8     Total Permanent family COAs
Old Addr Fam Temp Income 2            8     Total Temporary family COAs
Old Addr Ind Perm Income 2            8     Total Permanent individual COAs
Old Addr Ind Temp Income 2            8     Total Temporary individual COAs
Old Addr Fam Highrise Income 2        3     Percentage of Residential COAs that moved from a multi-family address


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Old Addr Ind Highrise Income 2        3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Income 3                     2     Income demographic with the third highest volume COAs
                                            (Refer to Code Descriptions below)
Old Addr Bus Perm Income 3            8     Total Permanent business COAs
Old Addr Bus Temp Income 3            8     Total Temporary business COAs
Old Addr Bus Highrise Income 3        3     Percentage of Business COAs that moved from a multi-tenant address
Old Addr Fam Perm Income 3            8     Total Permanent family COAs
Old Addr Fam Temp Income 3            8     Total Temporary family COAs
Old Addr Ind Perm Income 3            8     Total Permanent individual COAs
Old Addr Ind Temp Income 3            8     Total Temporary individual COAs
Old Addr Fam Highrise Income 3        3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Ind Highrise Income 3        3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Household 1                  2     Household size demographic with the highest volume COAs
                                            (Refer to Code Descriptions below)
Old Addr Bus Perm Household 1         8     Total Permanent business COAs
Old Addr Bus Temp Household 1         8     Total Temporary business COAs
Old Addr Bus Highrise Household 1     3     Percentage of Business COAs that moved from a multi-tenant address
Old Addr Fam Perm Household 1         8     Total Permanent family COAs
Old Addr Fam Temp Household 1         8     Total Temporary family COAs
Old Addr Ind Perm Household 1         8     Total Permanent individual COAs
Old Addr Ind Temp Household 1         8     Total Temporary individual COAs
Old Addr Fam Highrise Household 1     3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Ind Highrise Household 1     3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Household 2                  2     Household size demographic with the second highest volume COAs
                                            (Refer to Code Descriptions below)
Old Addr Bus Perm Household 2         8     Total Permanent business COAs
Old Addr Bus Temp Household 2         8     Total Temporary business COAs
Old Addr Bus Highrise Household 2     3     Percentage of Business COAs that moved from a multi-tenant address
Old Addr Fam Perm Household 2         8     Total Permanent family COAs
Old Addr Fam Temp Household 2         8     Total Temporary family COAs
Old Addr Ind Perm Household 2         8     Total Permanent individual COAs
Old Addr Ind Temp Household 2         8     Total Temporary individual COAs
Old Addr Fam Highrise Household 2     3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Ind Highrise Household 2     3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Household 3                  2     Household size demographic with the third highest volume COAs
                                            (Refer to Code Descriptions below)



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Old Addr Bus Perm Household 3       8     Total Permanent business COAs
Old Addr Bus Temp Household 3       8     Total Temporary business COAs
Old Addr Bus Highrise Household 3   3     Percentage of Business COAs that moved from a multi-tenant address
Old Addr Fam Perm Household 3       8     Total Permanent family COAs
Old Addr Fam Temp Household 3       8     Total Temporary family COAs
Old Addr Ind Perm Household 3       8     Total Permanent individual COAs
Old Addr Ind Temp Household 3       8     Total Temporary individual COAs
Old Addr Fam Highrise Household 3   3     Percentage of Residential COAs that moved from a multi-family address
Old Addr Ind Highrise Household 3   3     Percentage of Residential COAs that moved from a multi-family address
New Addr Age 1                      2     Age demographic with the highest volume COAs
                                          (Refer to Code Descriptions below)
New Addr Bus Perm Age 1             8     Total Permanent business COAs
New Addr Bus Temp Age 1             8     Total Temporary business COAs
New Addr Bus Highrise Age 1         3     Percentage of Business COAs that moved from a multi-tenant address
New Addr Fam Perm Age 1             8     Total Permanent family COAs
New Addr Fam Temp Age 1             8     Total Temporary family COAs
New Addr Ind Perm Age 1             8     Total Permanent individual COAs
New Addr Ind Temp Age 1             8     Total Temporary individual COAs
New Addr Fam Highrise Age 1         3     Percentage of Residential COAs that moved from a multi-family address
New Addr Ind Highrise Age 1         3     Percentage of Residential COAs that moved from a multi-family address
New Addr Age 2                      2     Age demographic with the second highest volume COAs
                                          (Refer to Code Descriptions below)
New Addr Bus Perm Age 2             8     Total Permanent business COAs
New Addr Bus Temp Age 2             8     Total Temporary business COAs
New Addr Bus Highrise Age 2         3     Percentage of Business COAs that moved from a multi-tenant address
New Addr Fam Perm Age 2             8     Total Permanent family COAs
New Addr Fam Temp Age 2             8     Total Temporary family COAs
New Addr Ind Perm Age 2             8     Total Permanent individual COAs
New Addr Ind Temp Age 2             8     Total Temporary individual COAs
New Addr Fam Highrise Age 2         3     Percentage of Residential COAs that moved from a multi-family address
New Addr Ind Highrise Age 2         3     Percentage of Residential COAs that moved from a multi-family address
New Addr Age 3                      2     Age demographic with the third highest volume COAs
                                          (Refer to Code Descriptions below)
New Addr Bus Perm Age 3             8     Total Permanent business COAs
New Addr Bus Temp Age 3             8     Total Temporary business COAs
New Addr Bus Highrise Age 3         3     Percentage of Business COAs that moved from a multi-tenant address


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New Addr Fam Perm Age 3             8     Total Permanent family COAs
New Addr Fam Temp Age 3             8     Total Temporary family COAs
New Addr Ind Perm Age 3             8     Total Permanent individual COAs
New Addr Ind Temp Age 3             8     Total Temporary individual COAs
New Addr Fam Highrise Age 3         3     Percentage of Residential COAs that moved from a multi-family address
New Addr Ind Highrise Age 3         3     Percentage of Residential COAs that moved from a multi-family address
New Addr Income 1                   2     Income demographic with the highest volume COAs
                                          (Refer to Code Descriptions below)
New Addr Bus Perm Income 1          8     Total Permanent business COAs
New Addr Bus Temp Income 1          8     Total Temporary business COAs
New Addr Bus Highrise Income 1      3     Percentage of Business COAs that moved from a multi-tenant address
New Addr Fam Perm Income 1          8     Total Permanent family COAs
New Addr Fam Temp Income 1          8     Total Temporary family COAs
New Addr Ind Perm Income 1          8     Total Permanent individual COAs
New Addr Ind Temp Income 1          8     Total Temporary individual COAs
New Addr Fam Highrise Income 1      3     Percentage of Residential COAs that moved from a multi-family address
New Addr Ind Highrise Income 1      3     Percentage of Residential COAs that moved from a multi-family address
New Addr Income 2                   2     Income demographic with the second highest volume COAs
                                          (Refer to Code Descriptions below)
New Addr Bus Perm Income 2          8     Total Permanent business COAs
New Addr Bus Temp Income 2          8     Total Temporary business COAs
New Addr Bus Highrise Income 2      3     Percentage of Business COAs that moved from a multi-tenant address
New Addr Fam Perm Income 2          8     Total Permanent family COAs
New Addr Fam Temp Income 2          8     Total Temporary family COAs
New Addr Ind Perm Income 2          8     Total Permanent individual COAs
New Addr Ind Temp Income 2          8     Total Temporary individual COAs
New Addr Fam Highrise Income 2      3     Percentage of Residential COAs that moved from a multi-family address
New Addr Ind Highrise Income 2      3     Percentage of Residential COAs that moved from a multi-family address
New Address: Income 3               2     Income demographic with the third highest volume COAs
                                          (Refer to Code Descriptions below)
New Addr Bus Perm Income 3          8     Total Permanent business COAs
New Addr Bus Temp Income 3          8     Total Temporary business COAs
New Addr Bus Highrise Income 3      3     Percentage of Business COAs that moved from a multi-tenant address
New Addr Fam Perm Income 3          8     Total Permanent family COAs
New Addr Fam Temp Income 3          8     Total Temporary family COAs
New Addr Ind Perm Income 3          8     Total Permanent individual COAs


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New Addr Ind Temp Income 3          8     Total Temporary individual COAs
New Addr Fam Highrise Income 3      3     Percentage of Residential COAs that moved from a multi-family address
New Addr Ind Highrise Income 3      3     Percentage of Residential COAs that moved from a multi-family address
New Address: Household 1            2     Household size demographic with the highest volume COAs
                                          (Refer to Code Descriptions below)
New Addr Bus Perm Household 1       8     Total Permanent business COAs
New Addr Bus Temp Household 1       8     Total Temporary business COAs
New Addr Bus Highrise Household 1   3     Percentage of Business COAs that moved from a multi-tenant address
New Addr Fam Perm Household 1       8     Total Permanent family COAs
New Addr Fam Temp Household 1       8     Total Temporary family COAs
New Addr Ind Perm Household 1       8     Total Permanent individual COAs
New Addr Ind Temp Household 1       8     Total Temporary individual COAs
New Addr Fam Highrise Household 1   3     Percentage of Residential COAs that moved from a multi-family address
New Addr Ind Highrise Household 1   3     Percentage of Residential COAs that moved from a multi-family address
New Address: Household 2            2     Household size demographic with the second highest volume COAs
                                          (Refer to Code Descriptions below)
New Addr Bus Perm Household 2       8     Total Permanent business COAs
New Addr Bus Temp Household 2       8     Total Temporary business COAs
New Addr Bus Highrise Household 2   3     Percentage of Business COAs that moved from a multi-tenant address
New Addr Fam Perm Household 2       8     Total Permanent family COAs
New Addr Fam Temp Household 2       8     Total Temporary family COAs
New Addr Ind Perm Household 2       8     Total Permanent individual COAs
New Addr Ind Temp Household 2       8     Total Temporary individual COAs
New Addr Fam Highrise Household 2   3     Percentage of Residential COAs that moved from a multi-family address
New Addr Ind Highrise Household 2   3     Percentage of Residential COAs that moved from a multi-family address
New Addr Household 3                2     Household size demographic with the third highest volume COAs
                                          (Refer to Code Descriptions below)
New Addr Bus Perm Household 3       8     Total Permanent business COAs
New Addr Bus Temp Household 3       8     Total Temporary business COAs
New Addr Bus Highrise Household 3   3     Percentage of Business COAs that moved from a multi-tenant address
New Addr Fam Perm Household 3       8     Total Permanent family COAs
New Addr Fam Temp Household 3       8     Total Temporary family COAs
New Addr Ind Perm Household 3       8     Total Permanent individual COAs
New Addr Ind Temp Household 3       8     Total Temporary individual COAs
New Addr Fam Highrise Household 3   3     Percentage of Residential COAs that moved from a multi-family address
New Addr Ind Highrise Household 3   3     Percentage of Residential COAs that moved from a multi-family address


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Code Definitions

Age Code                      Household                       Income
                                Code                            Code
    A0        Age < 20
    A1        Age 20 - 24         H0      0 members             I0     No Income
    A2        Age 25 - 34         H1      1 member              I1     < $15,000
    A3        Age 35 - 44         H2      2 members             I2     $15,000 - $24,999
    A4        Age 45 - 54         H3      3 members             I3     $25,000 - $34,999
    A5        Age 55 - 64         H4      4 members             I4     $35,000 - $49,999
    A6        Age 65 - 74         H5      5 members             I5     $50,000 - $74,999
    A7        Age 75 - 44         H6      6 or more members     I6     $100,000 - $149,999
    A8        Age > 85                                          I7     $150,000 - $199,999
                                                                I8     > $200,000




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PMT Summary File Layout – Copyright Record
Data is provided in comma-delimited (.csv) file format.
Filename = pmt_summary.csv


              Field Name                  Length    Description
              Copyright Detail Code           1     C = Copyright
              Filler                         11
              Copyright Statement            13     COPYRIGHT ©
              Filler                          1
              File Version Year               5     2023.
              Filler                          2
              Copyright Notice               19     ALL RIGHTS RESERVED




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PMT Summary File Layout – Detail Record
Data is provided in comma-delimited (.csv) file format.
Filename = pmt_summary.csv
Total COA requests to and from a 5-digit ZIP Code by month for the last four years.
- Totals are broken down by move type:
  Family – Everyone with the last name submitted on the COA request is moving
  Individual – The individual named on the COA request is moving
  Business – The business named on the COA request is moving

In order to protect the privacy of our moving customers, COA volumes where the count is less than 11 will not be
disclosed. Since we only report when the volume is greater than 10, the columns for Business, Family and Individual
may not add up to the amount in the total.

   Field Name            Length Description

   YYYYMM                    6      Year and month to which the data pertains.
   ZIP Code                  8      5-digit ZIP Code where the COA request originates or destinates.
   City                     28      City name associated with the ZIP Code
   State                     2      State associated with the ZIP Code
   Total From ZIP            8      Total COA requests that originated from the ZIP Code
   Total Business            8      Total Business COAs that originated from the ZIP Code
   Total Family              8      Total Family COAs that originated from the ZIP Code
   Total Individual          8      Total Individual COAs that originated from the ZIP Code
   Total Perm                8      Total permanent COAs that originated from the ZIP Code
   Total Temp                8      Total temporary COAs that originated from the ZIP Code
   To In County              8      Total COA requests within the same County as the ZIP Code
   To In State               8      Total COA requests within the same State as the ZIP Code
   To Out of State           8      Total COA requests that destinate to a different State than the ZIP Code
   Total To ZIP              8      Total COA request that Destinate to the ZIP Code
   Total Business            8      Total Business COA’s that destinate to the ZIP Code
   Total Family              8      Total Family COA’s that destinate to the ZIP Code
   Total Individual          8      Total Individual COA’s that destinate to the ZIP Code
   Total Perm                8      Total Permanent COA’s that destinate to the ZIP Code
   Total Temp                8      Total Temporary COA’s that destinate to the ZIP Code
   From In County            8      Total Business COA’s that destinate to the ZIP Code
   From In State             8      Total COA requests that destinate to the same State as the ZIP Code
   From Out Of State         8      Total COA requests that come from a different State than the ZIP Code




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      EXHIBIT B




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 ~ UNITEDST/JTES
IJ!iifi,POST/JL SERVICE®                                                                             Population Mobility Trends Order Form
Billing Information (Please PRINT clearly.)
Contact Name                                                              Customer/Company Name

Address (Number, street, suite, apt., etc.)                                                       Urbanization                Country Name (if other than USA)

City                                                                                                                          State     ZIP + 4® Code

Phone Number (Include area code)                          Fax Number (Include area code)          Email Address

Product Information (Monthly products are provided on an annual subscription basis.)
Choose the products you wish to order below, then indicate product format, product subtotal, and order total.
Product ID             Product Name                                                                                                        Unit Price         Subtotal

170000                 Population Mobility Trends 12 - Month Historical - Internal                                                            $91,000
170001                 Population Mobility Trends 12 - Month Historical - Limited                                                           $120,000
170002                 Population Mobility Trends 48 - Month Historical - Internal                                                          $137,000
170003                 Population Mobility Trends 48 - Month Historical - Limited                                                           $181,000
170004                 Population Mobility Trends 48 - Month Historical - Enterprise                                                        $277,000
170005                 Propulaton Mobility Trends 48 - Month Historical - Enterprise R                                                      $184,000
                                                                                                                                              Total
Other Required Forms (Please submit all applicable forms at the same time to avoid delay in product fulfillment.)
EPF (Electronic Product Fulfillment)
All products, renewals, and receipts of payment are fulfilled via the EPF web site. To obtain access to the EPF web site, please complete PS Form
5116, Electronic Product Fulfillment Web Access Request Form located on PostalPro at https://postalpro.usps.com/EPF001. Instructions for form
submission, log-in to the EPF web site, etc., are found on PS Form 5116.
Signed Data License Agreement
This order form must be accompanied by a signed United States Postal Service Data License Agreement (Agreement) acknowledging and agreeing to
the terms and obligations of the Agreement. To obtain the Agreement, please visit PostalPro at https://postalpro.usps.com/pmt
If you have questions about this order form, call 800-238-3150 or email AISproducts.NCSC@usps.gov for assistance.

Payment Method (Please select one.)

 □ Visa                □ American Express                        □ MasterCard          □ Check #                    □ ACH Credit            □ USPS® Money Order

 Credit Card Number                                                                     Make check or USPS money order payable to “United States Postal Service.”
                                                                                        There is a $35 fee for all Returned Checks.
   11    I   I     I    I   I   I   I   I   I       I    I   I    I   I   I             Mail payment and order form(s) to:
Card expiration date:                           /                                                            ACCOUNTS RECEIVABLE
                                    (MM)                (YYYY)
                                                                                                             ADDRESSING TECHNOLOGY
If paying by credit card or ACH Credit, fax completed form(s) to: 901-681-4409.                              UNITED STATES POSTAL SERVICE
                                                                                                             225 N HUMPHREYS BLVD STE 501
Do not send credit card information via email.                                                               MEMPHIS TN 38188-1099

         NO REFUNDS will be issued once the order has been processed and the file(s) downloaded.
Credit Card Address (if different than business address)                                                                   Urbanization Name



City                                                                                                                       State         ZIP + 4 Code

Print Name

Authorized Signature

The person signing this order form accepts total responsibility governing the use of this card/account and agrees to comply with the terms of the issuer and the USPS.




PMT001           April 2023                                                            Privacy Notice: For information regarding our Privacy Policy, visit www.usps.com.

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      EXHIBIT C




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                            United States Postal Service
                            Population Mobility Trends
                             Data License Agreement
This License Agreement ("Agreement”) is between YOU, the LICENSEE as designated on the
signature page of this agreement and on your USPS Population Mobility Trends (“PMT”) Order
Form submission ("LICENSEE", “Licensee”, or “YOU”) and the United States Postal Service,
an independent establishment of the executive branch of the Government of the United States, with
its headquarters located at 475 L’Enfant Plaza, S.W., Washington, DC 20260 ("LICENSOR",
“Licensor”, or “USPS”). LICENSOR and LICENSEE may be referred to herein collectively as
the "Parties" or individually as a "Party."

THIS AGREEMENT, TOGETHER WITH ALL EXHIBITS, APPENDICES, SCHEDULES,
AND ANY OTHER ATTACHMENTS IDENTIFIED HEREIN, THE PMT ORDER FORM,
AND THE ELECTRONIC PRODUCT FULFILLMENT (EPF) WEB ACCESS REQUEST
FORM, CONSTITUTES THE COMPLETE AGREEMENT BETWEEN YOU AND USPS. BY
SIGNING AND RETURNING THIS DATA LICENSE AGREEMENT AND THE PMT ORDER
FORM, YOU INDICATE YOUR AGREEMENT TO THE TERMS OF THIS AGREEMENT. IF
YOU DO NOT AGREE TO THE TERMS OF THIS AGREEMENT, DO NOT SIGN AND
RETURN THIS AGREEMENT OR THE PMT ORDER FORM.

WHEREAS, Licensor in the ordinary course of its business obtains and produces data, all of
which is confidential and proprietary, on a monthly basis related to Population Mobility
Trends (“PMT”) collected in the prior month, including any updates thereto, the descriptions of,
specifications for, samples of, and operative web-based links for, such data being provided in
Exhibit A, Population Mobility Trends (PMT) Database Descriptions and Samples, and
such data is the “Data” in this Agreement; and

WHEREAS, Licensor desires to license the Data and Database to Licensee, and Licensee desires
to license the Data and Database from Licensor, subject to the terms and conditions of this
Agreement.

NOW, THEREFORE, in consideration of the mutual covenants, terms, and conditions set forth
herein, and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the Parties agree as follows:


       1. Grant of License. Subject to and conditioned on LICENSEE’s payment of the Fee and
          compliance with all terms and conditions of this Agreement, LICENSOR hereby grants
          to LICENSEE a non-exclusive, non-sublicensable, and non-transferable license during
          the Term to use the Data and USPS database (the “Database” or “USPS PMT
          Database”, defined as the file downloaded by YOU from the LICENSOR’S Electronic
          Product Fulfillment (“EPF”) portal which contains a dataset or compilation of the Data)
          and any other data relating to PMT, as identified in the PMT Order Form (“Order
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          Form”, a copy of which is attached hereto as Exhibit B, Population Mobility Trends
          (PMT) Order Form, and defined and described in Exhibit A (“USPS PMT
          Database”), all such data within the database and datasets generically deemed “Data”
          for purposes of this Agreement, for use and incorporation into Licensee’s technology,
          software, service, platform, and/or product described in Exhibit D, Population
          Mobility Trends Tiers of Access and Usage (the "Permitted Use" or “Use”).
          “Permitted Use” or “Use” means that the Licensee may use, copy, modify and
          distribute the Database and may use, copy, modify, and distribute the Data in
          connection with the Permitted Use. The license to the Database and Data is not sub-
          licensable; provided however, that if YOU purchase the Enterprise version of the
          license, YOU may share the Database and Data with subsidiaries that are at least
          majority-owned and listed by YOU on Exhibit C, List Of Subsidiaries and Parent
          Companies. No derivative works of the Database or Data are allowed. Licensee may
          add products as a Permitted Use upon mutual agreement during the Agreement Term
          and based upon a mutually agreed price. The Data and Database are licensed to YOU,
          not sold. The Data and Database contain information and data which is proprietary and
          confidential to the Licensor or others. YOU understand and acknowledge that the
          Datbase is copyrighted, and YOU will not delete or obscure any copyright notices
          contained therein or attached thereto.

      2. Data Tiers of Access and Usage. LICENSEE shall have access to the Data and
         Database as described in Exhibit D, Population Mobility Trends Tiers of Access and
         Usage, and in the PMT Order Form. LICENSEE shall indicate on the PMT Order
         Form which product (“PMT Version”) from Exhibit D it is purchasing.

      3. Data Use Restrictions. LICENSEE shall use the Database and Data for the Permitted
         Use only and shall not disclose, release, distribute, or deliver the Database or Data, any
         portion of the Data or Database, or any other information derived from the Data or
         Database to any third party without LICENSOR's prior written consent. For the
         avoidance of doubt, LICENSEE may incorporate the Data into the products or services
         listed in Exhibit B (PMT Order Form), as allowed by Exhibit D (Population Mobility
         Trends Tiers of Access and Usage), but no Data either in whole or in part may be
         transferred or sold by LICENSEE. Any purpose or use not specifically authorized
         herein is prohibited, unless otherwise agreed to in writing by LICENSOR. Without
         limiting the foregoing and except as otherwise expressly set forth in Section 1,
         LICENSEE shall not at any time, directly or indirectly: (i) permit non-parties to this
         Agreement to copy, modify, distribute, or display the Data or Database, any portion of
         the Data or Database, or any other information derived from the Data or Database; (ii)
         rent, lease, lend, sell, sublicense, assign, distribute, publish, transfer, or otherwise make
         available the Data or Database; (iii) reverse engineer, disassemble, decompile, decode,
         adapt, or otherwise attempt to derive or gain access to the source of the Data or methods
         used to compile the Data, in whole or in part; (iv) remove any proprietary notices
         included within the Database or Data; (v) publish, distribute, or display any compilation

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           or directory of the Data or, based upon information derived from the Data, create a new
           database; (vi) use LICENSOR’s trademarks, trade names, service marks, logos, or other
           distinctive brand features; (vii) use the Data in a manner that disparages or negatively
           affects the USPS; or (viii) use the Data in any manner or for any purpose that infringes,
           misappropriates, or otherwise violates any intellectual property right or other right of
           any person, or that violates any applicable law.

       4. Reservation of Rights in Data. LICENSOR reserves all rights not expressly granted to
          LICENSEE in this Agreement. Except for the limited rights and licenses expressly
          granted under this Agreement, nothing in this Agreement grants, by implication,
          waiver, estoppel, or otherwise, to LICENSEE or any third party any intellectual
          property rights or other right, title, or interest in or to the Data and Database. The Data
          and Database is licensed not sold.

        5.         Promotion Restrictions. Neither Party will make any public announcement
regarding this Agreement, without the written consent of the other Party. Licensee will not
promote or publicize the fact that it utilizes data derived from Licensor for the Permitted Use and
will not use any of Licensor’s trademarks, copyrights, logos, or other intellectual property in
connection with the Permitted Use without the written consent of Licensor.

       6. Intellectual Property Ownership. LICENSEE acknowledges that, as between
          LICENSEE and LICENSOR, LICENSOR owns all right, title, and interest, including
          all intellectual property rights, in and to the Data and Database. Licensor owns all right,
          title, and interest to the intellectual property rights, including all copyrights and trade
          secrets, in the Data and Database and any other proprietary material or interest provided
          to Licensee. Providing to Licensee the compilation of data referred to herein as the
          Database does not transfer any right, title, or interest to Licensee other than the license
          to use the Data and Database strictly according to the terms specified in this Agreement.
          Manipulation, repackaging, recompilation, or the like of the data comprising the Data
          may create derivative compilations and Licensee agrees Licensor owns and will own
          all right, title, and interest, including all copyrights, in any and all derivative
          compilations created by Licensee, its users and sublicensees, or any other entity who
          accesses the Data or Database directly or indirectly through Licensee or any user or
          sublicensee, whether permitted under this Agreement or not. Licensee hereby assigns
          all right, title, and interest, including all copyrights, that it might have, if any, in such
          derivative compilations, whether they originate at Licensee, a user, a sublicensee, or
          another entity, to Licensor and agrees to sign such further documentation as is
          necessary, if any, to effect the assignment and agrees to obtain any other documentation
          needed to effect the assignment, including that from other entities. Licensor retains all
          right, title, and interest to compilations of the Data. Licensor may elect to license any
          such derivative compilations to Licensee, but such license does not convey any right,
          other than the limited use rights, to Licensee.



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               7. Modification of This Agreement. LICENSOR reserves the right to change the
       terms, conditions, and notices under which the Data and Database are licensed. Once
       YOU agree to the use of data licensed under this Agreement, the terms of such use in
       place at the time of acceptance shall apply throughout the term of this Agreement;
       however, USPS may apply any such modifications adopted if YOU pay to continue the
       use of data in subsequent terms. YOU may review the most current terms and conditions
       of use at https://postalpro.usps.com/pmt. If YOU do not agree to, or cannot comply
       with, the Agreement as amended, YOU must stop using the Data and Database. YOU
       will be deemed to have accepted the Agreement as amended if You continue to use the
       Data or Database. YOU acknowledge and agree that continued use of the Data or
       Database, in each instance, is subject to any such changes and that use of the Data or
       Database constitutes acceptance of such changed terms. YOU agree to review this
       Agreement from time to time to ensure compliance with these terms and conditions.



          8.      Delivery.

                (a)    All deliveries, renewals, and receipts of payment are fulfilled via the
       USPS Electronic Product Fulfillment (“EPF”) portal or another portal which may be
       provided by the USPS. To obtain access to EPF, YOU must complete PS Form 5116,
       Electronic Product Fulfillment Web Access Request Form located on PostalPro at
       https://postalpro.usps.com/EPF001. Instructions for form submission, log-in to EPF,
       etc., are found in PS Form 5116.

               (b)    YOU are responsible for Logon/Logoff, all actions pertaining to the use of
       YOUR assigned logon ID, and YOU will not provide YOUR logon ID to another person
       or entity. YOU agree that access to computer data or files not authorized for YOU is
       prohibited. YOU understand YOUR logon ID, and access to the Data and Database, may
       be suspended indefinitely if YOU violate security procedures or fail to provide updated
       information for the information listed above whenever a material change occurs. YOU
       agree that misuse of a USPS computer system may result in disciplinary action and/or
       criminal prosecution as well as being a breach of this Agreement.

               (c)     YOU further agree that any logon ID will be used solely within the scope
       authorized from USPS. YOU will ensure that no one in YOUR organization will access
       EPF or YOUR logon ID except those accessing the Database in accordance with this
       Agreement (or another applicable agreement with USPS). YOU will periodically review
       use of the assigned logon ID and computer files and/or data for compliance.

               (d)    USPS reserves the right to change the terms, conditions, and notices under
       which EPF is offered. YOU will receive a notice in EPF of any change to the terms,
       conditions, and notices and YOU may review the most current terms and conditions at
       the website for EPF or the PostalPro website. If YOU do not agree to, or cannot comply
       with, the EPF terms, conditions, and notices as amended, YOU must stop using EPF.
       YOU will be deemed to have accepted the terms, conditions, and notices as amended if
       YOU continue to use EPF.

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              (e)     EPF provides YOU with the opportunity to implement various USPS
       services and products, which may be modified or expanded in EPF from time to time.
       YOU acknowledge and agree that YOUR use of EPF, in each instance, is subject to any
       such changes. YOU agree to review this Agreement and the EPF site from time to time
       to ensure compliance with these terms and conditions and any changes thereto.

              (f)    The delivery and availability of the Database is specified in Exhibit D.
       The delivery and availability of monthly updates is specified in Exhibit D.



        9.          Competitors of USPS. Licensee may not specifically market or promote the
Data or the existence of such Data to entities in the mailing and shipping business, including, but
not limited to, FedEx, UPS, Amazon, and DHL, (all such entities, “Competitors of USPS”), or
otherwise solicit Competitors of USPS to make any use of the Data or Database.
Notwithstanding any provision in this Agreement to the contrary, no Competitors of USPS may
obtain any rights in the Data or Database, and any purported transfer, sale, assignment, grant, or
use by any means or method whatsoever shall not grant any rights to Competitors of USPS and
shall be null and void ab initio.

       10. Fee and Payment. LICENSEE shall pay LICENSOR the annual fee for each Term
           ("Fee") set forth in the Order Form at the time the Order Form is returned to USPS.

       11. Data Security. LICENSEE shall use all reasonable legal, organizational, physical,
           administrative, and technical measures, and security procedures to safeguard and
           ensure the security of the Database and Data and to protect the Database and Data from
           unauthorized access, disclosure, duplication, use, modification, or loss. LICENSEE
           will notify LICENSOR within twenty-four (24) hours of any incident involving
           unauthorized access, disclosure, duplication, use, modification, or loss of the Database
           or Data to the following email address: jeffrey.j.tackes@usps.gov

       12. DISCLAIMER OF WARRANTIES. THE DATA AND DATABASE IS PROVIDED
           "AS IS" AND LICENSOR HEREBY DISCLAIMS ALL WARRANTIES,
           WHETHER EXPRESS, IMPLIED, STATUTORY, OR OTHERWISE. LICENSOR
           SPECIFICALLY    DISCLAIMS   ALL    IMPLIED    WARRANTIES   OF
           MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, TITLE, AND
           NON-INFRINGEMENT, AND ALL WARRANTIES ARISING FROM COURSE OF
           DEALING, USAGE, OR TRADE PRACTICE.        LICENSOR MAKES NO
           WARRANTY OF ANY KIND THAT THE DATA OR ANY PRODUCTS OR
           RESULTS OF ITS USE WILL MEET LICENSEE’S REQUIREMENTS, OPERATE
           WITHOUT INTERRUPTION, ACHIEVE ANY INTENDED RESULT, BE
           COMPATIBLE OR WORK WITH ANY SOFTWARE, SYSTEM, OR OTHER
           SERVICES, OR BE SECURE, ACCURATE, COMPLETE, FREE OF HARMFUL
           CODE, OR ERROR-FREE.


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       13. Indemnification. LICENSEE shall indemnify, hold harmless, and, at LICENSOR's
           option, defend LICENSOR from and against any Losses resulting from any third-party
           claim based on LICENSEE's: (i) negligence or willful misconduct in using the Data or
           Database for the Permitted Use; and (ii) use of the Data or Database in a manner not
           authorized by this Agreement; provided that LICENSEE may not settle any third-party
           claim against LICENSOR unless such settlement completely and forever releases
           LICENSOR from all liability with respect to such third-party claim or unless
           LICENSOR consents to such settlement, and further provided that LICENSOR shall
           have the right, at its option, to defend itself against any such third-party claim or to
           participate in the defense thereof by counsel of its own choice. Nothing in this
           paragraph shall impact the discretion of the United States Department of Justice to take
           any appropriate action concerning this Agreement.

       14. LIMITATIONS OF LIABILITY. IN NO EVENT WILL LICENSOR BE LIABLE
           UNDER OR IN CONNECTION WITH THIS AGREEMENT UNDER ANY LEGAL
           OR EQUITABLE THEORY, INCLUDING BREACH OF CONTRACT, TORT
           (INCLUDING NEGLIGENCE), STRICT LIABILITY, AND OTHERWISE, FOR
           ANY (A) CONSEQUENTIAL, INCIDENTAL, INDIRECT, EXEMPLARY,
           SPECIAL, ENHANCED, OR PUNITIVE DAMAGES, (B) INCREASED COSTS,
           DIMINUTION IN VALUE, OR LOST BUSINESS, PRODUCTION, REVENUES,
           OR PROFITS, (C) LOSS OF GOODWILL OR REPUTATION, (D) USE, INABILITY
           TO USE, LOSS, INTERRUPTION, DELAY, OR RECOVERY OF ANY DATA OR
           BREACH OF DATA OR SYSTEM SECURITY, OR (E) COST OF REPLACEMENT
           GOODS OR SERVICES, IN EACH CASE REGARDLESS OF WHETHER
           LICENSOR WAS ADVISED OF THE POSSIBILITY OF SUCH LOSSES OR
           DAMAGES OR SUCH LOSSES OR DAMAGES WERE OTHERWISE
           FORESEEABLE. IN NO EVENT WILL LICENSOR'S AGGREGATE LIABILITY
           ARISING OUT OF OR RELATED TO THIS AGREEMENT, UNDER ANY LEGAL
           OR EQUITABLE THEORY, INCLUDING BREACH OF CONTRACT, TORT
           (INCLUDING NEGLIGENCE), STRICT LIABILITY, AND OTHERWISE,
           EXCEED THE FEE PAID TO LICENSOR UNDER THIS AGREEMENT.

       15. Term and Termination.

          (a) Term. This Agreement is granted for a term of one year from the date of granting.
              Approximately sixty days before the end of any term, LICENSOR may, in its sole
              discretion, offer to renew the Agreement for a one year term, by way of a renewal
              notice from the USPS EPF portal to LICENSEE. If LICENSEE pays the new Fee,
              this Agreement will be renewed for an additional one-year term. Without such offer
              to renew and full payment, no new term will be granted. Each term is also subject
              to termination and discontinuance as provided in this Agreement.

          (b) Termination.


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              (i) LICENSOR may terminate this Agreement, effective on written notice to
                  LICENSEE, if LICENSEE fails to pay any amount when due hereunder or
                  breaches any of its obligations under this Agreement.

              (ii) Either Party may terminate this Agreement, effective on written notice to the
                   other Party, if the other Party materially breaches this Agreement, and such
                   breach: (A) is incapable of cure; or (B) being capable of cure, remains uncured
                   ten days after the non-breaching Party provides the breaching Party with
                   written notice of such breach.

          (c) Additional Termination Rights by Licensor. In the event LICENSOR elects to
              discontinue licensing the Data and/or Database, USPS shall provide written notice
              to LICENSEE at least 90 days before the discontinuation date (“Discontinuation
              Date”). In the event the Discontinuation Date occurs after the end of the current
              Term, LICENSEE may, at LICENSOR’s discretion, renew the license for a partial
              renewal term that ends on the Discontinuation Date (“Partial Renewal Term”),
              provided that LICENSEE pays LICENSOR the pro-rated Fees for the Partial
              Renewal Term in accordance with this Agreement. In the event of termination by
              LICENSOR, LICENSEE may be refunded its Fee on a pro-rata basis unless
              termination is due to a breach of this Agreement.

             (d) Effect of Expiration or Termination. Upon expiration or earlier termination of
             this Agreement, the license granted hereunder will also terminate. Upon
             termination, LICENSEE’s obligations under Section 10. (Data Security) will
             continue. LICENSEE may continue using Data and Databases in its possession,
             that LICENSEE has paid for, for the Permitted Use only, but LICENSOR will not
             deliver any updates to the Data or Database as may be specified elsewhere in this
             Agreement. No expiration or termination will affect LICENSEE's obligation to
             pay all Fees that may have become due before such expiration or termination.


      16. Miscellaneous.

          (a) Force Majeure. In no event shall LICENSOR be liable to LICENSEE or be deemed
              to have breached this Agreement, for any failure or delay in performing its
              obligations under this Agreement, if and to the extent such failure or delay is caused
              by any circumstances beyond LICENSOR's reasonable control, including but not
              limited to acts of God, flood, fire, earthquake, explosion, epidemics, pandemics,
              war, terrorism, invasion, riot or other civil unrest, strikes, labor stoppages or
              slowdowns or other industrial disturbances, or passage of law or any action taken
              by a governmental or public authority, including imposing an embargo.

          (b) Amendment and Modification; Waiver. With the exception of any URLs/internet
              weblinks, or other terms listed in the Agreement as being subject to change, no
              amendment to or modification of this Agreement is effective unless it is in writing
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              and signed by an authorized representative of each Party. No waiver by any Party
              of any of the provisions hereof will be effective unless explicitly set forth in writing
              and signed by the Party so waiving. Except as otherwise set forth in this Agreement,
              (i) no failure to exercise, or delay in exercising, any rights, remedy, power, or
              privilege arising from this Agreement will operate or be construed as a waiver
              thereof and (ii) no single or partial exercise of any right, remedy, power, or privilege
              hereunder will preclude any other or further exercise thereof or the exercise of any
              other right, remedy, power, or privilege.

          (c) Severability. If any provision of this Agreement is held to be invalid, illegal, or
              unenforceable by any court having appropriate jurisdiction, such invalidity,
              illegality, or unenforceability will not affect any other term or provision of this
              Agreement. Upon such determination that any term or other provision is invalid,
              illegal, or unenforceable, the Parties hereto shall negotiate in good faith to modify
              this Agreement so as to effect the original intent of the Parties as closely as possible
              in a mutually acceptable manner in order that the transactions contemplated hereby
              be consummated as originally contemplated to the greatest extent possible.

          (d) Survival. Any rights, obligations, or required performance of the parties in this
              Agreement which, by their express terms or nature and context are intended to
              survive termination or expiration of this Agreement, will survive any such
              termination or expiration, including but not limited to the rights and obligations set
              forth in Section 3 (Data Use Restrictions), Section 6 (Intellectual Property
              Ownership), and Section 10 (Data Security).

          (e) Governing Law; Venue; Submission to Jurisdiction. This Agreement is governed
              by and construed in accordance with United States federal law. Venue for any
              dispute under this Agreement lies in the federal courts for the District of Columbia.
              Both parties consent and submit to the jurisdiction of the United States District
              Court for the District of Columbia.

          (f) Assignment. LICENSEE may not assign or transfer any of its rights or delegate any
              of its obligations hereunder, in each case whether voluntarily, involuntarily, by
              operation of law, or otherwise, without the prior written consent of LICENSOR.
              Any purported assignment, transfer, or delegation in violation of this Section is null
              and void. No assignment, transfer, or delegation will relieve the assigning or
              delegating Party of any of its obligations hereunder. This Agreement is binding
              upon and inures to the benefit of the Parties hereto and their respective permitted
              successors and assigns.

          (g) Equitable Relief. Each Party acknowledges and agrees that a breach or threatened
              breach by LICENSEE of any of its obligations under this Agreement would cause
              the LICENSOR irreparable harm for which monetary damages would not be an
              adequate remedy and agrees that, in the event of such breach or threatened breach,

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              the LICENSOR will be entitled to equitable relief, including a restraining order, an
              injunction, specific performance, and any other relief that may be available from
              any court, without any requirement to post a bond or other security, or to prove
              actual damages or that monetary damages are not an adequate remedy. Such
              remedies are not exclusive and are in addition to all other remedies that may be
              available at law, in equity, or otherwise.

          (h) Examination of Records. Licensee agrees to keep complete and accurate books of
              account and records covering all uses of the Data and Database. USPS and its duly
              authorized representatives, which may include but not be limited to the USPS
              Office of Inspector General, the USPS Inspection Service, or any independent
              group or contractors procured by USPS to audit, shall with ten (10) days prior
              written notice have the right at all reasonable business hours not more frequently
              than twice (2) a year to examine such books and records in Licensee's possession
              or under its control with respect to the subject matter and terms of this Agreement,
              and shall have free and full access thereto for such purposes and for the purpose of
              making copies thereof. All such books and records shall be kept available for at
              least three (3) years after the termination or expiration of this Agreement. If
              Licensee or its representative confirms an audit field work appointment with the
              party conducting the audit, and such party is subsequently denied access to
              Licensee's books and records at such confirmed date and time for any reason,
              Licensee shall pay all reasonable costs and expenses incurred by such party in
              traveling to conduct such field work and any penalty imposed by the party.

          (i) Sovereign Immunity. LICENSEE acknowledges and agrees that this Agreement is
              subject to any legislation that might be enacted by the Congress of the United States
              or any orders or regulations that might be promulgated any agency, branch, or
              independent establishment of the United States Government. Notwithstanding
              anything to the contrary set forth herein, LICENSEE further acknowledges and
              agrees that this Agreement in no way waives the LICENSOR’s authority to act in
              its sovereign capacity and that, pursuant to the sovereign acts doctrine, the
              LICENSOR shall not be held liable for any acts performed in its sovereign capacity,
              or for any acts performed by any branch, agency or independent establishment of
              the United States in their sovereign capacities, including the Postal Regulatory
              Commission, that may directly or indirectly affect the terms of this Agreement. In
              the event that LICENSOR or LICENSEE is required by legislation enacted by the
              Congress of the United States or any orders or regulations that might be
              promulgated by any branch, agency, or independent establishment of the United
              States Government to terminate this Agreement, or otherwise as a result of such
              action is unable to perform its obligations under this Agreement, either Party may
              give notice of termination, which termination (notwithstanding other provisions of
              this Agreement), will be effective immediately or the effective date of such
              requirement, whichever is later. In the event that this Agreement is terminated as

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              set forth in this subsection or LICENSOR is enjoined from proceeding with this
              Agreement by any court of competent jurisdiction, LICENSOR will not be subject
              to any liability by reason of such termination or injunction.

               (j)     Entire Agreement. This Agreement, together with all Exhibits, appendices,
       schedules, and any other attachments identified herein, the Order Form, and EPF Web
       Access Request Form, constitutes the sole and entire agreement of the Parties with
       respect to the subject matter of this Agreement and supersedes all prior and
       contemporaneous understandings, agreements, and representations and warranties, both
       written and oral, with respect to such subject matter.



              (k)     Notices. Any notice required or permitted to be given under this
       Agreement shall be in writing and addressed as below (or to such other name and email
       address as shall be provided to the other Party in writing in advance of any such notice,
       from time to time):

              For USPS:

              LICENSING DEPARTMENT
              ADDRESSING TECHNOLOGY
              UNITED STATES POSTAL SERVICE
              225 N HUMPHREYS BLVD STE 501
              MEMPHIS TN 38188-1001

              For Licensee [name of company]:

              Name: ________________________________
              Title: ________________________________
              Address: ______________________________________________________
              Email address: ________________________________

              (l)    Counterparts. This Agreement may be executed in counterparts, each of
       which is deemed an original, but all of which together are deemed to be one and the same
       agreement.

                                     [signature page follows]




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IN WITNESS WHEREOF, the parties have executed this Agreement as of the date and year
written below. Each signatory to this agreement represents that they have authority to sign this
agreement and bind their respective party to its terms.

       BY SIGNING IN THE SPACE PROVIDED IMMEDIATELY BELOW, LICENSEE
       ACKNOWLEDGES AND AGREES TO THE TERMS AND OBLIGATIONS OF THIS
       DATA LICENSE AGREEMENT.



LICENSEE

       SIGNED: ___________________________________________________________

       NAME & TITLE: ________________________________________________________

       COMPANY:_________________________________________________________

       DATE: _____________________________________________________________

    PLEASE SIGN AND RETURN TO USPS AT THE NOTICES ADDRESS (ABOVE)




UNITED STATES POSTAL SERVICE

       SIGNED: ___________________________________________________________

       NAME:           Earl L. Johnson, Jr.

       TITLE:          Director, Addressing Technology

       DATE:           _____________________________________________________




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                                          EXHIBIT A
                   POPULATION MOBILITY TRENDS (PMT) DATABASE
                               DESCRIPTIONS AND SAMPLES
Use this link - https://postalpro.usps.com/pmt - to access the following documents, all of which
are incorporated herein and made a part of this Agreement:
+ Tech Guide

+ Briefing Sheet
+ Data Sample




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                                        EXHIBIT B

                POPULATION MOBILITY TRENDS (PMT) ORDER FORM

The most recent copy may be found on Postal Pro at https://postalpro.usps.com/pmt




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                                          EXHIBIT C


                          List of Subsidiaries and Parent Companies
                          (to be provided by Licensee when applicable)




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                                                 EXHIBIT D
                   Population Mobility Trends Tiers of Access and Usage


                                                                                                License
             Product                             Description
                                                                                            Requirements


  Population Mobility Trends 12-         "Base subscription product"
                                                                                            Internal use only
    Month Historical - Internal          Twelve one-month updates


                                                                                Publish highlights in external media with
                                       Twelve one-month updates with
  Population Mobility Trends 12-                                                attribution and disclosure requirements,
                                        permission to publish limited
    Month Historical - Limited                                                 right to audit, and level of detail/exposure
                                                summaries
                                                                                                limitations


  Population Mobility Trends 48-     48M historical data with twelve one-
                                                                                            Internal use only
    Month Historical – Internal                month updates


                                                                                Publish highlights in external media with
                                     48M historical data with twelve one-
  Population Mobility Trends 48-                                                attribution and disclosure requirements,
                                      month updates with permission to
    Month Historical - Limited                                                 right to audit, and level of detail/exposure
                                         publish limited summaries
                                                                                                limitations
                                      48M historical data with twelve one-
                                    month updates with limited distribution
  Population Mobility Trends 48-    to subsidiaries and parent companies,         Sharing of product with subsidiary
   Month Historical - Enterprise     to be listed by Licensee on Exhibit C         companies for internal use only
                                       to this Agreement, which must be
                                      shared with and approved by USPS
                                    Enterprise product renewal consisting
                                       of twelve one-month updates with
                                    limited distribution to subsidiaries and
  Population Mobility Trends 48-                                                  Sharing of product with subsidiary
                                       parent companies, to be listed by
  Month Historical – Enterprise R                                                  companies for internal use only
                                          Licensee on Exhibit C to this
                                      Agreement, which must be shared
                                          with and approved by USPS



Note: More detailed descriptions of each PMT product appear on the pages that
follow.




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                                  Population Mobility Trends 12-Month Historical - Internal
A tabular dataset built upon aggregated USPS National Change of Address data and 2020 Census demographics (income, age,
household size). The data is aggregated to highlight the 9 highest volume destination ZIP Codes (3 local, in-state, and out-of-state)
people are migrating to for each source ZIP. Census demographic data is included for the top 3 volume breakdowns by
demographic category (income, age, household size). Data is included if the total count of source and destinations exceed a
threshold


Usage is restricted to internal purposes only; no derivative works or publication of findings of any kind.


Product is offered as an annual subscription with 12 monthly updates. The file format is comma delimited.




                             Population Mobility Trends 12-Month Historical - Limited
A tabular dataset built upon aggregated USPS National Change of Address data and 2020 Census demographics (income, age,
household size). The data is aggregated to highlight the 9 highest volume destination ZIP Codes (3 local, in-state, and out-of-state)
people are migrating to for each source ZIP. Census demographic data is included for the top 3 volume breakdowns by
demographic category (income, age, household size). Data is included if the total count of source and destinations exceed a
threshold.


Usage includes rights to publish highlights in external media.
        Attribution and disclosure requirement with right to audit:
               o    Must provide USPS the link to article/summary of findings once published
        Permissible Summary Examples:
               o    Geometric aggregations that do not expose underlying data (Cities, counties, ZIP3, etc.)
               o    Temporal nationwide, statewide, or regionwide trends
               o    Qualitative visualizations
               o    Heat maps
               o    Limited area ranking lists
        Restricted Summaries:
               o    Any representation of the underlying data
               o    Interactive applications or visualizations that expose underlying data
               o    Unaggregated ZIP Code level data
               o    Resharing files, including but not limited to subsets beyond article scope, background databases, derivative
                    products


Product is offered as an annual subscription with 12 monthly updates. The file format is comma delimited.




                             Population Mobility Trends 48-Month Historical - Internal
A tabular dataset built upon aggregated USPS National Change of Address data and 2020 Census demographics (income, age,
household size). The data is aggregated to highlight the 9 highest volume destination ZIP Codes (3 local, in-state, and out-of-state)
people are migrating to for each source ZIP. Census demographic data is included for the top 3 volume breakdowns by
demographic category (income, age, household size). Data is included if the total count of source and destinations exceed a
threshold


Usage is restricted to internal purposes only; no derivative works or publication of findings of any kind.


Product is offered as a one-time 48-month historical file and 12 monthly updates. The file format is comma delimited.

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                            Population Mobility Trends 48-Month Historical - Limited
A tabular dataset built upon aggregated USPS National Change of Address data and 2020 Census demographics (income, age,
household size). The data is aggregated to highlight the 9 highest volume destination ZIP Codes (3 local, in-state, and out-of-state)
people are migrating to for each source ZIP. Census demographic data is included for the top 3 volume breakdowns by
demographic category (income, age, household size). Data is included if the total count of source and destinations exceed a
threshold.


Usage includes rights to publish highlights in external media.
        Attribution and disclosure requirement with right to audit:
               o    Must provide USPS the link to article/summary of findings once published
        Permissible Summary Examples:
               o    Geometric aggregations that do not expose underlying data (Cities, counties, ZIP3, etc.)
               o    Temporal nationwide, statewide, or regionwide trends
               o    Qualitative visualizations
               o    Heat maps
               o    Limited area ranking lists
        Restricted Summaries:
               o    Any representation of the underlying data
               o    Interactive applications or visualizations that expose underlying data
               o    Unaggregated ZIP Code level data
               o    Resharing files, including but not limited to subsets beyond article scope, background databases, derivative
                    products.


Product is offered as a one-time 48-month historical file and 12 monthly updates. The file format is comma delimited.




                          Population Mobility Trends 48-Month Historical - Enterprise
A tabular dataset built upon aggregated USPS National Change of Address data and 2020 Census demographics (income, age,
household size). The data is aggregated to highlight the 9 highest volume destination ZIP Codes (3 local, in-state, and out-of-state)
people are migrating to for each source ZIP. Census demographic data is included for the top 3 volume breakdowns by
demographic category (income, age, household size). Data is included if the total count of source and destinations exceed a
threshold.


Usage includes rights to sharing of product (derivative works) with subsidiaries and parent companies for internal use only.
                   Specific use case must be approved by USPS
                   List of subsidiary companies must be shared with and approved by USPS


Product is offered as a one-time 48-month historical file and 12 monthly updates. The file format is comma delimited.




                        Population Mobility Trends 48-Month Historical – Enterprise R
A tabular dataset built upon aggregated USPS National Change of Address data and 2020 Census demographics (income, age,
household size). The data is aggregated to highlight the 9 highest volume destination ZIP Codes (3 local, in-state, and out-of-state)
people are migrating to for each source ZIP. Census demographic data is included for the top 3 volume breakdowns by
demographic category (income, age, household size). Data is included if the total count of source and destinations exceed a
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Usage includes rights to sharing of product (derivative works) with subsidiaries and parent companies for internal use only.
                   Specific use case must be approved by USPS
                   List of subsidiary companies must be shared with and approved by USPS


Product is offered as an enterprise product renewal with 12 monthly updates. The file format is comma delimited.




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------x
                                                                                            22cv6112          (DLC)
BLOOMBERGL.P.               and     DOW JONES &
COMPANY, INC.,
                                                                                       OPINION AND ORDER
                                        Plaintiffs,

                                  -v-

UNITED STATES POSTAL SERVICE,

                                        Defendant.

-------------------------------------x

APPEARANCES:

For the plaintiffs:
Reporters    Committee   For Freedom                          of    The Press
Katie    Townsend
1156 15th Street      NW, Suite  1020
Washington,     DC 20005

For the defendant:
Tomoko Onozawa
U.S. Attorney's    Office,                    SONY (Chambers              Street)
86 Chambers Street
New York, NY 10007

DENISE COTE, District                      Judge:

         Bloomberg          L.P.        ("Bloomberg")              and   Dow Jones           &     Company,         Inc.

("Dow Jones";             together,           "Plaintiffs")              have       filed         suit   against

the   United       States          Postal       Service        ("USPS"         or     "Defendant")             under

the   Freedom        of     Information               Act    ("FOIA"),         5 U.S.C.            § 552,      to

compel      production             of    certain        anonymized            change-of-address                 data

("Requested          COA Data").                The USPS asserts                that        the      Postal

Reorganization              Act     exempts           production         of    this     data         because        it     is




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related          to    a commercial                     product            of        the     USPS.                 The parties                   have

cross-moved              for       summary              judgment.                    For         the        reasons            that         follow,

the      motion        for        summary            judgment              brought                by the            USPS is            granted.

                                                                 Background

          The following                      facts         are      undisputed.                         When individuals,

families,             and businesses                     move and               change                 address,              they          can

notify       the       USPS of               a temporary                 or permanent                        change            of     address

("COA").              The USPS maintains                            data        for         these            COA filings.

Summary          COA data               is       publicly           available                    on the            USPS website                    and

is      updated        monthly.              1     The publicly                  available                    summary               data

contains           a list          of        every         zip      code        in         the     United               States;             the

total       number           of    COA filings                    into         and         out         of    each         zip        code;         the

total       number           of    individuals,                     families,                    and businesses                       submitting

those       COA filings;                     and     the         total         number             of        temporary                and

permanent             COA requests                   for         each      month            from            2018        to     the     present.

This      data        does        not        include         where             the         COA filers                   that         are     moving

from      a specific                 zip         code      are      moving            to.

          On March             30,       2021,          a journalist                       for     Bloomberg                   CityLab             made

a FOIA request                    for        COA data,              per        zip         code,            for     the        month         of

December           2020,          including                origin          and destination                              information                     for

the      COA filings                 ("Bloomberg                  FOIA Request").                                 For     example,                the

requested             data        would           show how many COA filings                                         indicated                moves



1  See FOIA Library,         USPS,
https://about.usps.com/who/legal/foia/library.htm.

                                                                           2



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from      one      specific            zip     code         to     another.                      The journalist                  had

received           such      COA records                   from         the     USPS pursuant                      to     FOIA

requests           filed         in    December             2020         and         February              2021.

          On April            19,      the     USPS denied                     the     Bloomberg                  FOIA Request

pursuant           to     FOIA Exemption                    3,     5 U.S.C.                 § 552(b)            (3),      and      39

U.S.C.       § 410(c)            (2) . 2       The USPS explained                                 that      the        requested

records         "qualifie[d]                  as      'information                    of         a commercial                nature'

under       Section           410(c)         (2)"     because                 the     information                  is     related        to

information               that        is     "under         development                     for      a commercial

product."               The USPS affirmed                         its        decision               on July            29.

          Dow Jones              owns The Wall                    Street             Journal              ("WSJ").            On

September           15,      a WSJ reporter                      made a FOIA request                               to     the      USPS for

monthly         COA data              by county             for         residential                  postal            customers         for

January         2021       to      June       2021.          Specifically,                          the     reporter             asked    for

an Excel           document            with         the     following                 columns:              YYYYMM,Old

County,         Old       State,           New County,                  New State,                  Total         Perm,         Total    Temp

("Dow Jones               FOIA Request").                         The USPS had                      fulfilled             similar        FOIA

requests           filed         in    February             and March                 2021.

          On September                 17,     the         USPS denied                     the      Dow Jones             FOIA Request

pursuant           to    Exemption             3,         5 U.S.C.             § 552(b)             (3),      and       39 U.S.C.         §

410(c)      (2).          The USPS explained                            that         the         COA data          requested


2 As further    described                          below, 39 U.S.C.   § 410(c) (2) exempts     from
FOIA USPS "information                             of a commercial  nature    .     . which under
good business     practice                         would not be publicly    disclosed."     39
U.S.C.   § 410(c)   (2).

                                                                         3



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"qualifie[d]                as         'information                  of     a commercial                    nature'              under

Section           410 (c) (2)"                because          it      is       related          to        COA counts              by origin

and destination                    which           is    information                    that         is     "currently                  under

development                for         a commercial                  product."                 The USPS continued,

"Requests            for         COA data             that          seek        the     originating                   and destination

location,            at     any         level,          is     no longer                releasable                  under         the     FOIA."

On December                9,     the         USPS affirmed                     its     decision.

          The "commercial                        product"              to       which      the        USPS referred                      is     a

licensed           data          offering             called           Population                Mobility                 Trends

("PMT").             The USPS launched                              PMT on May 12,                    2023.               PMT provides

tabular           COA data              to     subscribers.                      For      each        ZIP code,                  PMT shows

the    top        three          ZIP codes              to     which            COA filers                 are      moving         for         (1)

moves       within          the         county,              (2)     moves            within         the         state,          and     (3)

moves       outside              the      state.              PMT also                includes             "the       three        most

prevalent           demographic                    attribute                ranges"            for         temporary,

permanent,              individual,                    family,             and business                    filings.               The PMT

data      is      refreshed               with        data          from        the     past         30 days,              and

subscribers                are         able      to     see         12-month            and      48-month                 data     sets         when

setting           up the          first          annual             subscription,                 which             include            data

from      the      2019-2020                  calendar              year.

          The Plaintiffs                       filed          this         lawsuit         on July                18,      2022.          USPS

moved       for      summary              judgment             on December                 9.         The Plaintiffs                      cross-

moved       for      summary              judgment             on January                 2 0,       2023.            The motions

became          fully       submitted                 on March              10.

                                                                            4


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          The evidence                     submitted             with             the        motions         includes              the     FOIA

requests,              decisions,                and         appeals;              declarations                   from      the          two

journalists               who made the                       requests;                  and     a declaration                 from

Jeffrey          Tackes             ("Tackes            Declaration"),                          the     Director,             Digital

Business           Services                of    the        USPS.             The Tackes                Declaration                 describes

PMT and          its      development                   and       commercial                   value         to    the      USPS.

                                                                 Discussion

          FOIA was enacted                         in        1966       "to        facilitate                public         access             to

Government              documents."                     Jabar           v.        U.S.        Dep't       of      Just.,           62 F.4th

44,      49      (2d Cir.            2023)         (citation                  omitted).                 "FOIA is            premised                on

a policy           strongly                favoring             public             disclosure                of    information                   in

the      possession                 of     federal            agencies."                      Id.      (citation            omitted).

"Agencies              are         required            to     disclose                  requested            documents              unless

they      fall         within            an enumerated                   exemption."                      Knight           First

Amendment              Inst.         at        Colum.         Univ.          v.     U.S.            Citizenship             & Immigr.

Servs.,          30 F.4th                318,      327         (2d Cir.                 2022).          The statutory

exemptions              "do         not        obscure          the      basic               policy       that       disclosure,                    not

secrecy,           is        the     dominant                objective                  of    the     Act."           Dep't         of     the

Int.      & Bur.             of     Indian         Affs.         v.      Klamath               Water         Users         Protective

Ass'n,          532 U.S.              1,       8 (2001)             (citation                 omitted).               The exemptions

are      thus      to     be "given                a narrow              compass."                    ACLU v.            CIA,       24 F.4th

863,      867      (2d Cir.                2022)            (citation              omitted).

          "FOIA cases                    are     often          resolved                 by summary               judgment."                   Seife

v.     U.S.      FDA, 43 F.4th                     231,         238          (2d Cir.               2022).         "[A]n           agency

                                                                              5



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withholding                documents            responsive              to     a FOIA request                     bears        the

burden         of     showing         that       a FOIA exemption                     shields             the        materials             at

issue."             Am. Oversight                v.    U.S.     Dep't           of    Just.,             45 F.4th             579,        587

(2d Cir.             2022).

          A district      court    may award summary judgment           on the
          basis    of agency declarations           if the declarations
          describe     the justifications          for nondisclosure        with
          reasonably      specific     detail,     demonstrate     that   the
          information      withheld      logically     falls   within   the
          claimed     exemption,      and are not controverted          by either
          contrary     evidence     in the record        or by evidence       of
          agency bad faith.

ACLU Immigrants'                   Rts.         Project        v.       U.S.     Immigr.             &    Citizenship

Servs.,            58 F.4th        643,         651    (2d Cir.              2023)         (citation              omitted).                In

other         words,        the    claimed            exemption              must     "appear             logical             and

plausible."                 Am. Oversight,                45 F.4th              at    587         (citation             omitted).

"Upon         such        a showing,            a plaintiff              who nonetheless                        seeks         to

compel         disclosure             must       make a showing                  of bad            faith          on the           part

of     the     agency         or provide              some tangible                  evidence             that        an

exemption             claimed         by the          agency        should           not         apply       or      summary

judgment             is    otherwise            inappropriate."                      Id.         (citation            omitted).

"[A]ll         doubts         as   to     the      applicability                 of        the     exemption               must       be

resolved             in    favor      of disclosure."                        ACLU, 24 F.4th                     at    867

(citation             omitted).              A court          "review[s]              the         adequacy            of      the

agency's             justifications               de novo."                  ACLU v.             Dep't       of      Just.,          681

F.3d         61,     69    (2d Cir.          2012).




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          The USPS seeks                      to   withhold            material                under          FOIA Exemption                   3.

See     5 U.S.C.             § 552 (b) (3).

          Exemption      3 allows      an agency      to withhold       information
          from public       disclosure        if (1) the information            is
          specifically        exempted      from disclosure         by statute;       and
           (2) the exemption         statute      requires     that   the matters        be
          withheld     from the public          in such a manner as to leave
          no discretion        on the issue         or establishes        a particular
          criteria     for withholding          or refers      to particular        types
          of matters      to be withheld.

ACLU, 24 F.4th                   at      867       (emphasis           added).                 "To claim              this

Exemption,             the       government                  must     demonstrate                    that:          (1)     the     statute

invoked         qualifies                as    an Exemption                 3 withholding                      statute,             and       (2)

the     materials               withheld              fall     within         that           statute's               scope."

Spadaro         v.     U.S.         Customs            & Border            Protection,                    978 F.3d            34,     42      (2d

Cir.      2020)           (citation            omitted).

          The USPS cites                      39 U.S.C.              § 410 (c) (2)                ("§        410 (c) (2) ")           as   the

applicable             withholding                 statute,            and        the        Plaintiffs               do not

dispute         that         this        provision             is     a withholding                       statute           under

Exemption            3.         The sole           issue         in    dispute               is    whether            the      data

being       withheld             falls         within          the     scope            of§          420(c)         (2).

          Section            410 (c) (2)           is        a provision                of     the        Postal

Reorganization                   Act       ("PRA"),            39 U.S.C.                §§ 101 et              seq.           The PRA

was enacted                in    1970         "[t]o          improve        and modernize                      the         postal

service."              Postal            Reorganization                    Act,         Pub.         L.      91-375,          84 Stat.

719,      719        (1970).             With      the        PRA, "Congress                      intended            the         Postal

Service         to     be run            more      like        a business                than         had      its         predecessor,



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the      Post        Office             Department."                     Kuzma v.               U.S.       Postal          Serv.,                 798

F.2d      29,        31      (2d Cir.               1986)          (citation               omitted).

          The Committee                        of    Post         Office             and       Civil       Service              for         the

House         of Representatives,                             in        its        Report         recommending                   passage                 of

the      Postal           Reorganization                      and        Salary            Adjustment                Act        of     1970          or

PRA, explained                     the         reasons            for         this        modernization                   as     follows:

"For      several             years            there         has     been            a growing             awareness                  --

increasingly                  widespread                   and      increasingly                      acute         --    that         our         vast

sprawling              postal            complex             is     heavily               overburdened                   and deeply                  in

trouble."                 H.R.          Rep.        No.      91-1104,                at    4 (1970).                 Among the                   many

problems             cited         by Congress                    was the             fact        that        the        Post        Office             was

operating              "at        a huge            deficit."                  Id.        at     5.       Congress              observed

that      "[a]n           effective                 postal          service               needs          an updated              financial

policy          that         is    fully            responsive                 to     operating               needs."                 Id.            The

PRA aimed              to

           [e]liminate     serious      handicaps       that     are                                       now imposed     on
          the postal     service       by certain       legislative,                                            budgetary,
          financial,     and personnel         policies        that                                        are outmoded,
          unnecessary,       and inconsistent           with the                                           modern
          management     and business         practices        that                                        must be
          available    if the American           public      is to                                         enjoy efficient
          and economical        postal     service.

Id.      at     2.        In short,                 Congress             wanted            the        USPS to            "become             self-

sustaining."                      Id.     at        10.

          The PRA addresses                            the        extent             to    which          FOIA applies                      to     the

USPS.           Section            410 of            the      PRA provides                       that,        except            as provided

for    by subsection                       (b),        "no        Federal             law dealing               with            the         public            .

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     . including                 the      provisions               of       chapters             5 and           7 of       title          5,

shall        apply         to     the       exercise              of    the       powers             of    the        Postal

Service."                39 U.S.C.                § 410(a).                 FOIA is             in    chapter              5 of         title          5

of    the     U.S.         Code.            Subsection                 (b),       in      turn,           states           that         FOIA

applies        to        the      USPS,           id.        § 410(b)           (1),      but        subsection                  (c)      creates

several        exceptions                   to     FOIA's          applicability,                         id.        § 410(c).

            The exception                   to     FOIA upon                which         USPS relies                   provides                that

§ 410(b)        (1)        "shall           not         require         the       disclosure                    of    information                  of

a commercial                   nature,            including             trade           secrets,                whether           or      not

obtained            from         a person               outside         the       Postal             Service,              which          under

good      business              practice                would      not          be publicly                disclosed."                      Id.        §

410 (c) (2)           (emphasis              supplied).                     The PRA does                   not        define

"commercial                nature"           or         "good      business               practice."

            "When interpreting                           a statute,                   [courts]            begin         with        the         plain

language            of     the         statute,              giving         the        statutory                terms       their

ordinary            or     natural           meaning."                  Spadaro,                978 F.3d              at    46         (citation

omitted).                "When that                meaning             is       not     clear,            [courts]             make use                of

a variety             of       interpretive                   tools,            including             canons,              statutory

structure,               and      legislative                  history."                  Id.        (citation              omitted).

When a term                is     not       defined            by statute,                 courts               "look       to      its

ordinary            meaning             found           in    contemporary                 dictionary                   definitions"

from      when the               statute           was enacted.                        Mader         v.    Experian               Info.

Sols.,        Inc.,            56 F.4th            264,         269         (2d Cir.            2023)           (citation

omitted)        .

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           The parties                   dispute             whether             the     Requested                   COA Data              (1)

constitutes                  "information                    of     a commercial                       nature,"             and      (2)     "would

not      be publicly                disclosed"                    "under          good           business             practice."                  Each

prong       of§          410(c)           (2)       will         be addressed                    in     turn.

I.         "Information                       of    a Commercial                  Nature"

           The Requested                       COA Data             are     "information                        of    a commercial

nature"            under          § 410 (c) (2).                    In     1970,         Black's                Law Dictionary

defined            "commercial"                     as      "[r]elating                 to       or     connected             with          trade

and      traffic             or    commerce                 in    general."                  Commercial,                 Black's             Law

Dictionary               (Rev.           4th        ed.      1968);         see         also           Commercial,                Black's             Law

Dictionary               (5th           ed.        1979).           "Commerce,"                   in      turn,        was defined                    as

"[t]he          exchange                of goods,                productions,                    or property                 of      any     kind."

Commerce,             Black's                 Law Dictionary                     (Rev.           4th      ed.        1968).           "Trade"

was defined                  as    "[t]he             act        or business                 of        exchanging              commodities

by barter;               or       the      business               of being              and       selling             for      money."

Trade,          Black's            Law Dictionary                         (Rev.         4th       ed.      1968).

           In      1978,          the         Court         of Appeals                 for       the      Second            Circuit

opined,            for       purposes               of      applying             Exemption                4 within             the     FOIA

statute            itself,              that        "'Commercial'                      surely           means         pertaining                 or

relating            to       or dealing                  with       commerce."               3        Am. Airlines,                   Inc.       v.

Nat'l       Mediation               Bd.,            588 F.2d              863,         870       (2d Cir.             1978).            In 2007,




3  Under Exemption     4, "trade  secrets  and commercial     or financial
information   obtained     from a person  and privileged     or
confidential"    are exempt from FOIA.       5 U.S.C.    § 552 (b) (4).

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the          Court           of Appeals                    for         the      Ninth            Circuit           surveyed             dictionary

definitions                        of        the     word         commercial                     and      concluded             that,          for

purposes                   of      § 410 (c) (2)                  of         the         PRA, "information                      is      commercial

if      it      relates                 to         commerce,                 trade,             or profit."                Carlson             v.     U.S.

Postal            Serv.,                504 F.3d                 1123,             1129         (9th      Cir.      2007)            (citation

omitted)               .

              This          broad,                 commonsense                  definition                  of     the     word         commercial

compels                the         conclusion                    that         the         Requested               COA Data            are

"information                           of     a commercial                         nature."               To obtain             more         revenue

for          itself,              USPS has              decided                    to     license           COA data            to      subscribers

for          a fee.               Exchanging                 data             for         money          falls      within            the      plain

meaning                of        the        word       "commerce"                        and     the      term      "information                     of   a

commercial                       nature."               Because                    the     information                   sought         by the

Plaintiffs                       is     being          used            for         commercial               purposes            by the           USPS and

is    directly                     related             to        the     USPS's                 participation                  in     commerce,               the

information                        is        "of     a commercial                         nature"           under         § 410 (c) (2).

              The Plaintiffs                           put        forward                 two arguments                   in    support              of

their           position                     that      the        Requested                     COA Data           are     not        "information

of      a commercial                          nature."                  First,             relying               on the        Ninth         Circuit's

decision                   in      Carlson,                504 F.3d                 1123,          the      Plaintiffs                assert          that,

in      order              for         the         requested                 information                  to      be exempt             from         FOIA

under§                 410(c)            (2),        the         information                     must       be     "of     a commercial

nature            in         the        first          instance."                         Id.      at     1129.            Because             the

Requested                    COA Data                were         not         commercial                  "in      the     first            instance,"

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the     Plaintiffs                 argue,            they         are      not       "information                     of      a commercial

nature."

             This      argument             fails.                It     seeks          to     add       a limitation                      to     the

statutory              language            that           does          not    appear              in    the         statute.

Moreover,              Carlson            does        not         support            this          restrictive                    reading            of

the     term.           In Carlson,                   the        Ninth         Circuit              held          that§            410(c)         (2)

did     not         exempt         from        FOIA disclosure                          information                   about          the

location             of post            offices,             their            telephone                 numbers,              and hours                 of

operation.                   Id.    at      1128.            The Court                  of Appeals                 described                the

requested              information                   as     "[b]asic,"                  id.,        and        observed              that         the

information               was "already                      publicly               available"                  from         the      USPS.              Id.

at     1130.           Neither            of     these            attributes                 apply           to      the      COA data

requested              here,        and        the        holding             in     Carlson             is       not       in     tension

with         a finding             that        the        Requested                COA Data              is       information                   of      a

commercial              nature.

          Next,         the        Plaintiffs                point            to     caselaw             interpreting

"commercial"                  under        FOIA Exemption                          4.        The Plaintiffs                        argue          that,

in     the     Exemption                4 context,                 courts            in      the        Second             Circuit          have

rejected             a broad            reading             of     the        word        "commercial"                      and have

instead             interpreted                FOIA exemptions                          narrowly.                    The district

court         decisions             to     which            the         Plaintiffs              point             do not           suggest

that         the     Requested             COA Data                is      not       commercial                   data.            Indeed,              as

already             noted,         in     applying                FOIA Exemption                        4,     the         Second          Circuit




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has     given         the       word         "commercial"                       a broad         reading.                  See Am.

Airlines,             Inc.,          588 F.2d                at      870.

II.       "Good Business                      Practice"

          The Requested                      COA Data                are        also      information                   that         would         not

be publicly                disclosed                under            "good           business          practice."                      The

Fourth         Circuit             has       encouraged                    courts         to    look         "to        the       commercial

world,         management                  techniques,                     and business                law,         as well             as     to

the     standards                 of practice                  adhered               to   by large            corporations"                        in

deciding          what            constitutes                 good          business            practice.                  Wickwire

Gavin,         P.C.        v.      U.S.       Postal              Serv.,             356 F.3d          588,         592         (4th        Cir.

2004)       (citation                omitted).                    Stated             concisely,              courts            applying

this      prong        of§           410(c)            (2)     should            do so by "reference                              to    what

businesses             normally               do."             Id.         at    594.

          The Requested                      COA Data                is     commercial                data         that        would         not        be

publicly          disclosed                  under           good         business             practice.                  As explained

by Tackes             in     his          declaration,                     location            data     demonstrating                        the

movement          of people                  is     a valuable                   commodity,              and        companies                that

sell      this        information                  would             not        ordinarily             release                that

information                 for      free         to     the         public.              Disclosure                through             FOIA of

the     data      underlying                  the        statistics                    that     the     USPS seeks                     to

license          through             PMT would                defeat             PMT's         revenue-generating

purpose.

          The Plaintiffs                      make two arguments                               to     support             their

contention             that          it      is     "good            business             practice"                to     disclose             the

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Requested               COA Data.                   First,          the        Plaintiffs                    point          to     real       estate

companies               that      publish               "migration"                    information                    and        a social

media       company              that         adopted              a "Data             for         Good"           initiative               during

the      COVID-19 pandemic                            and     shared                location                data      it     had        gathered

from      its      users.                  These        examples               miss          the         mark.             These        businesses

were      not       freely             disclosing                  the        information                    which          they        were     also

attempting               to      sell.              Their         business                  models           were          not     built       upon

the     generation                    of     revenue          from            the      sale            of    this          information.

Their       free         disclosure                   of     the         location                 data       sought           to      promote

their       revenue              generating                  lines            of business                    and      to     burnish           their

public          images.

          Second,               the        Plaintiffs               emphasize                     that       their          FOIA requests

do not          seek       all         of     the       COA information                            that       will          be available                to

licensees               through              PMT.          They          argue         that            public         disclosure               of

some of           the      information                     available                 through                PMT may even                   promote

PMT and benefit                        the     USPS.               This        argument                  fails.             The USPS has

carried           its      burden             to      show that                it      is         good       business              practice            not

to     provide            for         free      the        data      which             it         is     licensing               to     generate

income.            Having              carried             that      burden,                 it        is    entitled              to      protect

its      PMT database                      from      public          disclosure.                            The USPS can                   decide

for      itself          how much COA data                               it    wishes              to       share          publicly           and

free      of      cost.




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                                          Conclusion

         The Defendant's         December        9, 2022 motion      for       summary

judgment      is   granted.        The Plaintiffs'        January        20,    2023 motion

for   summary      judgment      is   denied.        The Clerk    of Court        shall   enter

judgement      for    the     Defendant     and close     the    case.

Dated:         New York,        New York
               June    13,     2023




                                                United            District        Judge




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
BLOOMBERG L.P. and DOW JONES &
COMPANY, INC.,

                                   Plaintiffs,                           22 CIVIL 6112 (DLC)

                 -against-                                                  JUDGMENT
UNITED STATES POSTAL SERVICE,

                                    Defendant.
-----------------------------------------------------------X


        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated June 13, 2023, Defendant's December 9, 2022

motion for summary judgment is granted. The Plaintiffs' January 20, 2023 motion for summary

judgment is denied; accordingly, the case is closed.


Dated: New York, New York
       June 14, 2023

                                                                         RUBY J. KRAJICK

                                                                      _________________________
                                                                             Clerk of Court




                                                                BY:          ~
                                                                      _________________________
                                                                             Deputy Clerk




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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 BLOOMBERG L.P.

 and

 DOW JONES & COMPANY, INC.,

                Plaintiffs,                               Civil Action No. 22-cv-6112 (DLC)
        v.

 UNITED STATES
 POSTAL SERVICE,

                Defendant.


                                        NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs Bloomberg L.P. and Dow Jones & Company, Inc.

(“Plaintiffs”), hereby appeal to the United States Court of Appeals for the Second Circuit from

the opinion and order entered on June 13, 2023 and the judgment entered on June 14, 2023.



 Dated: July 7, 2023                             Respectfully submitted,

                                                 /s/ Katie Townsend
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                                                 Counsel for Plaintiffs




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